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                            UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION




ORACLE AMERICA, INC.                         Case No. CV 10-03561 WHA

               Plaintiff,

       v.

GOOGLE INC.

               Defendant.



              OPENING EXPERT REPORT OF JOHN C. MITCHELL
                        REGARDING COPYRIGHT

                     SUBMITTED ON BEHALF OF PLAINTIFF
                           ORACLE AMERICA, INC.




                             REDACTED PUBLIC VERSION




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        I, John C. Mitchell, Ph.D., submit the following expert report (“Opening Copyright

Report”) on behalf of plaintiff Oracle America, Inc. (“Oracle”):

I.      INTRODUCTION
        1.       This report covers my review, analysis, and opinions regarding the copyrights

asserted by Oracle against Google in the case known as Oracle America, Inc. v. Google, Inc.,

pending in the United States District Court for the Northern District of California, Case No. 10-

03561-WHA.

        2.       I will submit my review, analysis, and opinions regarding the patents-in-suit
under separate cover on the due date agreed to by the Parties.

        A.       Retention
        3.       I have been retained to consult with counsel, review documents and other

information, prepare expert reports, and be available to testify regarding my opinions on behalf

of Oracle in connection with litigation brought by Oracle against Google.

        B.       Scope of Work Performed and Expected Testimony
        4.       In general I have reviewed materials to provide technical teaching and opinions

regarding the patent and copyright infringement by Google in this case of the asserted claims of

the patents and copyrights in suit. As stated in Oracle’s list of issues for expert testimony in

Oracle’s case-in-chief, I expect to testify at trial regarding:

             •   Problem of application development and distribution for heterogeneous
                 architectures;

             •   Origins, components, and versatility of the Java platform;

             •   The success of the Java platform, including technical accomplishments, attraction
                 to developers, software development tools, and the Java ecosystem;

             •   Importance of compatibility to the Java platform;

             •   State of the art, subject matter, novelty, and significance of the claimed inventions
                 in relation to the patents-in-suit;

             •   Priority dates of the patents-in-suit;

             •   Definition of a person of ordinary skill in the art for the patents-in-suit;



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             •   Subject matter of the copyrights-in-suit, including the significance of Oracle’s
                 copyrighted works and the expressive choices available to Java and Android
                 application programming interface (API) developers;

             •   Components of the Android platform;

             •   Components of the Android ecosystem;

             •   Modes of Google’s distribution, control over Android source code, and likelihood
                 of third parties modifying portions of Android alleged to infringe the intellectual
                 property in suit;

             •   Infringement of the patents-in-suit, including direct and indirect infringement, and
                 literal infringement and infringement under the doctrine of equivalents;

             •   Infringement of the copyrights-in-suit, including substantial similarity as between
                 Java and Android APIs, Java APIs and Android source code, and Java source
                 code and Android source code;

             •   Demand for and significance of the patents- and copyrights-in-suit to Android,
                 including improved performance, improved security, widespread adoption, and
                 speed to market;

             •   The absence of design-arounds and non-infringing alternatives to the Android
                 technologies alleged to infringe the patents-in-suit and copyrights-in-suit;

             •   Whether the Android technologies alleged to infringe the patents-in-suit are
                 specially made or adapted for use in infringement or have any substantial non-
                 infringing uses;

             •   Performance benchmark tests, results, and analysis demonstrating the significance
                 of the patents-in-suit to Android and the Java platform with respect to execution
                 speed, memory savings, and architectural impact;

             •   Relevance of Oracle’s Java patent portfolio to Android in the context of a
                 hypothetical negotiation between Oracle and Google; and
             •   Google’s acts of direct and indirect infringement of the patents and copyrights in
                 suit.
I also expect to testify at trial with respect to matters addressed by experts testifying on behalf of

Google. I may also testify on other matters relevant to this case, if asked by the Court or by the

Parties’ counsel.

       5.        I reserve the right to supplement or amend this report, if additional facts and

information that affect my opinions become available. In particular, I understand that fact

discovery closes on August 15, 2011. I have been informed that Google has yet to complete

production of information that may affect my infringement analysis. Some information about



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various versions of the accused software, systems, and applications is not publicly available. For

example, I have not been able to examine the source code for Honeycomb, and I understand that

Google plans to release future versions of Android software. None of these have been made

available for my review. As such, my investigation into the specifics and extent of Google’s

infringement is ongoing. My report is based on the materials that have been available to me up

to the date of this report.

        6.      My opinions are based on my education and my work experience as set forth in

Exhibit A of this Report, the materials listed in Exhibit B of this Report, and the materials cited
to in my Opening Copyright Report.

        C.      Compensation
        7.      I am being compensated for my work in connection with this matter at the rate of

$800 per hour. I have used this rate in the past for other cases.

        8.      My compensation is not conditioned on the outcome of this matter. Neither the

amount of my compensation nor my hourly billing rate depends on whether I am obligated to

testify at deposition or trial.




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II.    BACKGROUND AND QUALIFICATIONS

       A.      General
       9.      Information detailing my qualifications is included in my Curriculum Vitae,

attached as Exhibit A.

       10.     I received my Ph.D. in Computer Science from MIT in 1984. I hold a Master’s

degree in Computer Science from MIT, and a Bachelors of Science in Mathematics with

Distinction from Stanford University, which I received in 1982 and 1978 respectively.

       11.     My Ph.D. thesis was on topics related to the design and analysis of programming
languages.

       12.     Between Stanford and MIT, I worked for two years as a research programmer for

the University of Wisconsin.

       13.     Before I joined the faculty of Stanford, from 1984 until 1988, I was a Member of

the Technical Staff at the Computing Science Research Center of AT&T Bell Laboratories.

       14.     I am currently the Mary and Gordon Crary Family Professor of Computer Science

and (by courtesy) Electrical Engineering at Stanford University. From 1990 until 1997, I was an

Associate Professor of Computer Science at Stanford University and from 1988 to 1990 I was an

Assistant Professor of Computer Science.

       15.     At Stanford, my research has covered a variety of topics, including the design and

analysis of programming languages, computer security, and mathematical logic. For example, I

wrote research papers on type systems for object-oriented programming languages and

developed principles that were adopted in the designs of the Java and .NET programming

languages.

       16.     With my former Ph.D. student Stephen Freund, I wrote a series of papers studying

properties of the Java bytecode verifier. With an additional former student, we designed,

implemented and tested a form of Java generics, a concept that was subsequently added to the

Java programming language.




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       17.     My publications include three books on aspects of programming languages and

over 140 research articles. A list of my publications is included in my Curriculum Vitae

(Exhibit A).

       18.     I was elected as a Fellow of the Association for Computing Machinery in 2008.

As explained on ACM’s website: “The ACM Fellows Program was established by Council in

1993 to recognize and honor outstanding ACM members for their achievements in computer

science and information technology and for their significant contributions to the mission of the

ACM. The ACM Fellows serve as distinguished colleagues to whom the ACM and its members
look for guidance and leadership as the world of information technology evolves.” (See

http://fellows.acm.org/.)

       19.     I am Editor-in-Chief of the Journal of Computer Security and I have served on the

editorial board of ten other professional journals. I have also served as program committee chair

or program committee member of many professional conferences on programming languages,

computer security, and other areas of computer science.

       20.     The courses I have taught at Stanford include programming languages,

programming language theory, computer and network security, web security, logic, and

algorithms.

       21.     My research activities have been funded by U.S. Government agencies and gifts

to Stanford from private companies. For example, I am currently the Principal Investigator (PI)

of a project on secure information sharing that is funded by the Air Force Office of Scientific

Research and the PI of a DARPA-funded project developing a programming language for

computing on encrypted data. I am also a co-PI on the National Science Foundation Science and

Technology Center called TRUST and a co-PI and Chief Computer Scientist of a project on

security and privacy for healthcare information systems funded by the U.S. Department of

Health and Human Services.




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       22.     My research has also been partially funded over the last several years by gifts

from private companies. While such gifts are often designated as intended to support a specific

research project, they are gifts to Stanford University and not gifts to me personally.

       23.     In collaboration with Stanford faculty Dan Boneh and David Mazieres, I applied

for a small research gift from Google to support research on “security for cloud clients with rich

controlled sharing.” I believe that the final version of the application for funding was sent to

Google by their deadline of October 15, 2010. Support for my research from this application has

been placed on hold by Google for the duration of this litigation.
       24.     I am co-inventor of U.S. Patent No. 7,870,610, titled “Detection of Malicious

Programs.”

       25.     I have served as an expert witness or consultant in connection with a number of

litigations. A list of prior cases in which I have testified or consulted as an expert over the past

years is included in my Curriculum Vitae (Exhibit A).

       B.      Copyright
       26.     With particular relevance to my copyright analysis conducted in this case, I

previously assisted with a copyright dispute for which I analyzed and prepared an expert report

covering copyrightable elements of user interfaces.

       27.     In my 30 years of experience with computer software, I have reviewed a large

amount of source code written by different programmers. Moreover, I teach programming

language classes and assign programming projects that are graded as part of the class. As a

result, I am generally familiar with the variations of code expression that arise when a set of

programmers (including students) are asked to solve a programming problem. I should note that

even on exam questions, when I’ve tried to narrow the question to limit the set of possible

correct answers, students usually find many ways to write source code to express solutions.

       28.     I am also familiar with tools used to detect plagiarism or source code copying in a

university setting. I have served on a juror pool on Stanford’s Judicial Affairs, which handles

plagiarism cases, including plagiarism in programming courses. In my interactions with


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Stanford’s Judicial Affairs Office, I’ve discussed principles for detecting and determining

plagiarism and how they apply to computer programming assignments.

       29.     Like every other person with programming experience with whom I have

discussed this, I personally find programming a creative experience, analogous to technical

writing, for example. In both cases, although there is a purpose to be served, there are many

ways to accomplish the goal, and a wide range of expressive choices in doing so.




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III.    MATERIALS CONSIDERED AND RELIED ON
        30.    In arriving at my opinions provided in this report, I have considered a number of

different sources of information that are identified in attached Exhibit B and referenced in my

Opening Copyright Report.

        31.    In particular, I have reviewed the copyrighted works asserted in this lawsuit;

Android source code, videos, and documentation made publicly available and produced by

Google during the course of discovery.

        32.    In support of my analysis and rendered opinions, I intend to rely on the summary
and report of Marc Visnick comparing Sun Microsystems’s (now Oracle’s) JDK 1.5 to Android

Froyo and Apache Harmony, submitted to Google with my Opening Copyright Report.

Likewise, I intend to rely on the summary report of Alan Purdy comparing Sun Microsystems’s

(now Oracle’s) Java library API specifications to Android’s library API specifications, also

submitted to Google with my Opening Copyright Report.

        33.    In addition to the materials specifically identified, I may provide further exhibits

to be used as a summary of or support for my opinions.




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IV.    BACKGROUND: JAVA AND ANDROID
       34.     I believe a background and tutorial on Java and Android will aid the jury in

understanding and appreciating the technology at issue in this case. I will cite to Google

documents where appropriate.

       35.     There are several interesting features and components of Java that have marked its

unprecedented technological success: the programming language, bytecode instruction set

specification, virtual machine, execution paradigm and execution platform, programming tools,

and class libraries and application programming interface (API) specifications.
       36.     To be clear on vocabulary, the Java development platform comprises the Java

compiler, class libraries, development environment and associated tools, and the Java execution

platform. The Java execution platform comprises the Java Virtual Machine and other

components associated with processing and executing compiled Java source code, including

executable class libraries and the class file format.

       37.     The Android platform incorporates various features of Java, as detailed below.

       A.      The Java Platform: Technical Benefits and Consequences of Adopting the
               Java Programming Language
       38.     The Java programming language was designed by James Gosling and others at

Sun Microsystems in the early 1990s.

       39.     Java is an object-oriented language. In object-oriented languages, an object is a

way of combining data and functions. For example, an Integer object would have an integer

value, such as 3, together with functions on integers, such as addition and multiplication.

       40.     In most common object-oriented languages, programmers define classes. Each

class provides a way for programs to create objects that have the functions defined in the class.

For example, in an object-oriented program with an Integer class, a programmer can use this

class to create several Integer objects in her program. In Java and other class-based object-

oriented languages, all objects created from the same class have the same functions, also called




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methods, but each object may have different data values. In Java, data values associated with an

object are called fields of the object.

        41.     Object-oriented programming began in the 1960s and developed with the early

programming language Simula. James Gosling credits the influence of Simula on Java in this

statement that I quote in my programming languages textbook: “One of the most important

influences on the design of Java was a much earlier language called Simula. It is the first OO

language I ever used (on a CDC 6400!). … [and] where the concept of a ‘class’ was invented.”

In this statement, OO means “object-oriented.”
        42.     Java was developed and distributed with a novel execution platform. As

documented in the original press release (see

http://web.archive.org/web/20080205101616/http://www.sun.com/smi/Press/sunflash/1996-

01/sunflash.960123.10561.xml), the Java execution platform allows software developers to write

programs that, once compiled, may be transported and run on a variety of computers without re-

compiling or rewriting them. This feature of Java is described as “write once, run anywhere.”




        43.     The key innovation of Java that supports “write once, run anywhere” is a

combination of interrelated design decisions. First, Java source code programs are compiled into

an intermediate executable form called bytecode that is stored in class files. Second, the virtual

machine that is used to execute Java bytecode has specific functions that allow separately

compiled class files to be incrementally loaded, verified, and then executed on any hardware

platform that is equipped with a Java virtual machine. While the Java execution platform was



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not the first to use bytecode and a virtual machine, I believe that it was the first to support

separate transport and incremental loading, verification, and execution of bytecode files stored in

a standardized portable format. Source code, compilers, bytecode, class files, and the Java

loader, verifier and bytecode interpreter are described in the following paragraphs.

       44.      Since approximately 1960, computer programs have been written in human-

readable programming languages, such as Fortran, Algol, C and C++. Code written in these

human-readable languages, called source code, is not directly executable by computer hardware.

Instead, it must be converted to machine code in some way. As the name suggests, machine
code uses the set of instructions that are understood and executed by a specific hardware

processor. Different computer chips may execute different sets of rudimentary machine code

instructions.

       45.      There are two traditional ways of converting source code into machine code. The

first method uses a program called a compiler to convert an input file of source code to an output

file of machine code that can be executed later. This machine code file can then be executed

later, on a separate platform that does not have the source code or compiler. The second method

uses a different kind of program called an interpreter. An interpreter processes source code

instructions from an input file and executes corresponding machine instructions step-by-step,

based on the source code instructions. Unlike a compiler, an interpreter continues to run as the

source code program is interpreted. In other words, the source code and interpreter must be

present on any platform where the program is interpreted.

       46.      Because a compiler converts source code to machine code for a specific machine,

a traditional Apple Mac compiler, for example, produces compiled machine code that runs only

on an Apple Mac and cannot be run on an IBM PC. (For many years, including early Java years,

Apple used chips manufactured by Motorola and IBM PCs used incompatible chips

manufactured by Intel.) In contrast, the same source code for an interpreted programming

language can be run on different interpreters on different machines because each interpreter

performs step-by-step execution using the appropriate machine instructions of the hardware it


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runs on. However, it is not common to distribute software programs in their source code form.

Source code represents the creative work of software designers and developers in a form that

could expose a company’s intellectual property to competitors.

       47.     The Java execution platform uses an intermediate form of executable code called

bytecode, mentioned above. Bytecode instructions are not the machine instructions of any

specific physical computer. Instead, they are the machine instructions of a virtual machine.

Such virtual machine instructions are called bytecode apparently because the portion of the

instruction that determines which operation is performed is often one byte long (i.e., represented
compactly as eight bits, each bit a 0 or 1).

       48.     The Java source code compiler transforms a source code file defining a Java class

to a bytecode file that implements this class. The bytecode file representing a compiled class is

called a Java class file. In addition to the specific bytecode instructions that implement the

functions defined in the class, a Java class file has several other types of information, arranged in

a very specific way. The Java class file format is defined in the Java Virtual Machine

Specification (Lindholm and Yellin, Version 1, Version 2) and also described in U.S. Patent

No. 5,966,702. The main sections of a Java class file are illustrated in Figure 3 of the ’702

patent, reproduced below. In Java software development, source code is conventionally stored in

files that have the “.java” extension, while class files produced by compiling source code to

bytecode is conventionally stored in files that have the “.class” extension.




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       49.     In the Java execution platform originally released in the mid-1990s, the virtual

machine executes bytecode instructions using a program called a bytecode interpreter. In other

words, bytecode instructions are executed, step-by-step, by an interpreter. Because bytecode

interpreters were built for Apple Macs, IBM PCs, and Unix-based computers, the same bytecode

file could be run on all of these different computers. In other words, once compiled to Java

bytecode, the same program, written once, could be run anywhere.

       50.     The Java virtual machine has additional components, including a class loader and

a bytecode verifier. The class loader locates class files as needed when a program executes and

incrementally adds them to the execution environment. The bytecode verifier is a program that

examines bytecode to check for certain errors and make sure it conforms to the rules of the Java

programming language. The specific operation of the Java class loader and the Java bytecode

verifier depend on the Java class file format.

               B.      The Java Class Libraries
       51.     The Java programming language is also the gateway to extensive class libraries.

The Java class libraries available in 1996, for example, were documented in a 1650-page book

called The Java™ Class Libraries: An Annotated Reference (see



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http://java.sun.com/docs/books/chanlee/first edition/descript.html). These libraries included

core packages with classes for input-output, networking, and other common functions. The

libraries also included a Window Toolkit for programming user interfaces and Applet packages

for building Java applets (a form of web-based Java program). The Java class libraries grew

over time. These extensive libraries help programmers develop useful and substantial programs

easily, without writing their own implementations of functions provided in the library. In other

words, the Java class libraries speed and ease application development, and obviate the need for

developers to program from scratch.

       52.     Generally, a software library provides a set of functions, classes, or other program

entities that are designed to be used in a variety of programs. Once they are designed, built, and

debugged, libraries make it easier to build new programs because the components provided by a

library can be used directly without further programming effort. A programmer using a library

writes code using what are commonly called Application Program Interfaces (APIs). An API

consists of a set of names that can be used to access features of the library, together with

specified conventions about their use. For example, an API allowing a program to determine the

time of day might include a function called time, together with the convention that a call to this

function returns an integer representing the clock time in a particular format.

       53.     A programmer using a software library does not need to have the source code for

the library because the API tells the programmer how to use the library. However, a programmer

using a software library must have access to an executable form of the library in order to build

and run software that uses the library.

       54.     An example Java API from a current Java class library is shown in the screen shot

below. This screen image shows a portion of the API for java.util.Calendar, the Calendar class

from the java.util package. As stated in the text of the display window, the Calendar class

provides methods related to time and calendar fields such as YEAR, MONTH, and HOUR.




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       55.     Because Java programs run by loading and executing bytecode class files in the

Java Virtual Machine, a program that uses library classes requires library class files to run.

Therefore, the Java Development Kit (JDK) that programmers use to develop software contains

or provides access to both Java class library APIs and associated bytecode class files (often in the

form of .jar files that contain a number of class files). The relationship between library APIs and

library class files used by a Java programmer is illustrated in the figure below.




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               C.       Success of Java and the Java Ecosystem
       56.     The Java programming language and platform have been an outstanding success,

by virtually any measure. In particular, Java has been one of a handful of leading programming

languages for many kinds of applications over the past 15 years, rivaling C and C++ as the most

widely used general purpose systems programming language, as discussed below.

       57.     Because it has been so successful, the Java language and platform brings with it a

huge surrounding ecosystem of developers and tools, including system architects experienced in

designing systems using Java, Java programmers and Q/A testers, Java development
environments, Java development kits, Java program analysis and testing tools for improving the

quality of Java software, instructional books and web sites, and related materials.

       58.     One measure of language popularity is reflected in the Tiobe Index, which is

based on search engine results for a combination of search engines (see

http://www.tiobe.com/index.php/content/paperinfo/tpci/tpci_definition.htm). According to the

following table based on this index, Java was among the top five programming languages in

1996, shortly after its release. Java has been among the top three languages since at least 2006.

Additional information on the Tiobe web site shows Java as the top programming language since

at least 2002, with a significant margin over both C and C++ at that time. (See

http://www.tiobe.com/index.php/content/paperinfo/tpci/index.html.)

                                          Position    Position   Position   Position
                 Programming Language
                                          Jun 2011    Jun 2006   Jun 1996   Jun 1986

                 Java                        1           1          5          -

                 C                           2           2          1          1

                 C++                         3           3          2          5

                 C#                          4           8          -          -

                 PHP                         5           5          -          -

                 (Visual) Basic              6           4          3          6

                 Objective-C                 7          43          -          -

                 Python                      8           7         26          -




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                 Perl                        9           6        6          -

                 Lua                         10        50         -          -

                 Lisp                        14        15         16         3

                 Ada                         19        16         11         2

       59.     According to the Java History Timeline (see

http://www.oracle.com/technetwork/java/javase/overview/javahistory-timeline-198369.html), for

example, JDK 1.0 was released in 1996. One year later, in 1997, there were over 220,000

downloads of JDK 1.1 software in just three weeks, and over 2 million downloads by 1998. The

1997 JavaOne event drew 8,000 attendees, becoming the world’s largest developer conference at

that time. Two years later, attendance reached 20,000.

       60.     Java quickly became a popular teaching language. As a result, many colleges and

universities taught Java to students, resulting in a large number of trained Java programmers. A

report from a 1997 panel discussion at a computer science education conference concluded:

               “[Java] has proven to be a powerful, general purpose, object-
               oriented language that fits very well with the concepts taught in
               many computer science courses, from beginning programming for
               all types of students to graphics to distributed programming. The
               ability to use it to create applets for algorithm animation provides
               support for alternative learning styles. Its platform independence is
               particularly useful with the mixture of equipment found among
               most departments, personnel and students. It is not without its
               problems, but the list of those problems does seem to be smaller
               than that for other languages, and some can be solved by using
               encapsulation to build a cleaner, higher level, and more easily used
               abstraction. Furthermore, students are motivated to learn Java as
               they perceive it to be fun and marketable, and this, in turn, makes
               the teacher’s tasks more rewarding.”

(N.C. Schaller et al., Panel Report: Using Java in Computer Science Education, Proceedings of

the 2nd Annual Conference on Integrating Technology into Computer Science Education,

ITiCSE 1997, Uppsala, Sweden, 1-5 June, 1997. ACM 1997, ISBN 0-89791-923-8, retrieved

from http://portal.acm.org/ft gateway.cfm?id=266154&type=pdf.) The history of the ITiCSE
Conferences on Innovation and Technology in Computer Science Education, which started in




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1996 and continue to this day, is documented on the web (see

http://www.cs.utexas.edu/users/csed/iticse/).

       61.     The history of advanced placement exams, used in U.S. college admissions, also

illustrates the prominence and widespread success of Java. The AP Computer Science (APCS)

exam was introduced in 1984 when the language of instruction—both for APCS and for the vast

majority of colleges and universities in the United States—was Pascal. (E. Roberts, “The Dream

of a Common Language: The Search for Simplicity and Stability in Computer Science

Education,” SIGCSE ‘04 Proceedings of the 35th SIGCSE technical symposium on Computer

science education (2004), available at http://www-cs-
faculty.stanford.edu/~eroberts//papers/SIGCSE-2004/DreamOfACommonLanguage.pdf.) While

Pascal was widely used, the advancement of object-oriented programming and other factors lead

to a revision of the exam after a decade. In 1995, the College Board announced that the APCS

program would shift to C++ in the 1998-99 academic year, and the first C++ exams were

administered in May 1999. (Id.) While C++ supports object-oriented programming, there are a

number of reasons why teaching C++ to beginning programmers is cumbersome. As Eric

Roberts, a national leader in computer science education and sometime-skeptic of Java explains,

“Java, a new object-oriented programming language that had only just been introduced when the

AP announced its C++ decision, quickly gained a foothold in the educational community and

then began to blossom over the next few years. By the time the C++ exam was put in place,

conventional wisdom held that Java, and not C++, was in the ascendant as the primary language

for introductory computer science courses.” (Id.) As a result, the College Board announced in

2001 that the APCS program would move to Java beginning in 2004. (Id.) Dr. Roberts himself

revised his influential 1995-1998 C++-based books and released Java-based textbooks in 2006

and 2008 (see http://www-cs-faculty.stanford.edu/~eroberts/cv.html).

       62.     In industry, Java has not only been important to Sun Microsystems and Oracle,

but also to a number of other leading companies. For example, the importance of Java to IBM,

one of the world’s largest computer companies over the past several decades, is documented in


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http://www-01.ibm.com/software/ebusiness/jstart/history.html. For example, the JStart team

worked to “evangelize and validate Java as a commercial development platform through both

internal IBM and external industry clients.” The WebSphere Application Server developed from

a Java-based research project (the Servlet Express Engine). IBM and another company, BEA,

also collaborated on Java specifications in order to maintain compatibility between their

competing products. (See, e.g., M. LaMonica, “IBM, BEA join on Java strategy,” CNET News

(Nov. 25, 2003), available at http://news.cnet.com/2100-7345-5111567.html.) In addition to

explaining the importance of Java to large companies that use it, the LaMonica article also

explains the importance of platform compatibility to customers who buy Java software products.

       63.     A 2009 New York Times article explaining IBM’s interest in acquiring Sun

Microsystems—before the acquisition by Oracle—explains that “I.B.M. uses Java extensively in

its big software group, which trails only Microsoft in size” and notes that IBM “has its own Java-

based tools for software developers, called Eclipse.” (S. Lohr and A. Vance, “I.B.M., Looking to

Buy Sun, Sets Up a Software Strategy,” The New York Times Inside Technology article

(Mar. 18, 2009), available at

http://www.nytimes.com/2009/03/19/technology/companies/19sun.html.)

               D.      Java Platform Inventions
       64.     The Java language and platform contain many innovative ideas. Sun

Microsystems filed many patents related to Java, including numerous patents on specific aspects

of the Java compiler, the JDK, and the JVM.

       65.     Some representative inventions embodied in the Java platform are expressed in

the seven patents asserted in this litigation. (I will discuss the patents in suit in my separate

patent infringement report.)

       66.     In addition, the Java Class library source code and its APIs are subject to

protection based on copyright law.

       67.     Since the Java Class library and its APIs are expressed in a specific and creative

way, the source code and other aspects of this software ought to be accorded copyright


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protection. The expression involved in both source code and the Java APIs is discussed later in

this report.

          68.   Beyond these exemplary inventions, there are many other creative, novel, and

protected aspects of the Java platform. I will discuss this issue further in my patent infringement

report.

                E.     Google Android Products
          69.   Google Android software typically runs on mobile devices such as smartphones

and tablets. Unlike Apple iPhone and iPad software, which is intended for Apple-branded
hardware, Google Android software is available on devices produced by a number of different

manufacturers and sold under the manufacturer’s brand names.

          70.   As smartphone software, Android has successfully achieved market share

comparable to Apple iPhone, and RIM Blackberry, each accounting for almost 30% of the

current market. (See, e.g., NielsenWire, “Who is Winning the U.S. Smartphone Battle?,” Mar. 3,

2011, available at http://blog.nielsen.com/nielsenwire/online mobile/who-is-winning-the-u-s-

smartphone-battle/.)

          71.   The leading manufacturers of Android phones shown in the following market

comparison are HTC, Motorola, and Samsung.




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       72.    In 2008, the leading smartphones were Blackberry and iPhone. Over the course

of that year, Blackberry rose from 4% penetration rate to 6%, while iPhone rose from 1% to 2%.

(See, e.g., Nielsen Communication Trends, “ Highlights from the 2008 Convergence Audit and

Consumer Electronics Monitor,” Dec. 2008, available at

http://kr.en.nielsen.com/site/documents/CommunicationTrends 200810.pdf.) A year later, in

2009, approximately 15% of U.S. households owned a smart phone, with Blackberry reaching

8% market penetration and iPhone 4%. (See, e.g., Nielsen Communication Trends, “Highlights

from the 2009 Nielsen Convergence Audit,” available at http://blog.nielsen.com/nielsenwire/wp-
content/uploads/2009/12/09-Nielsen-Convergence-Audit.pdf.)

       73.    Android’s dramatic advance in 2010 is shown in the following graph (from

http://blog.nielsen.com/nielsenwire/wp-content/uploads/2010/11/smartphone-OS-share.png).

Clearly Android’s market share advanced rapidly in 2010, while most others were flat or

declining. While there are many possible factors, consumer enthusiasm for phones with features

common to iPhone and Android is evident.




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       74.       The following features are highlighted on Google’s Android “What is Android?”

page (see http://developer.android.com/guide/basics/what-is-android.html):
             •   “Application framework enabling reuse and replacement of components
             •   “Dalvik virtual machine optimized for mobile devices
             •   “Integrated browser based on the open source WebKit engine
             •   “Optimized graphics powered by a custom 2D graphics library; 3D graphics based on the
                 OpenGL ES 1.0 specification (hardware acceleration optional)
             •   “SQLite for structured data storage
             •   “Media support for common audio, video, and still image formats (MPEG4, H.264, MP3, AAC,
                 AMR, JPG, PNG, GIF)
             •   “GSM Telephony (hardware dependent)
             •   “Bluetooth, EDGE, 3G, and WiFi (hardware dependent)
             •   “Camera, GPS, compass, and accelerometer (hardware dependent)
             •   “Rich development environment including a device emulator, tools for debugging, memory and
                 performance profiling, and a plugin for the Eclipse IDE”

       75.       The main differences between Android and iPhone and competitors such as

Blackberry and Windows Mobile appear to be the touchscreen, extensibility, and a wide variety

of user-installable applications, many developed by third party developers. A developer



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    community sufficient to compete with the size and diversity of the iPhone applications (“apps”)

    appears critical to Android’s success.

           76.     Internal Google documents are consistent with this view (and more evidence will

    be discussed below):

                           BEGIN GOOGLE ATTORNEYS’ EYES ONLY
REDACTED




                            END GOOGLE ATTORNEYS’ EYES ONLY

                   F.      Android Market
           77.     Android Market, accessible through a web browser or through an Android device,

    allows users to buy or download free Android Apps, books, and movies. As explained in help

    pages accessible from the Android Market web site, “Android Market offers quick, easy access

    to a wide variety of applications developed specifically for the Android platform. These have

    been created by developers all around the world, and have been rated by your fellow Android

    users.” (See

    http://www.google.com/support/androidmarket/bin/answer.py?hl=en&answer=113407&topic=1

    100168.)

           78.     From a developer’s point of view, Android Market provides a way for application

    developers to make applications available to Android users. A sample screen shot from the

    Android Market web site is shown below:




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       79.     A tour of Android Market (see, e.g., http://www.businessinsider.com/how-to-use-

the-new-android-market-2011-2) shows that a user must sign in using a Google account before

browsing Android apps by category, paid, free, or popularity. It is also possible to search for

apps using a search bar and click on icons to read more information about any app. As the tour

pages show, “You can check out reviews, ratings, screenshots, and videos of the app” and “If

you want to download click ‘Install’ next to the app’s icon.”

       80.     Since a Google account is also a Gmail account, Android users appear to

necessarily become Gmail users. When I entered my login information in order to use a phone

and use Android Market to install an app, the phone was automatically configured to read my

Gmail account on the phone.



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               G.      The Android Platform on End-User Devices
       81.     In Google’s own words, “Android is a software stack for mobile devices that

includes an operating system, middleware and key applications.” (See

http://developer.android.com/guide/basics/what-is-android.html.)

       82.     A software stack involves interrelated software components that “stack” in the

sense that they can be arranged into layers with software at higher layers depending on software

at lower layers (and not conversely). (This concept is not related to the run-time stack used in

program execution.) A Google diagram (from http://developer.android.com/images/system-

architecture.jpg) illustrating major components of the system shows four layers consisting of (i)

the Linux operating system, (ii) libraries and the Android runtime, (iii) an Application

Framework, and (iv) Applications:




       83.     In the computer field generally, an application is a computer program that a user

interacts with directly. According to this Android diagram, an Android application such as the

browser relies on the application framework. The program that implements the browser can

make method calls to software that is part of the application framework. The application

framework in turn makes use of the Android runtime, which includes the “Core Libraries” and



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“Dalvik Virtual Machine.” These also run under control of the Linux operating system and

kernel.

          84.   Android uses a “multi-user Linux [operating] system in which each application is

a different user.” (See http://developer.android.com/guide/topics/fundamentals.html.) This

separates distinct applications from each other because different Linux users normally have

different permissions. “By default, every application runs in its own Linux process” and “Each

process has its own virtual machine (VM), so an application’s code runs in isolation from other

applications.” (See http://developer.android.com/guide/topics/fundamentals.html.)

          85.   While Android applications are normally isolated from each other by the standard

operating system mechanisms, “there are ways for an application to share data with other

applications and for an application to access system services.” (See

http://developer.android.com/guide/topics/fundamentals.html.) For example, two applications
may “share the same Linux user ID, in which case they are able to access each other’s files.”

(See http://developer.android.com/guide/topics/fundamentals.html.) Alternatively, “applications

with the same user ID can also arrange to run in the same Linux process and share the same

VM.” (See http://developer.android.com/guide/topics/fundamentals.html.)

          86.   Moreover, “An application can request permission to access device data such as

the user’s contacts, SMS messages, the mountable storage (SD card), camera, Bluetooth, and

more. All application permissions must be granted by the user at install time.” (See

http://developer.android.com/guide/topics/fundamentals.html.)




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                  H.     Android Application Development
        87.       The Android Developer Website (http://developer.android.com) provides

extensive information about the Android platform, its components, and how they can be used by

software developers.

        88.       The Google Android web site explains how Android applications are written in

Java and compiled to produce .dex files that are executed by the Dalvik Virtual Machine.

Specifically, and as quoted directly from Google’s Android Developer Website:

              •   “Android applications are written in the Java programming language” and
                  compiled using tools in the Android SDK (software development kit). (See
                  http://developer.android.com/guide/topics/fundamentals.html.)

              •   “Each Android application is compiled and packaged in a single file that includes
                  all of the application’s code (.dex files), resources, assets, and manifest file.” (See
                  http://developer.android.com/guide/appendix/glossary.html.)

              •   “The Dalvik VM executes files in the Dalvik Executable (.dex) format which is
                  optimized for minimal memory footprint.” (See
                  http://developer.android.com/guide/basics/what-is-android.html.)

              •   “The Dalvik VM relies on the Linux kernel for underlying functionality such as
                  threading and low-level memory management.” (See
                  http://developer.android.com/guide/basics/what-is-android.html.)
        89.       Further information on the bytecode for the Dalvik VM is available at

http://source.android.com/tech/dalvik/dalvik-bytecode.html; further information on the Dalvik
Executable Format (.dex) is available at http://source.android.com/tech/dalvik/dex-format.html.

        90.       The Java Development Kit (JDK) provides the backbone of the Android SDK. In

fact, the system requirements for installing the Android SDK include one of three operating

systems, a Java Integrated Development Environment (IDE), and appropriate versions of the

JDK.

        91.       For Eclipse, a popular IDE developed by IBM for Java, Google Android provides

a specific Android Development Tools (ADT) plug-in. (See

http://developer.android.com/sdk/requirements.html.) The ADT adds capabilities to Eclipse to

let developers “quickly set up new Android projects, create an application UI, add components

based on the Android Framework API, debug … applications using the Android SDK tools, and


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even export signed (or unsigned) .apk files in order to distribute … application[s].” (See

http://developer.android.com/sdk/eclipse-adt.html.) According to Android documentation,

“Developing in Eclipse with ADT is highly recommended and is the fastest way to get started.”

(See http://developer.android.com/sdk/eclipse-adt.html.)




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        92.        The main components used in building an Android application from source code

are shown in the illustration immediately above (from

http://developer.android.com/guide/developing/building/index.html). As this illustration shows,

application source code is compiled using the Java programming language compiler to produce a

.class file. This is the same process used for compiling java source code to .class files. The

Android SDK then uses the dx tool to convert a .class file to the .dex format, and apkbuilder to

produce an Android package (.apk) file. Android packaged files are then signed and processed

for release.

        93.        The Android documentation (from

http://developer.android.com/guide/developing/building/index.html) for building and running
Android applications describes the general process for a typical build as follows:

               •   “The Android Asset Packaging Tool (aapt) takes your application resource files,
                   such as theAndroidManifest.xml file and the XML files for your Activities, and
                   compiles them. An R.java is also produced so you can reference your resources
                   from your Java code.”
               •   “The aidl tool converts any .aidl interfaces that you have into Java interfaces.”

               •   “All of your Java code, including the R.java and .aidl files, are compiled by the
                   Java compiler and .class files are output.”

               •   “The dex tool converts the .class files to Dalvik byte code. Any 3rd party libraries
                   and .class files that you have included in your project are also converted into .dex
                   files so that they can be packaged into the final .apk file.”
               •   “All non-compiled resources (such as images), compiled resources, and the .dex
                   files are sent to the apkbuilder tool to be packaged into an .apk file.”

               •   “Once the .apk is built, it must be signed with either a debug or release key before
                   it can be installed to a device.”

               •   “Finally, if the application is being signed in release mode, you must align the
                   .apk with the zipalign tool. Aligning the final .apk decreases memory usage when
                   the application is running on a device.”
        94.        The basic correspondence between the Java application development and

execution platform components and the Android application development and execution

platform components is shown in the figure below. This figure shows that in both cases, Java

source code is compiled to Java bytecode. In Android, there is an additional step in which Java


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bytecode is converted to .dex bytecode. This same conversion is applied to Java class library

bytecode. Then, in both scenarios, bytecode is executed on the end-user platform by a virtual

machine operating under control of an operating system installed on a physical computing

device.




                I.     Android’s Adoption of the Java Platform
          95.   The Java programming language, the Java SDK, and Java libraries are all used in

Android. The way each of these is used by Android and the importance of the inventions

protected by intellectual property asserted in this lawsuit is summarized below.

          96.   Java programming language. As discussed above, the Java programming

language is one of two leading general purpose programming languages. The other is C++,

including the C subset which could also be considered a third programming language that shares

core programming, compilation, and execution characteristics with C++. Of these, Java is a




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clear choice for Android because it supports managed execution (execution in an established

virtual machine) and the “write once, run anywhere” paradigm that allows developers to use any

of several platforms to produce software that runs on any of a range of platforms. Because

Android, unlike iPhone and other competitors, is intended to run on diverse platforms produced

by independent manufacturers, support for “write once, run anywhere” is central to the entire

Android strategy. (I will address Windows Mobile separately below.)

       97.     Another highly important advantage of Java is the well-established and highly-

trained developer community. The popularity and widespread use of Java in education and in
industry provide a large community of experienced Java programmers. By tapping into this

abundant pool of experts, Google’s Android has been able to attract a large number of

application developers. Because Java is standardized and associated with a reliable SDK,

experienced Java developers can readily build Android applications using skills they developed

through Java programming for other platforms. These factors are undoubtedly critical to

Google’s success in filling the Android Market with a wide range of applications, which is in

turn a significant part of Google’s success with Android overall.

       98.     Java development platform. Google adopted existing and proven development

tools that were known to be attractive to developers and, because they were already built, tested,

and widely accepted, improved Android’s speed to market. Eclipse, discussed below, and the

Java compiler, are complex software systems that required substantial teams to develop, support,

and improve over time.

       99.     As I described earlier, the Java Development Kit (JDK) provides the backbone of

the Android SDK—the system requirements for installing the Android SDK include a Java

Integrated Development Environment (IDE), and appropriate versions of the JDK. Google also

recommends and takes advantage of Eclipse, a popular IDE developed by IBM for Java. To

leverage Eclipse for Android developers, Google provides a specific Android Development

Tools (ADT) plug-in. (See http://developer.android.com/sdk/requirements.html.)




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       100.      Java class libraries and APIs. The Java class libraries are distributed with the

JDK and form an integral part of the Java development environment. The class libraries and

their APIs are the result of extensive effort to build software components that are easy to use,

general in purpose, and effective for solving a range of common software development. The

Java Community Process (JCP) website (http://www.jcp.org) lists many projects illustrating the

effort involved in defining good APIs. For example, one of two goals of JSR 166 Concurrency

Utilities is “To standardize a simple, extensible framework that organizes commonly used

utilities into a small enough package to be readily learnable by users and maintainable by

developers.” (See http://jcp.org/en/jsr/detail?id=166.)

       101.      Google copied substantial portions of Java APIs, as described in more detail in

this report. This made Android programming more familiar to Java programmers, furthering

interest in Android application development and speeding the development of new applications.

In addition, Google did not have to invest the time and effort required to formulate good APIs or
incur the associated costs and time-to-market delays REDACTED




                 J.     Google’s Decision to Adopt Java for Android and Why Alternatives
                        Are Suboptimal
       102.      The Google Android team made a decision to use a specific programming

language and associated platform for Android development and Android applications. From a

technical standpoint, key Android project requirements that are relevant to the choice of

language and platform are:

             •   Ability to run compiled code on heterogeneous devices produced by multiple
                 vendors. REDACTED




             •   Require widespread acceptance among platform vendors who need to produce
                 compatible device drivers and custom branding. REDACTED




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             •   Trained and capable developer community with millions of developers. REDACTE
                                                                                         D




             •   Tools and development platform that is familiar to developers and runs on
                 accepted developer systems (e.g., leading operating systems). REDACTE
                                                                               D




             •   Short time to market and low risks of selling a buggy consumer electronics
                 device.
                        R

       103.      REDACTED



         REDACTED

                                                                                   REDACTED




       104.      There are also some additional, possibly secondary, self-evident criteria. For

example, it would be an advantage to Google Android to select a programming language for

Android that appealed to developers and that might generate media buzz in the engineering




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community. Further, an ability to engage the scientific and engineering research community

through a platform that was freely available to them would clearly benefit Google.

       105.   Among the Google Android needs, the importance of time-to-market should not

be underestimated REDACTED




       106.   REDACTED




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             •   C/C++ (REDACTED




             •   Objective C, often abbreviated to Obj-C
             •   “The iPhone model,” which uses Obj-C
             •   Java REDACTED


       107.      While C/C++ does not occur in the primary documents I studied to determine

which alternatives Google considered, I have included it because it is an extremely popular

programming language. While some or all of the alternatives considered may also lead to

alternative Android platforms that infringe one or more of the asserted patents, Google

recognized that there are also technical reasons why none of the alternative languages considered

were satisfactory when Google chose to go mainstream with Android’s adoption of Java.

       108.      JavaScript. JavaScript is a scripting language for Web applications that was
originally designed by Brendan Eich, then at Netscape (see, e.g., www.mozilla.org/js/).

Although the word “Java” occurs as part of the name “JavaScript,” there is no other fundamental

connection between the languages. As far as I know, the name “JavaScript” was part of a

marketing agreement only.

       109.      Continuing evolution of the JavaScript language is managed by ECMA Standards
Committee TC39 (of which I am a member). Modern web applications use JavaScript for client-

side functionality and all modern web browsers contain JavaScript interpreters. Because

JavaScript interpreters require source code, web applications that use JavaScript transfer

JavaScript source code from the web server to the browser.

       110.      JavaScript execution is also relatively inefficient, in comparison to Java or

compiled languages. This is not necessarily the result of lack of implementation effort –

JavaScript has dynamic capabilities that are normally associated with slow execution speed,

including runtime object construction, variable parameter lists, function variables, dynamic script

creation (via eval), object introspection (via for ... in), and source code recovery. (My Stanford



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colleague Dan Boneh has developed a cryptographic library for JavaScript that I believe runs

slowly in comparison with Java, in spite of his efforts and those of his graduate students.)

Mozilla, for example, hosts two JavaScript implementations, Spidermonkey and Rhino. Even if

each of these uses an intermediate format to speed the implementation, I know of no standard

intermediate format that is used to exchange a form of compiled or partially compiled JavaScript.

Among other reasons, the inefficiency of JavaScript execution and the fact that applications

would need to be provided in source code seem to disqualify JavaScript as the basic application

development language for a smartphone project such as Android.
       111.      It is interesting to note that a substantial portion of Google JavaScript

programming actually relies on Java, Java libraries, and the JDK. Google produces and uses

Google Web Toolkit (GWT), “a development toolkit for building and optimizing complex

browser-based applications.” (See http://code.google.com/webtoolkit/.) As the web site further

explains, “GWT is used by many products at Google, including Google AdWords and Orkut.”

The basic operation of GWT is that “It lets you write client-side applications in Java and deploy

them as JavaScript.” (See http://code.google.com/webtoolkit/overview.html.) As further noted

on the same page, “The GWT SDK contains the Java API libraries, compiler, and development

server.” (Id.)

       112.      Lua. The Lua programming language (http://www.lua.org/) is “a scripting

language born in 1993 at PUC-Rio, the Pontifical Catholic University of Rio de Janeiro in

Brazil.” (See R. Ierusalimschy, L. H. de Figueiredo, W. Celes, The evolution of Lua,

Proceedings of ACM HOPL III (2007) 2-1–2-26, available at

http://portal.acm.org/citation.cfm?id=1238846.) It is a relatively untested programming

language, in comparison with the others considered for Google Android.

       113.      Lua appears as the 50th most popular language in the Tioble list for 2006 and

10th for 2011. Still, it is not widely taught in universities and my estimate is that even if it is

tenth in popularity according to the Tiobe measure based on web sites, there is a large difference




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in the number of experienced programmers for the top 3-5 languages in this list and the

languages that are tenth or lower on this list.

         114.   In summarizing properties of the language, the main proponents of Lua wrote,

“Semantically, Lua has many similarities with Scheme, even though these similarities are not

immediately clear because the two languages are syntactically very different.”

(R. Ierusalimschy, L. H. de Figueiredo, W. Celes, The evolution of Lua, Proceedings of ACM

HOPL III (2007) 2-1–2-26, available at http://portal.acm.org/citation.cfm?id=1238846.) In this

regard, Lua is related to JavaScript, which is essentially based on Scheme, a functional

programming language, and Self, an object-oriented language. Two important features that are

common to all three languages are anonymous functions and full lexical scoping. In addition,

like Scheme and JavaScript, “Lua is dynamically typed: variables do not have types; only values

have types.” (R. Ierusalimschy, L. H. de Figueiredo, W. Celes, The evolution of Lua,

Proceedings of ACM HOPL III (2007) 2-1–2-26, available at

http://portal.acm.org/citation.cfm?id=1238846.) In addition, the main data-structuring
mechanism of Lua, called tables, are associative arrays that are analogous to JavaScript objects.

         115.   The implementation of Lua uses a one-pass compiler to produce bytecode for a

register-based virtual machine. This virtual machine is implemented in ANSI C and tuned for

portability rather than performance: “To be portable across many different C compilers and

platforms, Lua cannot use several tricks commonly used by interpreters, such as direct threaded

code. Instead, it uses a standard while-switch dispatch loop. Also, at places the C code seems

unduly complicated, but the complication is there to ensure portability. The portability of Lua's

implementation has increased steadily throughout the years, as Lua got compiled under many

different C compilers in many different platforms (including several 64-bit platforms and some

16-bit platforms).” (R. Ierusalimschy, L. H. de Figueiredo, W. Celes, The implementation of

Lua 5.0, Journal of Universal Computer Science 11 #7 (2005) 1159–1176, available at

http://www.jucs.org/jucs 11 7/the implementation of lua/jucs 11 7 1159 1176 defigueiredo.

pdf.)


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       116.    From a software development standpoint, one interesting characteristic of Lua is a

mechanism of called fallbacks. This feature allows programmers to extend the semantics of the

language in some unconventional ways. For example, fallbacks allow the user to add different

kinds of inheritance to the language. Typically, unusual language features like this have

advantages for some kinds of programming situations and drawbacks for others. For example, a

feature that allows programmers to add different kinds of inheritance to the language could be

useful with those new kinds of inheritance are needed, but problematic in other situations

because they could make it harder for one programmer to read another programmer’s code, as is
often needed in software development, testing, and maintenance. Whatever the advantages or

disadvantages of this and other unusual features of Lua, using a language that has not been

widely adopted represents a significant risk.

       117.    Overall, Lua would have been an unusual and risky choice for Google Android

because it is not as widely used as other languages, it has the same drawbacks as JavaScript and

Python, and it does not have anywhere near the number of experience developers as the other

languages considered.

       118.    Python. Python (http://www.python.org/) is another programming language that

is sometimes referred to as a scripting language. Python is considered an interpreted language

(e.g., http://docs.python.org/tutorial/index.html), although there appear to be implementations

that translate Python to the Java and .NET virtual machines. (See http://www.python.org/.) As a

flexible, dynamic language with generally slow performance, Python has largely the same

drawbacks as an Android implementation or application development and deployment language

as JavaScript. If an implementation of Python based on the JVM were used, this would infringe

the asserted patents as they are used in the Oracle JVM, or the performance degradation

associated with non-infringing workarounds work be significant, as measured by the

performance measurements discussed elsewhere in this report.

       119.    C#. Microsoft’s C# (see http://msdn.microsoft.com/en-us/vcsharp/aa336809) and

other .Net languages are analogous to Java in many of the respects relevant to the Android


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platform and the Google Android team decision to use Java. According to the Microsoft web

site (http://www.microsoft.com/net/overview.aspx), the .Net Framework consists of:
             •   Common Language Runtime – …an abstraction layer over the operating system
             •   Base Class Libraries – … for common low-level programming tasks
             •   Development frameworks and technologies – reusable, customizable solutions
                 for larger programming tasks.

       120.      The .Net framework supports C#, a language that has some similarities to both

C++ and Java, and a number of other programming languages that are all compiled to produce

intermediate code that is executed under control of a virtual machine. Specifically,

                 “In the .NET environment, there are two distinct parts to
                 compilation. The first part entails a programmer compiling and
                 optimizing with the language compiler (C#, Visual Basic®, or
                 Visual C++) to generate MSIL. The second part involves the MSIL
                 being fed to the just-in-time (JIT) compiler or NGEN, which reads
                 the MSIL and then generates optimized native machine code.”

(See http://msdn.microsoft.com/en-us/magazine/cc163855.aspx.)

       121.      In other words, the C# and .Net approach is similar in that a compiler produces an

executable intermediate format analogous to Java bytecode. This bytecode, in a format

analogous to class files, is supplied to a virtual machine. While there are technical differences,

the advantages of C# or other .Net languages are similar to Java. However, C# and .Net are

proprietary products of Microsoft Corporation and Google Android would have had to negotiate

terms with Microsoft. In addition, the C# developer community is not as extensive as Java, the

development environment is not available under the same terms, and so on. Therefore, while

there are technical reasons that C# and other .Net languages might be reasonable alternatives,

there are business issues that would have to be addressed. Because Windows Mobile has been

less successful than Android, it seems reasonable to expect that Android would not have been as

successful if Microsoft languages and platforms had been used.

       122.      C/C++. The C programming language was originally designed and implemented

from 1969 to 1973, as part of the Unix operating system project at Bell Laboratories. C was




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designed by Dennis Ritchie, one of the original designers of Unix, the popular and successful

operating system leading to Linux. C++ is an object-oriented extension of the C language that

was originally designed by Bjarne Stroustrup in the early 1980s. (Stroustrup was then working at

Bell Laboratories. I also worked at Bell Laboratories in the summer of 1983, when the language

was called “C with Classes,” and then 1984-1988.) The compiler and execution models for these

languages are similar. Because C is a subset of C++, a C++ compiler may also serve as a C

compiler.

       123.    The C and C++ languages are compiled to native code. If separate program units
are compiled independently, then the output files containing native code are linked by a linker to

produce an executable file (such as would have a “.exe” extension under Windows). This

paradigm is not satisfactory for Android because Android applications must run on

heterogeneous hardware platforms developed independently by independent smartphone

vendors. One consequence of this is that developers must be able to build applications that

compile and execute correctly on multiple platforms. This suggests a need for developers to

have several emulators, one for each target platform. This complicates development. In

addition, if a new vendor wishes to sell Android phones, under this set of conditions, developers

would have to adapt their applications to make sure they work properly on the new hardware

platform.

       124.    There are also problems with providing applications to users in this scenario. If

smartphone applications are developed in C/C++, application developers could distribute source

code or compiled code. However, it is undesirable to distribute source code for several reasons.

For example, source code generally reveals the structure of an application and does not protect

the intellectual property of developers.

       125.    For all of these reasons, a language that is compiled to native code does not

provide “write once, run anywhere”—it does not fit the Android model because it does not

support direct development on multiple platforms and it does not provide the ability to run

compiled code on heterogeneous devices produced by multiple vendors.


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       126.     Objective C and “The iPhone model.” Objective-C is an extension of the C

programming language that provides “syntax for defining classes, and methods, as well as other

constructs that promote dynamic extension of classes.” (See

http://developer.apple.com/library/ios/#referencelibrary/GettingStarted/Learning Objective-

C A Primer/.)

       127.     Objective-C is used at Apple and it is the programming language for iPhone

applications. Specifically, programmers interested in developing iPhone apps are instructed to

learn to program using Objective-C and are supplied with a specific development environment.

(See, e.g., “Your First iOS Application” at

http://developer.apple.com/library/ios/documentation/iPhone/Conceptual/iPhone101/iPhone101.
pdf.) Specifically, “The tool you use to create applications for iOS is Xcode—Apple’s IDE

(integrated development environment).” (Id. at 11.)

       128.     Objective-C is compiled and executed using essentially the same process as C and

C++. In fact, the popular gcc C compiler can compile Objective-C source code, when the

appropriate command-line option is supplied. An example showing Objective-C source code, a

command line for compiling source code, and the command-line input for executing the resulting

native executable is presented in a chapter of Stephen G. Kochan’s book, Programming in

Objective-C 2.0, Rough Cuts, 2nd Edition, available at

http://www.informit.com/articles/article.aspx?p=1271260. An Objective-C runtime environment

that provides compiled code with a number of operations that can be invoked at run time is

documented on Apple’s website (e.g.,

http://developer.apple.com/library/ios/#documentation/Cocoa/Conceptual/ObjCRuntimeGuide/).

       129.     Because Objective-C is compiled to native code, and it is an alternative superset

of C, it suffers from the same drawbacks described above for C and C++. A language that is

compiled to native code, Objective-C does not provide “write once, run anywhere”—it does not

fit the Android model because it does not provide the ability to run compiled code on

heterogeneous devices produced by multiple vendors. The reason that Objective-C is suitable for


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iPhone and iPad applications is that Apple provides a single hardware platform that runs

appropriately compiled native code. iPhone applications do not need to run on heterogeneous

devices produced by multiple vendors.

       130.    Java. As Google recognized, Java provides a perfect solution for Android. RED
                                                                                            ACT
                                                                                            ED

                                                                                          ) Java

provides the ability to run compiled code on heterogeneous devices produced by multiple

vendors because Java source code is compiled to bytecode that runs on any platform with an

appropriate virtual machine. In addition, Java virtual machines have been developed for

standard architectures and hardware instruction sets, making Java an attractive option for device

vendors who might be concerned about producing and marketing devices with unproven

software.

       131.    Java has a trained and capable developer community with millions of developers.

Java has been the leading programming language in colleges and universities. Many companies,

large and small, use Java, as illustrated by the Tiobe data, for example. Java developers building

Android applications can use familiar developer tools, such as Eclipse, run on accepted
developer platforms such as Linux, Windows, and MacOS computers. REDACTED




       132.    Java allowed Google Android to reduce time to market because the Java language

and platform was already in widespread use. Java development tools were available and familiar

to developers. Because Java code analysis and Q/A procedures were well known to experienced

architects, designers, programmers, and project managers, Java minimized the risk of Google

Android bringing a buggy consumer electronics device to market, when compared with unproven

software alternatives. Google Android team members clearly agreed with the conclusion that

Java is the best programming language and platform when they selected Java. Further, the




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success of Android over competing smartphones using different software platforms suggests that

selecting Java was a successful strategic decision.

       133.    Unsuitabilty of Non-infringing Java alternatives. While the advantages of the

Java language and platform are clear, Google Android could hypothetically have used the Java

programming language and the Java compiler, but developed its own theoretically non-infringing

execution platform. I have analyzed the design alternatives for achieving this goal, as described

below, and my opinion is that this was not a feasible or successful option.

       134.    Once Java is chosen, Google Android could hypothetically choose to either (i)
supply some form of executable intermediate form object code to a virtual machine on the

device, or (ii) compile Java bytecode to native code for each device. Within the second

alternative, this compilation could be done in two ways: (ii-a) compile Java bytecode or some

translation of bytecode to native code on the device, or (ii-b) compile Java bytecode or some

translation of bytecode to native code off the device, prior to transfer onto the device.

       135.    Hypothetical alternative (ii-b), which produces native executable code for each

application before it is installed on the mobile device, suffers from the same drawbacks as the

compiled languages C/C++ and Objective-C discussed above. For the reasons discussed above

in connection with those languages, this does not appear to be a feasible alternative because for

example, it fails to achieve “write once, run anywhere.” Moreover, to the extent that this

involves developing new compilers and potentially new compilation technology for Java

bytecode, there are additional time-to-market and software fragility risks that may make this an

even less attractive alternative than adopting C/C++ or other C-based languages.

       136.    Hypothetical alternative (ii-a), which involves compiling Java bytecode or some

translation of bytecode to native code on the device, would have to be developed carefully to

avoid infringing the asserted patents. Further, if one considers that additional Java patents were

owned by Sun Microsystems (now Oracle), there are additional constraints that limit the set of

alternatives available to Google in designing Android.




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       137.    In the final hypothetical alternative, Google Android could attempt to produce a

non-infringing Java-based alternative by individually working around each of the claims of each

of the asserted patents. But as noted above, additional Java patents held by Sun Microsystems

(now Oracle) add constraints that limit the set of alternatives available to Google in designing

Android.

       138.    I will further address non-infringing alternatives in my patent expert report.




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V.     THE COPYRIGHTS IN SUIT AND DETAILED OPINIONS

       A.      Statement of Opinions and Findings
       139.    In preparing this section of the report, I reviewed Application Program Interface

(“API”) specifications, source code, and documentation relating to various versions of the Java

Platform Standard Edition and Android. I also reviewed a number of the pleadings, documents

produced during discovery, and deposition transcripts from this case.

       140.    Based on my understanding of copyright law, it is my opinion that multiple

elements of the Java API specifications contain copyrightable expression. These elements
include the selection, coordination, and arrangement of the Java packages; the class names and

definitions, fields, methods, and method signatures contained in each package; and the English

prose text that explains each of the above elements. Similarly, the source and object code that

implements the Java core libraries contains copyrightable expression.

       141.    It is my further opinion that significant portions of the Android API specifications

bear substantial similarity to the Java API specifications. Similarly, the Android source code that

implements the Android specifications contains these same elements. Other Android source

code is substantially similar to Oracle’s copyrighted source code or to decompiled Oracle object

code. Thus I conclude, based on my understanding of copyright law, that this element of

copyright infringement has been met both as to Google and as to third parties who reproduce or

distribute Android materials that they receive from Google.

       B.      Principles of Law
       142.    I have been informed that under the law, a copyright owner has the right to

exclude others from reproducing, preparing a derivative work from, distributing, performing, or

displaying, the copyrighted work. I understand that the term derivative work refers to a work

based on one or more preexisting works, in which the preexisting work is recast, transformed, or

adapted.




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       143.    It is my understanding that to establish direct copyright infringement, a plaintiff

must prove that the plaintiff is the owner of the copyright and that the defendant copied original

elements of the copyrighted work.

       144.    I understand that to prove that the defendant copied the plaintiff’s work, the

plaintiff may show that the defendant had access to the plaintiff’s copyrighted work and that

there are substantial similarities between the defendant’s work and the plaintiff’s work. Where a

high degree of access is shown, a lower standard of proof of substantial similarity is required.

       145.    I further understand that in assessing similarity, courts consider both quantitative
similarity—how much was copied—as well as qualitative similarity—the significance of what

was copied. I understand that copying is considered “de minimis” and is not actionable if the

copying is neither quantitatively nor qualitatively significant.

       146.    I have further been informed that copyright protects original expression. Facts,

ideas, procedures, processes, systems, methods of operation, concepts, principles, and

discoveries cannot be copyrighted. A compilation of individually unprotectable elements,

however, may be copyrightable. A compilation is a work formed by the collection and

assembling of preexisting materials or of data that are selected, coordinated, or arranged in such

a way that the resulting work as a whole constitutes an original work of authorship.

       147.    I understand that Oracle is not asserting copyright infringement of the Java

language as such but of creative works that are written in and use the Java programming

language.

       148.    I have been informed that when an idea and its expression are indistinguishable,

or “merged,” the expression will only be protected against nearly identical copying. Likewise, if

technical constraints dictate particular expression, then that expression is only protected against

virtually identical copying.

       149.    I have assumed that while Google’s explanation for its implementation of Java

APIs is its desire to provide a familiar, “compatible” programming environment for Java

programmers, that commercial objective does not excuse otherwise actionable misappropriation.


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       150.     I have been informed that a defendant is liable for vicarious copyright

infringement if the defendant has profited directly from the infringing activity and has the right

and ability to supervise the infringing activity, whether or not the defendant knew of the

infringement.

       151.     I have been informed that a defendant is liable for contributory copyright

infringement if the defendant knows or should have known of infringing activity by another and

induces, causes, or materially contributes to the activity.

       152.     I understand that an infringement is considered willful when the plaintiff has
proved that the defendant engaged in acts that infringed the copyright, and the defendant knew

that those acts infringed the copyright.

       C.       Ownership
       153.     I understand that Oracle owns the copyrights in the code, documentation,

specifications, libraries, and other materials that comprise the Java platform. Oracle has obtained

copyright registrations for a number of Java-related works, including multiple editions of the

book The Java™ Language Specification; the 1996 book The Java™ Application Programming

Interface, Volume 1; and numerous versions of the Java Development Kit (“JDK”) software,

each of which contains thousands of computer program and documentation files. I understand

that each version of the JDK builds upon previous versions and that Oracle and its predecessors

separately registered copyrights for each major JDK release. The Java-related code,

documentation, specifications, libraries, and other materials that I reviewed in preparing this

report bear Sun or Oracle copyright notices, making it apparent that Oracle owns the copyrights

to these materials.

       154.     I understand that third parties contributed to portions of the Java platform and that

these third parties have either assigned or licensed the copyrights in their contributions to Oracle.

I further understand that Oracle is not asserting copyright infringement of certain third party

materials in the Java platform. This report only covers materials in which Oracle has alleged

infringement.


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       D.      Access
       155.    I understand that Google had access to Oracle’s copyrighted works in a variety of

sources. The Application Programming Interface specifications and binary installation packages

for Oracle’s JDKs have been available on the websites of Oracle and its predecessors for many

years. (See http://download.oracle.com/javase/1.5.0/docs/api/;

http://www.oracle.com/technetwork/java/javase/downloads/index-jdk5-jsp-142662.html.)

Oracle has also made much of the JDK source code available on its website for non-commercial

use under research licensing programs. (See id.) All of the JDK source code that I have

personally observed has contained a copyright notice for Sun Microsystems or Oracle. Therefore

anyone who sees the code is aware that Oracle has legal rights associated with it.

       156.    I understand that Google made it a design goal for Android to mimic the structure

of Oracle’s Java libraries. According to the Android Compatibility Definition, “Android follows

the package and class namespace conventions defined by the Java programming language.” (See

GOOGLE-00296163.) In order for developers to build Android applications, Google requires

them to download the JDK. (See http://developer.android.com/sdk/requirements.html, listing
JDK 5 or JDK 6 as a requirement for the Android Software Development Kit.)

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       157.   REDACTED




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        158.     REDACTED




                            END GOOGLE ATTORNEYS’ EYES ONLY

        E.       Refresher on Object-Oriented Programming and the Java Language
        161.     As an “object-oriented” platform, Java’s features are divided into “classes” of

software “objects.” Each class is created in human-readable source code before being compiled

into machine-readable byte code.



1
  Javadoc is a tool that extracts developers’ comments from java code for use as documentation. As Bornstein used
the term, Javadoc refers to the Java API specification documentation generated using the Javadoc tool.



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           162.    Within the Java platform, classes are grouped into “packages” that provide related

features. Java.io, for instance, is a package that contains the classes and Interfaces that

implement input and output functions. Java.nio is a separate package that handles a “new” set of

input and output functions. Java.nio.channels is a sub-package of java.nio.

           163.    The classes are organized hierarchically within Java such that a subclass may

inherit characteristics from its parent. For example, the class java.io.InputStreamReader is a

subclass of java.io.Reader.

           164.    Many classes contain “fields” for storing data. For example, the class
java.io.FilterOutputStream contains a field called “out,” which stores, as the name might suggest,

a data output stream to be filtered.

           165.    Each class also contains “methods” associated with particular tasks. For example,

the class java.lang.String contains a method defined by the Java API specification as follows:

“public boolean contentEquals(CharSequence cs).” This method, named “contentEquals,”

compares a string of text to another sequence of characters and returns a value of “TRUE” if the

character sequences are the same and “FALSE” if not. Each method will typically take variables

called “parameters” as input. In the above example, contentEquals accepts a CharSequence

object named “cs.” The combination of a method’s name along with the number and types of its

parameters is known as the method’s “signature.” “Public” refers to the visibility of the method

to other objects. “Boolean” is the “return type” of the method; in this case, it means that the

method returns “TRUE” or “FALSE.”

           166.    As an additional example, the class java.lang.Runtime2 contains a method defined

with the line “public Process exec(String command, String[] envp, File dir) throws

IOException.” The “exec” method above takes three parameters as input instead of just one.

The method performs the function of executing the specified string “command” in a separate

process with the specified environment variables “envp” and the specified working directory


2
    See Exhibit Copyright-F for documentation on java.lang.Runtime.



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“dir.” In this example, the return type of the method is a “Process” object, and the method

generates an “IOException” in case of an error.

       167.    Each method is implemented in source code based on one or more algorithms.

An algorithm is a step-by-step procedure for accomplishing a goal. While it is my understanding

that algorithms are not protected by copyright, the creative expression in the source code that

carries out an algorithm is protected.

       168.    Java also includes a reference type known as an Interface that contains only

constants and abstract (i.e., declared, but not yet implemented) methods. Classes can implement
Interfaces by providing code that carries out, or implements, their abstract methods. For clarity I

will capitalize the Interface type to distinguish it from the general use of the term “interface.”

One Interface can extend another, which means that Interfaces, like classes, may be arranged

hierarchically. Java.util.Collection, described in more detail below, is an example of an Interface

for managing groups of objects.

       169.    I understand that code remains protected by copyright when it is compiled into

machine-executable object code, which is also known as executable or binary code, and that this

is true both for native object code that is directly executed on hardware and for object code

designed for execution in a virtual machine.

       F.      The Value of Application Program Interfaces
       170.    The Java core libraries include classes of code that perform common functions

such as input-output, networking, and handling collections of data. By harnessing Java core

libraries, programmers do not have to rewrite code that was already written to perform existing

functions.

       171.    An Application Program Interface for a class library might be compared to a

guidebook that explains how to use the library. It describes each class and its specified

behaviors. It includes the name of each class in the library. It also defines each class’s

relationship—typically hierarchical—to other classes and to packages of classes. For each class

in the library, an API describes the fields and methods that are exposed to other classes. The API


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indicates the defined input parameters and output “return” type, if any, for each publicly exposed

method. Although it is not essential for the operation of the code, each parameter is generally

given a descriptive name to convey its intended use.

       172.    An effective API architect, like any writer, must keep his or her audience in mind.

The audience includes application developers and system designers who utilize APIs as they

create their systems. An API may also serve as the design of a library, to be used by developers

who write source code that implements the library. If an API is written clearly and efficiently, it

will be easier to learn and use. Developers will be more likely to adopt the underlying platform.
The more developers use a platform, the more applications they will write, and the more

applications that exist, the greater the appeal of a platform for end users.

       173.    The strength of the Java API and its associated tools is likely a key reason for the

platform’s popularity.

                         BEGIN GOOGLE ATTORNEYS’ EYES ONLY
       174.    REDACTED




                         END GOOGLE ATTORNEYS’ EYES ONLY
       175.    An API for a library has many expressive aspects apart from the library’s

functionality. The expressive elements of an API include package, class, and method names; the

selection, naming, and order of parameters; and documentation that explains how the API works.

An API specification does not actually run on a computer; rather, it describes a set of rules that

the code implementing the library must follow. It serves as a point of contact between the library

code and the developers who will call on it.

       176.    Software companies expend considerable time and resources to craft elegant APIs

to address their problems. Joshua Bloch, a former Sun engineer who now works for Google,


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wrote in a 2005 presentation that an API can be “among a company’s greatest assets.”

(OAGOOGLE0100219512.) “Customers invest heavily: buying, writing, learning.” (Id.)

       G.      Copyrightable Expression in the Java Platform

                              BEGIN GOOGLE CONFIDENTIAL
       177.    REDACTED




                               END GOOGLE CONFIDENTIAL
       178.    The Java API Specifications contain considerable original expression in the

selection, coordination, and arrangement of the Java packages, as well as the class names,

definitions, fields, methods, and method signatures contained in each package. The English

prose text that explains each of the above elements represents yet another layer of expressive

content.

       179.    When the architects of the Java API decided to include a particular set of classes

in the platform and to give these classes particular names, they chose from a wide range of

expressive options. For example, the package java.io is concerned with the idea of handling

input and output. The Java core libraries express that idea by including the classes

java.io.PipedInputStream and java.io.PipedOutputStream to handle input and output. The

architects of the Java API did not have to include these classes as part of the standard Java

platform; it was a choice. Core libraries for other platforms such as C++ do not include such

classes.

       180.    The decision, moreover, to organize these classes into the designers’ chosen

hierarchy reflects the original choices of the designers. As an illustration, a subset of the class

hierarchy for java.io is diagrammed below. Note that the division between input and output

streams occurs at a very high level on the tree. The designers wanted to convey the idea that


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“input” classes, which are close together on the tree, share common characteristics, just as, for

example, mammals have more in common with other vertebrates than they do with invertebrates.

                                                   Object
                                                 java.lang




                        InputStream     File           RandomAccessFile      OutputStream



  ByteArrayInputStream                                                                ByteArrayOutputStream


    FileInputStream                                                                         FileOutputStream


    FilterInputStream                                                                   FilterOutputStream


    PipedInputStream                                                                    PipedOutputStream




        181.       Indeed, subclasses of InputStream have an input method that the designers called

“read” while subclasses of OutputStream have an output method that they called “write.” The

designers could have placed all “ByteArray-,” “File-,”“Filter-,” and “Piped-” streams together on

the tree before dividing between Input and Output. Such an arrangement would not have affected

the functionality of the classes, but it would not have been an equivalently elegant solution. By

branching initially on the dimension of input versus output, yet maintaining symmetry within the

hierarchy, the designers created a library that is functional and an API that is aesthetically

pleasing and easy to understand.

        182.       The creation of the java.io hierarchy presented additional opportunities for

creative expression, as the designers could have used other names, such as “get” and “put”

instead of “read” and “write” for input and output operations. Note also that InputStream, File,

RandomAccessFile, and OutputStream could have been defined as Interfaces rather than classes.

        183.       The decision to arrange Java classes into particular packages reflects yet another

conscious choice of expression. Extending the example above, rather than handling data input

and output in the package java.io, the designers could have separated input and output classes

into different packages. The classes’ visibility to one another may have then changed, but the




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substantive functionality of these classes would not. What does not go into a package may be

just as important as what does. When the designers wanted to add new input and output classes

to the Java API, they created a new package, java.nio, rather than modifying java.io. Given that

java.io is already relatively large—particularly at the levels of the hierarchy not diagrammed

above—additional classes may have overwhelmed developers.

       184.      Within each class, there are even more opportunities for original expression. The

choice of which fields and methods to include in a class, as well as what to name them, provides

many options for a developer. It is true that developers tend to use somewhat descriptive names
for fields and methods so that readers can follow their code. As Joshua Bloch has indicated,

“names should be largely self-explanatory.” (OAGOOGLE0100219527.) If names are not only

descriptive in themselves, but follow a consistent pattern established by the API author,

developers will readily understand their meaning. These names are not dictated, however, by the

function that the underlying elements perform. A computer can execute a method called “ct” just

as easily as it can execute a method called compareTo. The reason for choosing descriptive

method names is so that a human audience can learn them more easily.

       185.      The components of a method, which include the method signature, embody

additional creativity. Design choices abound in the selection and arrangement of input

parameters for a method. In the method java.lang.Runtime exec(String command, String[] envp,

File dir) mentioned above, for example, the designers could have used different input parameters,

and they could have organized them in a different order. Indeed, the Java API specification

includes multiple versions of the “exec” method that differ only in their parameter lists. The

computer treats each version differently on this basis alone. The versions include:

             •   exec(String command)

             •   exec(String[] cmdarray)

             •   exec(String[] cmdarray, String[] envp)

             •   exec(String[] cmdarray, String[] envp, File dir)

             •   exec(String command, String[] envp)


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                •    exec(String command, String[] envp, File dir)
           186.      The decision to include these six particular versions of “exec” when a smaller

number may have sufficed embodies considerable creativity. If “exec” had many more

parameters, on the other hand, the number of available versions would rapidly become unwieldy.

Just as a convoluted description in a textbook might confuse students, a long list of similar

parameters will surely confuse developers.3 To avoid confusion, Bloch recommends that

designers use consistent parameter ordering across methods (OAGOOGLE0100219544) as

illustrated in the example above. Line (d) above could have been specified as exec(String[]

envp, String[] cmdarray, File dir), but developers used to the order of line (c) would have likely

overlooked the change and made mistakes in their programs.

           187.      The names of parameters are even more expressive than the names of classes and

methods because developers do not have to use parameter names to make use of the API. For

example, a developer who wants to make use of the method java.lang.String.charAt(int index)4
would not actually use the name “index” in a program. Rather, the developer would use an

integer, or a variable of integer type. The developer might use charAt(5) or, if “x” were an

integer, charAt(x). Parameter names are chosen not to make a method work, but to help explain

how a method works.

           188.      Not to be overlooked, the source code that implements the Java API presents

tremendous opportunity for creative expression. As Bloch stated in his presentation, “code

should read like prose.” (OAGOOGLE0100219527.) Like prose writers, developers typically

can choose many ways to achieve a desired result.

                                      BEGIN GOOGLE CONFIDENTIAL
           189.     REDACTED




3
 Bloch’s presentation acknowledges as much in suggesting that “three or fewer parameters is ideal.”
(OAGOOGLE0100219545.)
4
    This method returns the character in a particular position, or index, within a string of text.



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                              END GOOGLE CONFIDENTIAL
       190.    The comments that describe the code in the Java platform present yet another

instance of the Java API designers’ creative expression. Comments are not “functional” in the

sense that they are not compiled for execution by the computer; rather they are written purely for

the use of a human audience. If a Java source code file is formatted properly, a tool called

JavaDoc can extract the developers’ comments for use as documentation for the code in question

and the API that the code implements.

       191.    While there were previous libraries for other languages that provide related
functionality, the Java API represents an original work. An attempt to port the library class-by-

class from another language, would not have been feasible. The difficulty in porting an API—

even one with similar functionality—from one platform to another exemplifies the need for

careful planning and expression in API design. As Bloch points out, “transliterating” an API

between programming languages is rarely effective. (See OAGOOGLE0100219532.)

                             BEGIN GOOGLE CONFIDENTIAL
       192.   REDACTED




                              END GOOGLE CONFIDENTIAL
       193.    For example, the Java Collections Framework addresses a task that is common

across many programming languages: storing and manipulating groups of data as a single unit.

The Java API handles collections using a set of abstract Interfaces that form a hierarchy. The

first few levels of the hierarchy from the Java Standard Edition 5.0 Development Kit are

diagrammed below.




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                                        Collection                                           Map




                Set                        List                      Queue                 SortedMap



              SortedSet

                                      Subset of Java Collections Framework

         194.     The Collection interface is the root of the collections hierarchy.5 This Interface
defines basic operations shared by all collections, including methods to return the size of a

collection, to determine whether it is empty, and to determine whether it contains a particular

element or group of elements. Many other operations, such as adding an element to a collection,

are optional.

         195.     In Java, a Set is a Collection that cannot contain duplicate elements. A List is an

ordered Collection that may or may not contain duplicates. A Queue is a Collection used to hold

multiple elements prior to processing that typically places its elements in FIFO (first-in, first-out)

order. A Map is an object that associates unique keys with particular values the way a dictionary

associates words with their meanings. SortedSet and SortedMap are sorted versions of their

parent Interfaces.

         196.     Other platforms handle collections differently. For example, subsets of the

Smalltalk collections hierarchy6 and the C++ Standard Template Library7 are diagrammed
below.




5
 The descriptions of the Java Collections interfaces are adapted from
http://download.oracle.com/javase/tutorial/collections/interfaces/index.html.
6
 For descriptions of the SmallTalk Collections hierarchy, see William R. Cook, Interfaces and Specifications for the
Smalltalk-80 Collection Classes, OOPSLA 1992.
7
 See generally, Silicon Graphics International, Standard Template Library Programmer’s Guide, available at
http://www.sgi.com/tech/stl/table of contents html.



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                                                                   Collection




                              SequenceableCollection                 Bag                       Set




          OrderedCollection      Array      String      Interval   LinkedList               Dictionary


           SortedCollection

                                 Subset of Smalltalk Collections Hierarchy




                                                     Containers




                  Sequence                                                           Associative
                  Containers                                                         Containers


Vector                List               Deque                      Set         Multiset      Map        Multimap


                                Subset of C++ Standard Template Library




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       197.    At a glance it is clear that the three APIs follow different organizational schemes.

For example, SmallTalk’s Dictionary, which contains key-value pairs much like Java’s Map, is a

subclass of SmallTalk’s Set. By contrast, C++’s Map occupies the same level as Set, and Java’s

Map is not even a true Collection.

       198.    Different types of collections are present in each API. OrderedCollection is a

SmallTalk analog of Java’s List. SmallTalk’s SortedCollection, however, has no sorted List

counterpart in Java. Nor do SmallTalk’s Bag or C++’s multiset—essentially unordered

collections that allow duplicates—have an equivalent in the JDK 5 API. These collections
libraries take different creative approaches to describing their solutions to a common problem.

       199.    It is notable that the Java API did not originally include an extensive collections

framework. (See http://download.oracle.com/javase/tutorial/collections/intro/index.html.) The

initial Java Development Kit included only Vector, array, and Hashtable classes. When the

Collections Framework was added for Java Development Kit 1.2, these classes were retrofitted

to implement the new interfaces. For example, Vector was retrofitted to implement List. The

fact that the Java API has evolved further supports the conclusion that there were many

expressive options available to the architects when it was created.

       H.      The Android APIs Compared to the Java APIs
       200.    For this comparison, I examined the API specifications of JDK 5, which contains

166 packages, and Android version 2.2 (“Froyo” or API Level 8), which contains 157 packages.

I used JDK 5 as the comparand because I understand that, when Google created Android, it

intended Android’s core libraries to implement a subset of the Java 2, Standard Edition,

version 5 APIs. Of course, JDK 5 is based on earlier versions of the Java platform, which, I

understand, Sun also copyrighted. I understand that for subsequent versions of Android, Google

updated its packages to cover Java 6 APIs. (See

http://source.android.com/source/initializing.html, indicating developers will need “JDK 6 if you

wish to build Gingerbread or newer; JDK 5 for Froyo or older.”)




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                             END GOOGLE ATTORNEYS’ EYES ONLY
My same analysis would apply for JDK 6.

         201.     My visual comparison of Android’s API package specifications (available at

http://developer.android.com/reference/packages.html) with Oracle’s copyrighted Java API

package specifications (for example, available at

http://download.oracle.com/javase/1.5.0/docs/api/) demonstrates that Java and Android organize

their classes and packages in an identical, hierarchical fashion. (See Exhibit Copyright-A.) An

alphabetical list of packages is included in the upper-left hand frame, and a list of associated

classes is included in the frame below. As noted infra, many of the included package names are

identical. The central frame in both specifications describes a particular package and explains

each of its constituent elements. The word “package” precedes the package name, and below the

name is a description of the package contents. Below the package description in both

specifications is a table listing each interface, class, and exception for a package, with a short

explanation of each.

         202.     The following Android package specifications are substantially similar to

Oracle’s copyrighted Java API package specifications8:




8
  I understand that in this case, Oracle has chosen not to assert copyright infringement of several other Java SE
packages, in some cases because Oracle uses these packages under license from third parties or allows third parties
to utilize these packages under permissive terms. These packages include: java math, java.util.concurrent,
java.util.concurrent.atomic, java.util.concurrent.locks, javax.xml, javax.xml.datatype, javax.xml.namespace,
javax.xml.parsers, javax.xml.transform, javax.xml.transform.dom, javax.xml.transform.sax,
javax.xml.transform.stream, javax.xml.validation, and javax.xml.xpath. These packages are not included in my
analysis.



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java.awt.font          java.nio.channels.spi      java.util                      javax.net.ssl
java.beans             java.nio.charset           java.util.jar                  javax.security.auth
java.io                java.nio.charset.spi       java.util.logging              javax.security.auth.callback
java.lang              java.security              java.util.prefs                javax.security.auth.login
java.lang.annotation   java.security.acl          java.util.regex                javax.security.auth.x500
java.lang.ref          java.security.cert         java.util.zip                  javax.security.cert
java.lang.reflect      java.security.interfaces   javax.crypto                   javax.sql
java.net               java.security.spec         javax.crypto.interfaces
java.nio               java.sql                   javax.crypto.spec
java.nio.channels      java.text                  javax.net

       203.     The 37 packages listed above have identical names and structures and contain

substantially similar characteristics in Java and Android. The similar elements include Oracle’s

class names, definitions, fields, and methods.

       204.     For example, in both Java and in Android, the package java.nio contains ten

classes (Buffer, ByteBuffer, ByteOrder, CharBuffer, DoubleBuffer, FloatBuffer, IntBuffer,

LongBuffer, MappedByteBuffer, and ShortBuffer) and four exceptions

(BufferOverflowException, BufferUnderflowException, InvalidMarkException,

ReadOnlyBufferException), all with identical names. For additional examples, see Exhibits

Copyright-B-D (packages java.lang, java.io, java.security).

       205.     Drilling down further into this example, the class java.nio.IntBuffer has nearly

identical method signatures in both Java and in Android as shown below:

      Methods in java nio.IntBuffer (Java version)       Methods in java nio.IntBuffer (Android version)
    static IntBuffer allocate(int capacity)              static IntBuffer allocate(int capacity)
    int[] array()                                        final int[] array()
    int arrayOffset()                                    final int arrayOffset()
    abstract IntBuffer asReadOnlyBuffer()                abstract IntBuffer asReadOnlyBuffer()
    abstract IntBuffer compact()                         abstract IntBuffer compact()
    int compareTo(IntBuffer that)                        int compareTo(IntBuffer otherBuffer)
    abstract IntBuffer duplicate()                       abstract IntBuffer duplicate()
    boolean equals(Object ob)                            boolean equals(Object other)
    abstract int get()                                   abstract int get()
    abstract int get(int index)                          abstract int get(int index)
    IntBuffer get(int[] dst)                             IntBuffer get(int[] dst)
    IntBuffer get(int[] dst, int offset, int length)     IntBuffer get(int[] dst, int dstOffset, int intCount)
    boolean hasArray()                                   final boolean hasArray()
    int hashCode()                                       int hashCode()
    abstract boolean isDirect()                          abstract boolean isDirect()
    abstract ByteOrder order()                           abstract ByteOrder order()



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       Methods in java nio.IntBuffer (Java version)      Methods in java nio.IntBuffer (Android version)
     abstract IntBuffer put(int i)                       abstract IntBuffer put(int i)
     IntBuffer put(int[] src)                            final IntBuffer put(int[] src)
     IntBuffer put(int[] src, int offset, int length)    IntBuffer put(int[] src, int srcOffset, int intCount)
     IntBuffer put(IntBuffer src)                        IntBuffer put(IntBuffer src)
     abstract IntBuffer put(int index, int i)            abstract IntBuffer put(int index, int i)
     abstract IntBuffer slice()                          abstract IntBuffer slice()
     String toString()                                   (Inherited from parent class)
     static IntBuffer wrap(int[] array)                  static IntBuffer wrap(int[] array)
     static IntBuffer wrap(int[] array, int offset,      static IntBuffer wrap(int[] array, int start, int
     int length)                                         intCount)

        206.     Of the 25 methods in the Java version of java.nio.IntBuffer, 24 are present in the

Android version. Fifteen rows in the above table are identical with respect to method names and

parameter lists. Four of the Android methods add the keyword “final” to prevent subclasses

from modifying the method’s behavior, but they are otherwise identical. Five other Android

methods make minor changes to the names of parameters, but not their types or order. Changing

variable names without changing program structure is a trick that students might use in an

attempt to hide copying in programming assignments. In this case, there is not even an attempt

to hide the copying; it is literal and readily apparent.

        207.     In addition to the method signatures shown above, the explanatory comments for

each method are also substantially similar in Java and Android. See Exhibits Copyright-E-F

(covering java.security.KeyPair & java.lang.Runtime respectively) for examples of this

phenomenon. As an illustration, the Java API specification describes the method

java.security.KeyPair.getPrivate as follows: “Returns a reference to the private key component of

this key pair.” The Android spec uses the following prose: “Returns the private key.” Other

examples of similar comments can be found throughout the API specifications.

        208.     Based on my understanding of copyright law, I conclude that the Android API

specification literally copies a significant amount of protectable expression from the API

specification in the Java Standard Edition 5.0 Development Kit.

        I.       Android Source Code Compared to the Java APIs
        209.     Android’s API specifications contain class names, definitions, fields, methods,

and explanatory text that are substantially similar to the corresponding elements in Oracle’s Java


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API specifications, leading to an inference of copying. The Android code that implements the

Android specifications includes these copied elements.

           210.     Google source code and documentation can be found in Google’s repository at

http://android.git.kernel.org/. For example, the source code that implements the java.security

package in Android 2.2 can be found in the Android repository at

dalvik/libcore/security/src/main/java/java/security9. This branch of the repository contains

source code files, written in the Java programming language, with which Google intends to

implement to the java.security classes, interfaces, and exceptions defined in the Java API

specification.

           211.     As a further example, according to the Java API Specification10, the class
java.security.ProtectionDomain has two constructors11 with the following signatures:

                •   ProtectionDomain(CodeSource codesource, PermissionCollection permissions)

                •   ProtectionDomain(CodeSource codesource, PermissionCollection permissions,
                    ClassLoader classloader, Principal[] principals)
           212.     Furthermore, the specification requires six methods for this class with the

following signatures:

                •   public final CodeSource getCodeSource()

                •   public final CodeSource getCodeSource()
                •   public final Principal[] getPrincipals()

                •   public final PermissionCollection getPermissions()

                •   public final PermissionCollection getPermissions()

                •   public final PermissionCollection getPermissions()



9
 Citations to the Android source repository are shortened and mirror the file paths shown in
http://android.git kernel.org. For example, “dalvik/libcore/security/src/main/java/java/security” maps to
http://android.git kernel.org/?p=platform/dalvik.git;a=blob;f=libcore/security/src/main/java/java/security/Protection
Domain.java;h=1e85c4a86d2aba29ffe841b88d2fb5dba7b0e579;hb=refs/heads/froyo.
10
     See http://download.oracle.com/javase/1.5.0/docs/api/index html?java/security/ProtectionDomain.html.
11
     A constructor is a pseudo-method that creates an object.



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       213.      As shown in Exhibit Copyright-G, the Android file

dalvik/libcore/security/src/main/java/java/security/ProtectionDomain.java copies the above lines

from the Java API Specification nearly verbatim and then includes code that purports to

implement the behavior required by this specification. The copied elements include the

selection, name, parameter types, and order of the constructors as well as the selection, name,

and order of the methods.

       214.      ProtectionDomain.java is one example of how Android code copies from the Java

APIs. In addition, there are hundreds of source code files that implement the Java packages in a
similar manner. Additional examples can be found in the Android repository at the following

locations.

       215.      For Android 2.2 (“Froyo”):

             •   dalvik/libcore/security/src/main/java/java/security;

             •   dalvik/libcore/security/src/main/java/javax/security/cert;

             •   dalvik/libcore/security/src/main/java/org/apache/harmony/security;

             •   dalvik/libcore/math/src/main/java/java/math;

             •   dalvik/libcore/math/src/main/java/org/apache/harmony/math;

             •   dalvik/libcore/luni/src/main/java/java;

             •   dalvik/libcore/luni/src/main/java/org/apache/harmony/luni;
             •   dalvik/libcore/luni-kernel/src/main/java/java/lang;

             •   dalvik/libcore/luni-kernel/src/main/java/org/apache/harmony/kernel;

             •   dalvik/libcore/luni-kernel/src/main/java/org/apache/harmony/lang;

             •   dalvik/libcore/nio/src/main/java/java.
       216.      For Android 2.3 (“Gingerbread”):

             •   libcore/luni/src/main/java/java/security;

             •   libcore/luni/src/main/java/javax/security/cert;

             •   libcore/luni/src/main/java/org/apache/harmony/security;

             •   libcore/luni/src/main/java/java/math;


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             •   libcore/luni/src/main/java/java;

             •   libcore/luni/src/main/java/org/apache/harmony/luni;

             •   libcore/luni/src/main/java/java/lang;

             •   libcore/luni/src/main/java/org/apache/harmony/kernel;

             •   libcore/luni/src/main/java/org/apache/harmony/lang;

             •   libcore/luni/src/main/java/java/nio.
       217.      Notably, the content of each of these branches mirrors the content of each

corresponding Java package.
       218.      Google has created and distributed via its online repository works written in

native code, in addition to Java code, that show substantial similarity to Oracle’s copyrighted

works. For example, Google makes and distributes dalvik/vm/native/java_lang_Class.c, which is

based on Oracle’s java.lang.Class specification. Other examples include:

             •   dalvik/vm/native/java_lang_Object.c

             •   dalvik/vm/native/java_lang_reflect_AccessibleObject.c;

             •   dalvik/vm/native/java_lang_reflect_Array.c;

             •   dalvik/vm/native/java_lang_reflect_Constructor.c;

             •   dalvik/vm/native/java_lang_reflect_Field.c;

             •   dalvik/vm/native/java_lang_reflect_Method.c;
             •   dalvik/vm/native/java_lang_reflect_Proxy.c;

             •   dalvik/vm/native/java_lang_Runtime.c;

             •   dalvik/vm/native/java_lang_String.c;

             •   dalvik/vm/native/java_lang_System.c;

             •   dalvik/vm/native/java_lang_Throwable.c;

             •   dalvik/vm/native/java_lang_VMClassLoader.c;

             •   dalvik/vm/native/java_lang_VMThread.c; and

             •   dalvik/vm/native/java_security_AccessController.c.




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         219.    These source files implement portions of the Java APIs in the C programming

language instead of the Java programming language. They are complementary to the Java-

language implementations. Because each of the above source code files copies substantial

protectable expression from Oracle’s API specifications, it is my opinion that they are derivative

works.

         220.    Many of the above files can also be found, compiled into executable code, on

Android-compatible devices. For example, Samsung makes a portion of the source code for its

SGH-I897 “Captivate” handset available at https://opensource.samsung.com/. A comparison

reveals that the source code file ProtectionDomain.java taken from the file SGH-

I897_OpenSource.tar.gz on the above site is textually identical to the corresponding file in

Google’s GIT repository. The same holds true for at least the files:

             •   dalvik/libcore/security/src/main/java/java/security/Certificate.java

             •   dalvik/libcore/security/src/main/java/java/security/CodeSource.java

             •   dalvik/libcore/security/src/main/java/java/security/Key.java

             •   dalvik/libcore/security/src/main/java/java/security/Permission.java

             •   dalvik/libcore/security/src/main/java/java/security/Policy.java

             •   dalvik/libcore/security/src/main/java/java/security/ProtectionDomain.java

             •   dalvik/libcore/security/src/main/java/org/apache/harmony/security/PolicyEntry.ja
                 va

             •   dalvik/libcore/security-kernel/src/main/java/java/security/AccessController.java
dalvik/libcore/security-kernel/src/main/java/java/security/AccessControlContext.java

         221.    Documentation contained in many of the source code packages on Samsung’s site

indicates that Google provides the majority of the source code for Samsung Android devices.

The “readme.txt” file contained in SGH-I897_OpenSource.tar.gz instructs developers who want

to build code for their devices to first download a complete source code set from Google’s

source.android.com website and then overwrite specific Google modules with the code from




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Samsung’s site. The developer is then instructed to “make,” or compile, the code. The contents

of “readme.txt” is reprinted in Exhibit Copyright-I.

       222.    Other device makers provide a subset of the code for their devices and similarly

refer developers to Google for the bulk of the code for use in builds. (See, e.g. “README” from

US670(Thunder)_Android_Froyo_USA_USC_Opensource.zip, retrieved from

http://www.lg.com/global/support/opensource/opensource.jsp.)

       223.    As noted above, it is even possible to find the names of copyrighted Java classes

on shipping Android devices. For example, Samsung Nexus S includes the

java.security.ProtectionDomain class within /system/framework/core.odex on the device. Other

devices have it as well. This indicates that code derivative of the Java core libraries appears on

Android devices.

       224.    The Android SDK, distributed by Google, contains one or more complete system

images that contain compiled versions of the Android code that includes the elements copied

from the Java APIs.

       225.    I further understand that Google exercises considerable influence over the code

that appears on devices. Google’s Android Compatibility Definition (“CD”) requires that all

devices deemed Android-compatible comply with the CD and pass Google’s Compatibility Test

Suite (“CTS”). (See GOOGLE-00296158.) I understand that Google forbids device

manufacturers from using the trademark “Android” in association with their devices unless they

pass the CTS. Furthermore, the CD strongly discourages device makers from modifying

Google’s Android platform code before copying it onto their devices. “Device implementers are

strongly encouraged to base their implementations on the ‘upstream’ source code available from

the Android Open Source Project. While some components can hypothetically be replaced with

alternate implementations this practice is strongly discouraged, as passing the CTS tests will

become substantially more difficult.” (Id.) Thus I conclude that Android devices available in

the marketplace are more likely than not to contain code from Google that manufacturers utilize

with few, if any, modifications.


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       226.     Google’s warning against changing code, coupled with the device makers’

instructions that users download the bulk of their code from Google, makes it quite likely that the

majority of the Android platform code that Google provides actually ends up compiled on end

user devices.

       227.     REDACTED




       228.     It is my understanding that if a manufacturer, developer, or end user copies

infringing materials to a device, then that person is a direct infringer.

       229.     I understand that after it provides its platform code for free to device makers,

Google profits from advertising and value-added services that it sells on top of the Android

platform.

                        BEGIN GOOGLE ATTORNEYS’ EYES ONLY
REDACTED




                         END GOOGLE ATTORNEYS’ EYES ONLY
       230.     In summary, it is my understanding that vicarious liability requires third party

copying, profit to the defendant, and an ability for the defendant to supervise the infringing

activity. I conclude that Google uses its definition of “Android-compatible” to control the code

that appears on devices and profits directly from device makers’ use of materials that copy

original expression from Oracle’s Java API specifications.

       231.     It is my further understanding that contributory infringement requires third party

copying, knowledge by the defendant, and material contribution or inducement. I conclude that

Google strongly encourages device makers and developers to use code that Google itself supplies

for reproduction and distribution on their devices. This code, moreover, copies original

expression from Oracle’s Java API specifications.


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        J.      Android Source Code Compared to Java Source Code
        232.    Google has distributed by way of Android and Android-related websites source

and object code substantially similar to Oracle’s source code or to decompiled Oracle object

code, as described below.

        233.    Two Android source code files contain lines that are identical to those in Oracle’s

java.util.arrays.java. These files are: /dalvik/libcore/luni/src/main/java/java/util/TimSort.java

and /dalvik/libcore/luni/src/main/java/java/util/ComparableTimSort.java. Specifically, the

method “rangeCheck” is identical both the Oracle and Android files.
    rangeCheck() from Oracle java.util.arrays.java            rangeCheck() from Android TimSort.java
                       lines 1318-326                                          lines 915-923
            [spacing adjusted for comparison]                      [spacing adjusted for comparison]
private static void rangeCheck(int arrayLen, int       private static void rangeCheck(int arrayLen, int
fromIndex, int toIndex) {                              fromIndex, int toIndex) {
     if (fromIndex > toIndex)                               if (fromIndex > toIndex)
        throw new                                              throw new
IllegalArgumentException(“fromIndex(“ + fromIndex +    IllegalArgumentException(“fromIndex(“ + fromIndex +
                “) > toIndex(“ + toIndex+”)”);                         “) > toIndex(“ + toIndex+”)”);
     if (fromIndex < 0)                                     if (fromIndex < 0)
        throw new                                              throw new
ArrayIndexOutOfBoundsException(fromIndex);             ArrayIndexOutOfBoundsException(fromIndex);
     if (toIndex > arrayLen)                                if (toIndex > arrayLen)
        throw new                                              throw new
ArrayIndexOutOfBoundsException(toIndex);               ArrayIndexOutOfBoundsException(toIndex);
   }                                                      }

        234.    The method’s name, parameter list, internal variables, and logic are identical in

Java and in Android.

        235.    It is true that rangeCheck is only nine lines long (excepting comments, which are
also substantially similar between the files) as originally printed, and Oracle’s arrays.java

comprises 3,180 lines of code. Nevertheless, rangeCheck is qualitatively significant to

arrays.java, as it is called nine times by other methods in the class.

        236.    The similarity between the two rangeCheck methods is notable for a number of

reasons. First, the order of the logic is identical. The method performs three separate checks

against the bounds of an array using an “if… then” pattern. Thus there are six possible orders in

which these checks could have occurred in the program logic. The order is identical in Java and

Android. Second, the names of the parameters and internal variables are the same in both Java




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and in Android. Third, the Java and Android versions have identical, inconsistent spacing.

There are spaces on either side of every “+” character, except the last, which has no spaces. I

note that rangeCheck was not included in Oracle’s public API specification for java.util.arrays.

(See http://download.oracle.com/javase/1.5.0/docs/api/java/util/Arrays.html.) This is expected

because rangeCheck is declared to be a “private” method.

       237.    I understand that the author of arrays.java, Josh Bloch, left Sun Microsystems and

now works for Google. Not only did Bloch, as an employee, have access to Sun Microsystems

code generally, but his name is listed in the source code of java.util.arrays.java as an author.

                              BEGIN GOOGLE CONFIDENTIAL
       238.    REDACTED




                               END GOOGLE CONFIDENTIAL
       239.    The fact that the specification for rangeCheck does not appear to have been

public, combined with the fact that the method’s author left Sun to work for Google, provides a

strong indication that, at the very least, the Android designers had access to Oracle’s copyrighted

works, brought copies with them, and derived code from them.

       240.    Much like the java.security source code described above, TimSort.java and

ComparableTimSort.java appear in the source code archives for the Samsung SGH-I897

“Captivate” and other handsets. For the same reasons discussed above, it thus seems quite likely

that these files, as distributed by Google, end up compiled on Android devices.




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         241.     In addition to the rangeCheck method discussed above, the source code for eight

Android programs appears to be nearly identical to decompiled Oracle class files.

         242.     A decompiler’s function is opposite that of a compiler. A compiler converts

human-readable source code into machine-executable object code. Source code files written in

the Java programming language (“.java” files) are compiled into binary files ending with the

suffix “.class”. A decompiler, on the other hand, generates source code from object code.

Compilation removes all explanatory prose from source code, as a computer cannot execute

comments. Thus, when an object code file is decompiled, the comments that were present in the
original source code are missing.

         243.     While decompilers for some programming languages generate source code that

bears little resemblance to the original source, Java decompilers can generate source code fairly

similar to the original input. This allows potential copiers who have access to a program’s object

code, but not its source code, to generate copies similar to the original program source. In this

case, the object code for the Java class libraries is available for download from Oracle’s website.

         244.     Software consultants from Johnson-Laird Inc. investigated whether there were

any files in Android that were obtained by decompiling Oracle object code. The consultants

used a decompiler called JAD on a binary version of the Java class libraries from JDK 5. The

consultants then used automated file comparison tools to search for similarities between the

decompiled Oracle class files (now ending with suffix “.jad”) and the Android source code. I

have reviewed their report, which describes their methodology and the results of their analysis.

The analysis indicated eight Android program files, listed in the table below, that bear significant

textual similarity to the corresponding decompiled Oracle class files.
            Decompiled Oracle Class File                           Corresponding Android File
/sun/security/provider/certpath/PolicyNodeImpl.class   /dalvik/libcore/support/src/test/java/org/apache/harm
                                                       ony/security/tests/support/cert/PolicyNodeImpl.java
/sun/security/acl/AclEntryImpl.class                   /dalvik/libcore/support/src/test/java/org/apache/harm
                                                       ony/security/tests/support/acl/AclEntryImpl.java
/sun/security/acl/AclImpl.class                        /dalvik/libcore/support/src/test/java/org/apache/harm
                                                       ony/security/tests/support/acl/AclImpl.java
/sun/security/acl/GroupImpl.class                      /dalvik/libcore/support/src/test/java/org/apache/harm
                                                       ony/security/tests/support/acl/GroupImpl.java




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            Decompiled Oracle Class File                        Corresponding Android File
/sun/security/acl/OwnerImpl.class                   /dalvik/libcore/support/src/test/java/org/apache/harm
                                                    ony/security/tests/support/acl/OwnerImpl.java
/sun/security/acl/PermissionImpl.class              /dalvik/libcore/support/src/test/java/org/apache/harm
                                                    ony/security/tests/support/acl/PermissionImpl.java
/sun/security/acl/PrincipalImpl.class               /dalvik/libcore/support/src/test/java/org/apache/harm
                                                    ony/security/tests/support/acl/PrincipalImpl.java
/sun/security/acl/AclEnumerator.class               /dalvik/libcore/support/src/test/java/org/apache/harm
                                                    ony/security/tests/support/acl/AclEnumerator.java

         245.     My own visual comparison of these files, detailed in Exhibits Copyright-J-Q,

shows that the similarity is striking. Indeed, once one adjusts for spacing, the files are nearly

identical on a line-by-line basis.

         246.     For example, the decompiled version of PolicyNodeImpl.class

(PolicyNodeImpl.jad) is 247 lines long, and the Android version of PolicyNodeImpl.java is 257

lines long. (See Exhibit Copyright-J.) Within these lines, the order of the methods is identical,

as is the method logic. Variable names are also largely identical, right down to the rather

unusual use of generic names such as “Set set1” and “boolean flag1.” A professional developer

might choose longer, more descriptive names. A decompiler, on the other hand, might create

such variable names as a rule. Thus the variable names constitute strong evidence of copying.

         247.     Excluding the boilerplate text at the beginning of each file, the biggest differences

between the two files are that (1) they are part of different packages and (2) the Java version uses

four “import” statements while the Android version uses one generic “import” statement. The

other differences are largely cosmetic: one file might omit a set of optional braces, while the

other might squeeze two lines of otherwise identical code into one.

         248.     It would be extraordinarily unlikely to implement a program this long that

exhibits this degree of similarity to another program without copying. The same generally holds

true for the rest of the files listed in the table above, documented at Exhibits Copyright-J-Q.

         249.     Two Android files contain comments that are nearly identical to comments in

corresponding Java files, as shown in the table below and at Exhibits Copyright R-S. As noted

above, comments, unlike other portions of code, are not executed by the computer. Because they

are not “functional,” comments represent one of the most expressive elements of a computer



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program. The decision to include particular comments is generally an intentional one rather than

a product of external constraint.
                   Oracle Java File                                  Corresponding Android File
/java/security/CodeSource.java                           /dalvik/libcore/security/src/test/java/org/apache/harm
                                                         ony/security/tests/java/security/CodeSourceTest.java
/java/security/cert/CollectionCertStoreParameters.java   /dalvik/libcore/security/src/test/java/tests/security/cert
                                                         /CollectionCertStoreParametersTest.java

        250.     As shown in Exhibits Copyright-R and S, Android does not place the entire block

of comments from a file in one area; rather, it spreads them across multiple lines of code. This

makes copying more difficult to detect. Within each area of similarity, however, the only

difference in the left and right columns in the Exhibit is tags that provide HTML formatting in

the Java version.

        251.     The developers of Android files CodeSourceTest.java and

CollectionCertStoreParametersTest.java apparently extracted the comments either from Oracle’s

code or from Oracle’s API specifications for these classes. The comments appear to be used in

explaining how Android’s testing code tests the functionality of Android’s implementation of the

java.security API.

        252.     I conclude, based on my understanding of copyright law, that Google has

distributed programs that copy original expression from Oracle’s copyrighted Java source code

and thus derive from Oracle’s work. Moreover, I conclude that, to the extent that this code ends

up on Android devices, Google encourages device makers, developers, and end users to further

reproduce and distribute Oracle’s copyrighted materials. Because it would have been effectively

impossible for someone to see Oracle’s code without seeing the copyright notice on it, it is

reasonable to conclude that any copying on Google’s part was willful.




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VI.    COPYRIGHTED FEATURES FORM BASIS FOR CUSTOMER DEMAND FOR
       ANDROID
       253.    Sun Microsystems’s (now Oracle’s) copyrighted features, including the Java

library API and portions of the source code implementing the library (discussed in my report),

form a basis for consumer demand. In particular, customer demand for Android devices is

driven by the availability of a wide range of appealing applications (“apps”) to consumers, which

is what Android Market is today. (Of course, Google developed its own set of Android

applications such as Gmail and Google Maps. (See, e.g., 7/12/2011 Morrill Dep. 38:9-39:7.) In
order to provide these applications to Android device users, Google must attract developers to

build such applications for Android in the first place.

       254.    The Java API attracts developers because it is well known and familiar to them.

By incorporating the Java API, Google Android leverages the Java API to draw on the extensive

community of experienced Java application developers and attract developers to the Android

platform. Google also used Java to attract carriers and OEMS, as described below.

       255.    In adopting Java, Google took steps to maintain and provide developers with the

core Java library that form the basis for Oracle’s copyright infringement claim against Google as

detailed above.

                       BEGIN GOOGLE ATTORNEYS’ EYES ONLY

       A.      REDACTED




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REDACTED




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REDACTED




                         END GOOGLE ATTORNEYS’ EYES ONLY


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       C.      Google Made Sun Microsystems’s (now Oracle’s) Copyrighted Features
               Necessary to Android
       268.    In adopting Java, Google took steps to maintain and provide developers with the

core Java library that form the basis for Oracle’s copyright infringement claim against Google as

detailed in my report.

       269.    According to the Android Developer website

(http://developer.android.com/guide/basics/what-is-android.html), “Android includes a set of

core libraries that provides most of the functionality available in the core libraries of the Java

programming language.”

       270.    These libraries are not only provided by Google to Android developers, but

Google also mandates them on Android devices as set out in Google’s Compatibility Definition

Document. See, e.g., Google’s Android 2.2 to Compatibility Definition Document, available at

http://source.android.com/compatibility/downloads.html:

“3.1. Managed API Compatibility
The managed (Dalvik-based) execution environment is the primary vehicle for Android
applications. The Android application programming interface (API) is the set of Android
platform interfaces exposed to applications running in the managed VM environment.
Device implementations MUST provide complete implementations, including all
documented behaviors, of any documented API exposed by the Android 2.1 SDK
[Resources, 4].

Device implementations MUST NOT omit any managed APIs, alter API interfaces or
signatures, deviate from the documented behavior, or include no-ops, except where
specifically allowed by this Compatibility Definition.”

       271.    Not only does Google mandate the core libraries, but Google prohibits

modifications as elaborated further in Google’s Compatibility Definition Document:

“Android follows the package and class namespace conventions defined by the Java
programming language. To ensure compatibility with third-party applications, device
implementers MUST NOT make any prohibited modifications (see below) to these
package namespaces:
• java.*
• javax.*
• sun.*
• android.*
• com.android.*




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Prohibited modifications include:

Device implementations MUST NOT modify the publicly exposed APIs on the Android
platform by changing any method or class signatures, or by removing classes or class
fields.

Device implementers MAY modify the underlying implementation of the APIs, but such
modifications MUST NOT impact the stated behavior and Java-language signature of any
publicly exposed APIs.

Device implementers MUST NOT add any publicly exposed elements (such as classes or
interfaces, or fields or methods to existing classes or interfaces) to the APIs above.”

       272.    In other words, Google affirmatively chose to make the Java core libraries –

which serve as the basis for Oracle’s copyright claim against Google – core to Android,

mandated device implementers to provide the same core libraries on Android devices, and

prohibited device implementers from modifying the same.

       273.    From the technical perspective, Google chose to mandate the features that are the

subject of the copyrighted works asserted Oracle has asserted against Google in this lawsuit.

       D.      Conclusion
       274.    Below is a simplified structure of the information discussed above in relation to

Oracle’s asserted copyrighted works:

Google targeted the mobile industry to increase its ad revenues and acquired Android,
Inc. that produced Android

Google increases its ad revenues by having more consumers drawn to its Android mobile
platform

What draws consumers is a wide range of appealing applications

The availability of applications requires application developers to build them

What has drawn application developers to Android rapidly is a familiar development
environment that provides an ecosystem of tools and support

Java (including the copyrighted works asserted in this lawsuit) has drawn an extensive
application developer community and already has an established rich ecosystem

Google adopted the Java copyrighted works at issue, such as the Java APIs, in Android to
leverage Java’s extensive application development community and rich ecosystem




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VII.    CONCLUSION
        275.    Based on my investigation, I have reached the following conclusions and will

testify as to each.

        276.    The Java API specifications contain copyrightable expression.

        277.    Portions of the Android API specifications are substantially similar to the Java

API specifications; the Android source code that implements the Android specifications contains

these same elements; and other Android source code is substantially similar to Oracle’s

copyrighted source code or to decompiled Oracle object code.

        278.    The copyrighted features discussed in my report form a basis for customer

demand for Android. Therefore, Android’s success is in part due to the copyrighted works

asserted in this case.



Dated: July 29, 2011
                                                               John C. Mitchell




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                                    Curriculum Vitae
                                  John Clifford Mitchell
                                        January 11, 2011



General Research Interests

     Computer security: access control, network protocols, privacy, software systems, and
     web security. Programming languages, type systems, object systems, and formal meth-
     ods. Applications of mathematical logic to computer science

Personal

     Born December 20, 1955 in Palo Alto, CA.
     U.S. citizen, married, two children.

Address

Home 845 Esplanada Way
    Stanford, CA 94305

Office Department of Computer Science
      Stanford University
      Stanford, CA 94305-9045
      (415) 723-8634

Net mitchell@cs.stanford.edu    http://www.stanford.edu/˜jcm/

Education

Ph.D. Computer Science, MIT, August, 1984. Thesis title: Lambda Calculus Models of Typed
     Programming Languages. Supervisor: A.R. Meyer.

S.M. Computer Science, MIT, January, 1982. Thesis title: Axiomatic Definability and Complete-
     ness for Recursive Programs. Supervisor: A.R. Meyer. Entered MIT September, 1980.

B.S. Mathematics with Distinction, Stanford University, June, 1978. Transferred September, 1976
     from University of Wisconsin, Madison.

Research and Teaching Positions

Present position:
     Mary and Gordon Crary Family Professor in the School of Engineering,
     Professor of Computer Science and (by courtesy) Electrical Engineering, Stanford University.
     Associate Professor, 1990 – 1997, Assistant Professor, 1988 – 1990.

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July–December, 1995:
     Visiting Scientist and Program Co-organizer, Semantics of Computation, Newton Institute
     for Mathematical Sciences, Cambridge University.

September, 1984 to January, 1988 and Summer, 1983:
     Member Technical Staff, Computing Science Research Center, AT&T Bell Laboratories.

Spring 1986:
     Adjunct Assistant Professor, Dept. of Computer Science, New York University.

June, 1978 to August, 1980 and Summers 1976, 1977:
     Research Engineer, University of Wisconsin Solar Energy Laboratory.

Consulting and Commercial Activities

PACid Group, LLC v. Apple, Inc. et. al./Fish & Richardson:
    Technical expert for patent suit, June 2009 – September 2010, on behalf of defendants Intel,
    Marvell, Broadcom, and Atheros.

Network Appliance, Inc. v. Sun Microsystems, Inc./Weil, Gotshal & Manges:
     Technical expert for patent suit, September 2009 – September 2010. Expert report and
     deposition.

Freyburger LLC v. Microsoft Corp/Weil, Gotshal & Manges:
     Technical expert for patent suit, August 2009 – January 2010. Expert report.

Symbol Technologies and Wireless Valley Communications v. Aruba/Weil, Gotshal & Manges:
    Technical expert for patent suit, June – October, 2009.

Cenzic, Inc.
     Strategic Advisory Board, June 2008 – present.

Microsoft, Inc.
     Technical security review of inter-frame messaging for Windows Live, March – May, 2008.

Trend v. Barracuda Networks/ McDermott Will & Emery:
     Technical expert for patent suit, August 2007 – October 2008. Opening, rebuttal, and sup-
     plemental reports; deposition.

NovaShield, Inc.
    Technical Advisory Board, January, 2007 – present.

Visto v. Microsoft/Manatt Phelps & Philips:
      Technical expert for patent suit, June 2006 – February 2008. Opening, rebuttal, and supple-
      mental reports; deposition.

Coverity, Inc.
     Research and development consultant; technical advisor, October 2005 – June 2007.

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PassMark Security, Inc.
     Technical Advisory Board, October 2005 – May 2006 (acquired by RSA).

Southeast Texas Medical Associates v. Verisign, Inc/Arnold & Porter:
     Technical expert for class-action suit, October 2005 – August 2007. Technical study and
     declaration.

Wi-Fi Alliance
     Simple Configuration Security Review (wireless pairing and configuration of wireless network-
     ing devices), Sept – Dec, 2005.

Soverain Software v. Amazon.com and The Gap, Inc./Klarquist Sparkman:
     Technical expert for patent suit, April – August 2005.

BTG v. Microsoft/Preston Gates Ellis:
    Technical expert for patent suit, February – August 2005. Presented Markman hearing tuto-
    rial.

Trend Micro v. Fortinet/McDermott Will & Emery:
     Technical expert, patent investigation filed with International Trade Commission,
     July 2004 – January 2006. Reports, deposition, and over 20 hours of testimony during 8 days
     of hearings.

Workshare/Coudert Brothers:
    Study related to software and user interface copyright, Dec 2003 – Feb 2004.

Token-based authentication/Heller Ehrman White & McAuliffe/Dovell and Luner:
     Technical expert for patent suit, Aug – Dec 2003. Expert report.

Network Caching Technology v. Novell . . . /Jones, Day, Reavis & Pogue:
     Technical expert for patent suit, Apr 2002 – Sept 2003. Declarations.

Jupiter Media Metrix v. Nielsen Netratings/Brobeck Phleger & Harrison:
      Technical expert for patent suit, Feb – May 2002.

InterTrust v. Microsoft/Klarquist Sparkman:
      Technical expert for patent suit, Jan 2002 – April 2004. Report and deposition.

Indivos v. Biometric Access Corporation/Brobeck Phleger & Harrison:
      Technical expert for patent suit, Jan – July 2002. Report and deposition.

Flyswat v. Third Voice/Heller Ehrman White & McAuliffe:
     Technical expert for patent dispute, Sept – Oct 2000.

Blue Mountain Arts v. Lucidity/Mitchell Silberberg & Knupp:
     Technical expert for contract dispute, June – Sept 2000.

Xerox PARC: Research on trust management, June – Oct 2000.


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Trend Micro v. Network Associates/Townsend and Townsend and Crew:
     Technical expert for patent suit. Reports, deposition, and testimony at jury trial. Sept 1999
     – May 2000.

Kestrel Institute: Research on principles of computer security, logical methods for protocol anal-
     ysis, Feb 1999 – June 2006.

Airtouch Corporation: Mathematical analysis of accounting methods related to international tax
     law, Dec 1997 – Aug 1998.

Neuron Data/Brobeck, Phleger & Harrison:      Software copyright and contract dispute, October 1996
     – January 1997.

Pure Software/Brobeck, Phleger & Harrison: Software patent cases, copyrights, contract disputes;
     July, 1994, January–March 1995 and June–August 1996.

Interval Research:   Scripting languages for Internet applications, May-June 1995.

Kestrel Institute: Specification language and type/module system for prototyping language. Febru-
     ary – May, 1992.

Hewlett-Packard Labs: ABEL project to develop typed, object-oriented programming language
     and methodology. May, 1988 – May, 1990.

Research Contracts, Grants and Awards

DARPA TYped languages for Programming on Encrypted Data (TYPED), J Mitchell (PI), D
   Boneh.

DHHS Strategic health IT Advanced Research Projects on Security (SHARPS), April 2010 – March
   2014. Chief Computer Scientist.

ONR MURI Botnet Attribution and Removal: From Axioms to Theory to Practice, July 2009 –
    May 2012. Georgia Tech: Wenke Lee (PI), Nick Feamster, Jon Giffin, David Dagon; Michigan:
    Kang Shin, Farnam Jahanian, Michael Bailey; Stanford: John Mitchell; UC Santa Barbara:
    Giovanni Vigna, Christopher Kruegel.

ONR Web Security and Mashups, March 2009 – Sept 2011. J. Mitchell (PI).

NSF Collaborative Research: CT-M: Privacy, Compliance and Information Risk in Complex Or-
    ganizational Processes, Sept 2008 – Aug 2011. Anupam Datta (PI), John Mitchell (co-PI),
    Helen Nissenbaum (co-PI), Andre Scedrov (co-PI).

AFOSR MURI Collaborative policies and assured information sharing, June 2008 – May 2011.
    Dan Boneh (co-PI), Anupam Datta (co-PI), Joseph Hellerstein (co-PI), John Mitchell (PI),
    Helen Nissenbaum (co-PI), Tim Roughgarden (co-PI), Andre Scedrov (co-PI), Hovav Shacham
    (co-PI), Vitaly Shmatikov (co-PI), Dawn Song (co-PI), Brent Waters (consultant).


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   June 2006–March 2008. Patrick Lincoln (SRI, PI), John Mitchell (co-PI).

Dept Homeland Security SpoofGuard Anti-Phishing Technologies, 2005-2007. Dan Boneh (PI), J.
     Mitchell (co-PI).

NSF Science and Technology Center Team for Research in Ubiquitous Secure Technology (TRUST),
    2005–2010 (with possible extension to 2015). Shankar Sastry (UC Berkeley, PI), John C.
    Mitchell (co-PI), Michael Reiter (CMU, co-PI), Janos Sztipanovits (Vanderbilt, co-PI), and
    Steven Wicker (Cornell, co-PI).

Dept Homeland Security System for Internet Relay Chat Underground Information Tracking (SIR-
     CUIT), 2004–2005. John C. Mitchell (PI).

NSF Cybertrust Program Collaborative Research: High-Fidelity Methods for Security Protocols,
    2004–2007. John C. Mitchell (PI), Danielle Micciancio (UCSD), Andre Scedrov (U Penn),
    Vitaly Shmatikov (U Texas).

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    tion for Diffuse Computing (TIME DC), 2004–2006. Joan Feigenbaum (Yale), Joseph Y.
    Halpern (Cornell), Patrick D. Lincoln (SRI), John C. Mitchell (Stanford), Andre Scedrov (U
    Penn, PI), Steve Zdancewicz (U Penn).

NSF Large ITR to Stanford University Sensitive Information in a Wired World, 2003–2008. Dan
    Boneh (Stanford, PI), Joan Feigenbaum (Yale), Stephanie Forrest (Univ. New Mexico), Ravi
    Kannan (Yale), Hector Garcia-Molina (Stanford), John Mitchell (Stanford), Rajeev Motwani
    (Stanford), Helen Nissenbaum (NYU), Avi Silberschatz (Yale), Rebecca Wright (Stevens
    Institute).

NSF Medium ITR to Brigham Young University Automated Trust Negotiation in Open Systems,
    Fall 2003. Ninghui Li (Purdue), John Mitchell (Stanford), Kent Seamons (Brigham Young
    Univ., PI), Brian Tung (Univ. Southern California), William Winsborough (Network Asso-
    ciates Laboratories), Marianne Winslett (Univ. Illinois).

DARPA/AFOSR MURI to Univ Illinois, Cooperative Control of Dynamical Mobile Agents via
   Network Protocols, 2002–2005. Geir Dullerud (ME, UIUC, PI). Co-PIs: Jinane Abounadi
   (EECS, MIT), Francesco Bullo (Engr, UIUC), Eric Feron (Aero and Astro, MIT), Emilio
   Frazzoli (Aero and Astro, UIUC), P.R. Kumar (ECE, UIUC), Sanjay Lall (Aero and Astro,
   Stanford), Daniel Liberzon (ECE, UIUC), Nancy A. Lynch (EECS, MIT), John C. Mitchell
   (CS, Stanford), Sanjoy K. Mitter (EECS, MIT), Eytan Modiano (Aero and Astro, MIT),
   Bruce Reznick (Math, UIUC), Mahesh Viswanathan, (CS, UIUC).

NSF Information Technology Research (ITR), 2001-2006. Computational Logic Tools for Research
    and Education. David Dill (Stanford, PI), Zohar Manna (Stanford), John Mitchell (Stanford).

ONR URI Program Software Quality and Infrastructure Protection for Diffuse Computing, 2001-
    2004 and continuation 2004-2006. Joan Feigenbaum (Yale), Joseph Y. Halpern (Cornell),

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     Patrick D. Lincoln (SRI), John C. Mitchell (Stanford), Andre Scedrov (U Penn, PI), Jonathan
     M. Smith (U Penn).

DARPA99-33-034 Agile Management of Dynamic Collaboration, 2000-03. J. Mitchell (Principal
   Investigator), P.Lincoln (SRI, Co-PI), M. Baker (Stanford), D.Dill (Stanford), L. Gong (Java-
   Soft).

DERA, 1999-2000. Instrumentation and Checking Techniques Applied to Jini. J. Mitchell, Prin-
   cipal Investigator.

NSF-JAPAN Award, 1999-2002. Andre Scedrov, Principal Investigator.

DERA, 1998-1999. Instrumentation and Checking of Mobile Code. J. Mitchell, Principal Investi-
   gator.

ONR MURI Award Semantic Consistency in Information Exchange, 1997-2000 and continuation
    2000-02. J. Mitchell (Principal Investigator), S. Kannan, I. Lee and A. Scedrov (Univ. Penn-
    sylvania), R. Rubinfeld (Cornell), P. Lincoln (SRI), C. Dwork (IBM).

NSF Grant CCR-9629754 Object Systems: Programming Languages and Software Security, 1996-
    99. J. Mitchell, Principal Investigator.

TRW Foundation Grant to study programming languages and system design languages, 1994. J.
   Mitchell, Principal Investigator.

NSF Grant Programming Language Analysis and Design, 1993-96. J. Mitchell, Principal Investi-
    gator.

NSF Presidential Young Investigator Award, 1988-93. Industrial funding provided by AT&T, Dig-
    ital Equipment Corporation, Mitsubishi Corporation, the Powell Foundation and Xerox Cor-
    poration.

DARPA/ISTO BAA 89-08 Project to develop Common Prototyping Language and design accom-
   panying Common Prototyping System, 1989–90 and continuations through 1995. Principal
   investigators: David Luckham (Stanford) and Frank Belz (TRW).

NSF grant Research in Programming Language Structures: Types and Concurrency, 1989-91. J.
    Mitchell and V. Pratt, Principal Investigators.

NSF-INRIA grant for US-France collaboration, 1989-91. Val Breazu-Tannen, Carl Gunter princi-
    pal investigators. Principal INRIA contacts: Gérard Huet (Paris) and Gilles Kahn (Sophia-
    Antipolis).

CNR (Italy) grant for Stanford-Italy collaboration, 1989-91. J. Barwise, S. Feferman, J. Mitchell
    (Stanford), M. Dezani (Turin), G. Longo (Pisa) principal investigators.

Honors and Awards



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     Dean’s Award for Industry Education Innovation, 2009.
     Fellow of the Association for Computing Machinery, elected 2008.
     Computerworld New Horizons Award, 2006.
     The Mary and Gordon Crary Family Professorship (2004–present),
     Director’s Award, U.S. Secret Service (2003),
     Wallace F. and Lucille M. Davis Faculty Scholar (1989–91),
     NSF Presidential Young Investigator Award (1988–93),
     IBM Graduate Fellowship (1983–84),
     NSF Graduate Fellowship (1980–83),
     Graduation with Distinction (Stanford 1978),
     Juliet Knopp Lockwood Honors Scholarship (Stanford 1977),
     Invitation to H ∗ honors mathematics program (U.W. 1975).

Professional Activities

Service to Professional Organizations:
      ACM–Infosys Award, Selection Committee, 2007 – 2010,
      Max Planck Institute for Software Systems, Advisory Board, 2008(?) – present
      Computing Community Consortium, Council member, 2011 – present,
      IFIP Technical Committee TC1, Foundations of Computer Science, 2004 – 2010,
      NSF National Cyber-Physical Systems Virtual Organization (CPS-VO), Academic Executive
      Board, 2010 – present.

Series Editor:
      Electronic Notes in Theoretical Computer Science, 1995 – 2000,
      Springer Lecture Notes in Computer Science, 2004 – present.
      Information Security and Cryptography (Book series, Springer-Verlag) 2007 – present.

Journal Advisory Board:
     J. of Privacy and Confidentiality, 2006 – present.


Editor-in-Chief: Journal of Computer Security, 2010 – present.


Journal Editorial Boards:
     ACM Trans. Computational Logic, 2003 – present,
     ACM Trans. Programming Languages and Systems (TOPLAS), 1993 – 1996,
     ACM Transactions on Information and System Security (TISSEC), 2006 – present,
     Chicago J. Theoretical Computer Science, 1994 – 2000,
     Information and Computation, 1987 – 2000,
     J. Assoc. Computing Machinery (JACM), 1995 – 2000,
     J. Computer Security, 2000 – present,
     J. Functional Programming, 1989 – 2010,
     Mathematical Structures in Computer Science, 1989 – 2000,

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     SIAM J. Computing, 1998 – 2004,
     Theory and Practice of Object Systems, 1994 – 2000.

Special Issue Editor:
      Info. and Computation: 1990 IEEE Logic in Comp. Sci. Conference.

Conference General Chair:
     IEEE Symp. on Logic in Computer Science, 1998-2001. Organizing committee chair - re-
     sponsible for program committees and scientific direction of conference.

Conference Organizing Committees:
     ACM Conference on Computer Security (CCS), 2011 – present,
     IEEE Symp. on Logic in Computer Science, 1990 – present,
     Category Theory and Computer Science, 1990 – 1996.
     Third Symp. Theor. Aspects of Computer Software (Advisory Committee) 1997.
     Foundations of Computer Security, 2002 – present. Founder and Organizing Committee
     Chair, 2002 – 2004.
     IEEE Symp. on Computer Security Foundations, 2008 – present.

Conference Program Chair:
     IEEE Symp. on Logic in Computer Science, 1990,
     Second Symp. on Theoretical Aspects of Computer Software, Sendai, Japan, 1994 (co-chair),
     Advances in Types Systems for Computing, Newton Institute, Cambridge, 1995,
     ACM Symp. on Principles of Programming Languages, Portland Oregon, 2002,
     IFIP Symp. on Theoretical Computer Science (TCS 2004), Track B, Toulouse France, 2004.
     Formal Methods in Security Engineering (FMSE), 2005.
     Joint iTrust and PST conf. on Privacy, Trust Management, and Security (IFIPTM 2008)
     IEEE Symp. Computer Security Foundations (CSF), 2009.

Conference Program Committees:
     ACM Conf. Functional Programming and Computer Architecture (FPCA), 1989 and 1995.
     ACM Conf. on Object-Oriented Programming (OOPSLA), 1988, 1992 and 1995.
     ACM Symp. Computer and Communication Security (CCS), 2004, 2005, 2006, 2007, 2008.
     ACM Symp. Principles of Programming Languages (POPL), 1989, 1991, 2000, and 2002.
     ACM Workshop on Formal Methods in Security Engineering (FMSE), 2004.
     ACM Workshop on ML, 1992.
     ACM SIGPLAN Workshop on Programming Languages and Analysis for Security (PLAS),
     2010, Annual Asian Computing Science Conference (Asian’06), 2006.
     Association for Symbolic Logic Annual Meeting, 2005.
     Category Theory and Computer Science (CTCS), 1991, 1993, 1995 and 1997.
     Conference on Automated Deduction (CADE), 2003.
     Conference on Automated Verification (CAV), 2000.
     Conference on Concurrency Theory (CONCUR), 2005.
     Conference on Deontic Logic in Computer Science (DEON), 2008.
     Conference on Detection of Intrusions and Malware & Vulnerability Assessment (DIMVA),


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     2008.
     Conference on Email and Anti-Spam (CEAS), 2005.
     Conference on Security and Cryptography for Networks (SCN), 2010,
     European Symposium On Programming (ESOP), 2002, 2003, 2007.
     European Symposium On Research In Computer Security (ESORICS), 2000, 2009, 2010,
     Foundations of Object-Oriented Languages (FOOL), 1995, 1996, 1997, 2005.
     Foundations of Software Technology and Theoretical Computer Science (FSTTCS), 2003.
     Fundamentals of Computation Theory (FCT), 1999.
     ICST Conference on Security and Privacy in Communication Networks (SecureComm), 2009.
     Information Security Conference (ISC), 2009.
     Int’l Colloquium on Automata, Languages, and Programming (ICALP), 2006 (Track C).
     Int’l Conference on Availability, Reliability and Security (ARES), 2008,
     IEEE Computer Security Foundations Workshop (CSFW), 1999, 2002, 2004, 2005, 2006.
     IEEE Symposium on Computer Security Foundations (CSF), 2007, 2008, 2009.
     IEEE Symp. on Foundations of Computer Science (FOCS), 1988 and 1991.
     IEEE Symp. on Logic in Computer Science (LICS), 1986, 1988, 1990, 1996, 2008, 2010.
     IEEE Symp. on Security and Privacy, 1999, 2004, 2009.
     IFIP International Conference on Theoretical Computer Science (TCS), 2002 and 2004.
     Mathematical Foundations of Programming Language Semantics (MFPS), 1991, 1993, 1995.
     Public Key Infrastructure (PKI R&D), 2005.
     Techniques of Object-Oriented Languages and Systems (TOOLS), 1992 and 1993.
     Theory of Cryptography Conference (TCC), 2006.
     Typed Lambda Calculi and Applications (TLCA), 1993.
     Web 2.0 Security and Privacy (W2SP), 2007, 2008, 2009.
     Workshop on Advances in Policy Enforcement, 2008.
     Workshop on Formal Methods and Computer Security (FMCS), 2000.
     Workshop on Foundations of Computer Security (FCS), 2003, 2005.
     Workshop on Foundations of Global Computing (FGC), 2003.
     Workshop on Issues in the Theory of Security (WITS), 2005, 2010.
     Workshop on Logic, Language Information, and Computation (WoLLIC), 2007.

Workshop and Program Organization:

   • DIMACS Workshop on Security Protocols, June 7–9, 2004. Co-organizer with R. Canetti
     (IBM).

   • Workshop on Programming Languages and Security, DEC Systems Research Center, Oct 30-
     31, 1997. With M. Abadi (DEC, principal organizer), B. Bershad (U. Washington), E. Felton
     (Princeton), L. Gong (JavaSoft).

   • Working group on Software Engineering and Programming Languages, CRA Meeting on
     Strategic Directions in Computing, on the occasion of the 50th anniversary of the ACM.
     Boston, June 14–15, 1996.



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     Report: Gunter, C., Mitchell, J.C. and Notkin, D., Strategic Directions in Software Engi-
     neering and Programming Languages, ACM Computing Surveys, Vol 28A, No 4, December
     1996.

   • Workshop on Software Engineering and Programming Languages, sponsored by ARO and
     NSF, Boston, June 12–13, 1996. Co-organizer and program co-chair (with D. Notkin).

   • Co-Organizer and meeting chair, ARPA-NSF workshop on Foundational Studies for Software
     Engineering, Stanford, Sept 6–7, 1995.

   • Co-organizer, with S. Abramsky (Imperial), G. Kahn (INRIA) and A. Pitts (Cambridge),
     “Programme on Semantics of Computation,” Isaac Newton Institute of Mathematical Sci-
     ences, University of Cambridge, U.K., July–December, 1995. This six-month program on
     involved approximately 65 visitors from North America, Europe and Japan, as well as hun-
     dreds of short-term participants in 10 special conferences and workshops at the Institute.

   • Founder and initial organizer, Foundations of Object-Oriented Languages (FOOL), annual
     workshop since 1993.

   • Co-organizer, with D. Liddle (Interval), Stanford Workshop on Software Engineering, Sept
     12–13, 1993.

   • A founding organizer of “North-American Jumelage,” annual workshop on programming lan-
     guage theory and logic in computer science, 1990–1995. Hosted first meeting at Stanford,
     1990.




Column: Sigact News Logic Column, 1991 – 1997.

Regular Published Reviews:
     Mathematical Reviews, Amer. Math. Society, 1989 – 1993
     Zentralblatt für Mathematik/Mathematical Abstracts, Springer-Verlag, 1990 – 1993.

Member: IFIP Technical Committee TC1, IFIP Working Group 1.7, Foundations of Security Anal-
    ysis and Design (Invited Charter Member), Assoc. Computing Machinery, Assoc. Symbolic
    Logic, European Assoc. for Theoretical Computer Science. Former member of IFIP Working
    Group 2.8, Functional Programming (Invited Charter Member).

Invited Lectures

  1. Distinguished Lecture, Department of Computer Science, University of Wisconsin, April 2010.

  2. Kanellakis Lecture (Departmental Distinguished Lecture), Brown University, December 2009.

  3. Computational and Symbolic Proofs of Security, Spring School and French-Japanese collab-
     oration workshop, April 2009.

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 4. Usenix Security Symposium, July 2008.

 5. Brainstorms, a quarterly Stanford lecture series for the general public, Autumn 2007.

 6. Marktoberdorf Summer School, 2007.

 7. Mathematical Foundations of Program Semantics (MFPS), New Orleans, April, 2007.

 8. Asian 2006, Tokyo, December, 2006.

 9. Logic and Computational Complexity (LCC), Seattle, August, 2006.

10. International Colloquium on Automata, Languages and Programming (ICALP), Lisbon, July,
    2005. First year of Track C: Security and Cryptography Foundations.

11. Second Workshop on Automated Reasoning for Security Protocol Analysis (ARSPA), Lisbon,
    July, 2005.

12. TCS Excellence in Computer Science Week (TECS Week), Pune, India, January 4–8, 2005.
    Series of lectures on security analysis of network protocols.

13. ACM Workshop on Formal Methods in Security Engineering (FMSE), Washington D.C.,
    October, 2004.

14. Usenix Security Symposium, San Francisco, August, 2002.

15. Rewriting Techniques and Applications (RTA), Copenhagen, July, 2002.

16. Mathematical Foundations of Programming Semantics (MFPS), New Orleans, March, 2002.

17. IEEE Symp. Logic in Computer Science (LICS), Boston, June 2001.

18. European Symposium on Programming (ESOP), Genoa, Italy, April 2001.

19. Association for Symbolic Logic (ASL) Annual Meeting, Philadelphia, March 2001.

20. ACM Symp. Principles of Programming Languages (POPL), London, U.K., January 2001.

21. Computer Science Logic (CSL ’98), Brno (Czech Republic), August 24-28, 1998.

22. Marktoberdorf Summer School, 1998. Five lectures on security, network protocols and formal
    methods.

23. Conference on Computer-Aided Verification (CAV ’98), June 28 - July 2, 1998, Vancouver,
    British Columbia.

24. Seventh CSLI Workshop on Logic, Language and Computation, May 29 - 31, 1998, Stanford
    University.

25. Linear ’98, CIRM Luminy, Marseille, April 6–9, 1998.


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26. ACM Workshop on Functional and Object-oriented Programming, July 2-7, 1997, Jadwisin
    (Poland)

27. Marktoberdorf Summer School, 1996. Four lectures on type systems and object-oriented
    programming.

28. Linear ’96, Tokyo, Japan. March 28–April 2, 1996. Lecture series on Decision and Optimiza-
    tion Problems in Linear Logic, with P. Lincoln and A. Scedrov.

29. Workshops and conferences associated with Isaac Newton Institute special program on Se-
    mantics of Computation:

    (a) Themes in the Semantics of Computation (org. S. Abramsky), July 17–21, 1995.
    (b) Linear Logic and Applications (org. G. Bierman), Oct 16–18, 1995.
     (c) Higher-order Techniques in Operational Semantics (org. A. Gordon) Oct 28-30, 1995.
    (d) Games, Processes and Logic (org. S. Abramsky), Nov 6–10, 1995.

30. Fundamentals of Computation Theory (FCT’95) Dresden, Germany, August 22–25, 1995.

31. EATCS Summer School on Typed Lambda Calculus and Functional Programming, Udine,
    Italy, September 20–30, 1994.

32. Second Symp. Theoretical Aspects of Computer Software, Sendai, Japan, April 18–21, 1994.

33. Invited tutorial, Techniques for Object-Oriented Languages and Systems (TOOLS) Confer-
    ence, Santa Barbara. August, 1992.

34. Second Montreal Workshop on Programming Language Theory, Montreal, Quebec. Decem-
    ber, 1991.

35. Sixth Workshop on Mathematical Foundations of Programming Semantics, Kingston, On-
    tario. May, 1990.

36. Japan Society for Software Science and Technology Annual Workshop on Object-Oriented
    Programming, Hakone, Japan, March, 1990.

37. MSRI Workshop on Logic from Computer Science, Berkeley, Nov., 1989.

38. Summer Conference on Category Theory and Computer Science (third biennial conference),
    Manchester, U.K., Sept., 1989.

39. IBM Distinguished Lecture Series on Semantics, April, 1989.

40. Special session on the semantics of inheritance, Fifth Workshop on Mathematical Foundations
    of Programming Semantics, New Orleans, March, 1989.

41. Annual Meeting of the Assoc. for Symbolic Logic, Los Angeles CA, January, 1989.



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 42. Logic Colloquium ’88, Int’l meeting of the Assoc. for Symbolic Logic, Padova Italy, August,
     1988.

 43. CMU Workshop on the Semantics of Lambda Calculus and Category Theory, April, 1988.

 44. Institute on Logical Foundations of Functional Programming, Univ. Texas Year of Program-
     ming, June, 1987. Organizer: G. Huet.

 45. Institute on Encapsulation, Modularization and Reusability, Univ. Texas Year of Program-
     ming, April, 1987. Organizer: D. Gries.

 46. Mid-Atlantic Mathematical Logic Seminar, Philadelphia, PA, February, 1987.

Selected Panels

  1. Computer Security Foundations Symposium: the Next 20 Years, CSF 2007, Venice, 2007.

  2. International Association of Privacy Professionals (IAPP) Privacy Summit, 2004.

  3. Mobicom ’03, Panel on Computer Security, September 2003.

  4. KQED Forum (radio program) with host Michael Krasny, Computer Security, September 9,
     2003, with guests Joe Anastasi (Deloitte and Touche), Lee Tien (Electronic Frontier Founda-
     tion), Doug Howard (Counterpane Internet Security), Robert Rodriguez (US Secret Service).
     Interviewed in 2004 for NPR Morning Edition.

  5. Invited panelist, Workshop on Challenges for Theoretical Computer Science (Organizers:
     David Johnson, Christos Papadimitriou, Avi Wigderson, Mihalis Yannakakis), Portland, OR,
     May 20, 2000.

  6. Panelist, Software Engineering and Programming Languages, Sigsoft ’96, ACM Symposium
     on Foundations of Software Engineering, 1996.

Publications


Books

  1. J.C. Mitchell, Concepts in Programming Languages, Cambridge University Press, 2002, 529
     pages.

  2. J.C. Mitchell, Foundations for Programming Languages, MIT Press, 1996, 846 pages.

  3. C.A. Gunter and J.C. Mitchell (eds.), Theoretical Aspects of Object-Oriented Programming,
     MIT Press, 1994, 548 pages.

Invited contributions to books


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 1. A. Roy, A. Datta, A. Derek, J.C. Mitchell, and J-P Seifert, Secrecy Analysis in Protocol Com-
    position Logic. In Formal Logical Methods for System Security and Correctness, IOS Press,
    2008, in press. (Based on presentations at Summer School 2007, Formal Logical Methods for
    System Security and Correctness, Marktoberdorf, Germany.)

 2. A. Datta, A. Derrick, J.C. Mitchell and A. Roy, Protocol composition logic (PCL), in Com-
    putation, Meaning and Logic: Articles dedicated to Gordon Plotkin, ed. L. Cardelli, M. Fiore
    and G. Winskel, Electronic Notes in Theoretical Computer Science, 2007.

 3. Phishing and Countermeasures, by M. Jacobsson and S. Myers, Wiley, 2007. Contributed
    Chapter 12, ”Protecting browser state.” Joint work with Collin Jackson, Andrew Bortz, and
    Dan Boneh.

 4. N.A. Durgin and J.C. Mitchell, Analysis of Security Protocols. In Calculational System
    Design, ed. M. Broy and R. Steinbruggen, IOS Press, 1999, pages 369–395. (Based on
    presentations at NATO Advanced Study Institute on Mathematical Methods in Program
    Development, Marktoberdorf, Germany, 1998.)

 5. Mitchell, J.C., Hoang, M.K. and Howard, B., Labeling Techniques for Typed Fixed-point
    Operators. In Higher-order Operational Techniques in Semantics, ed. A.D. Gordon and A.M.
    Pitts, Publication of the Newton Institute, Cambridge Univ. Press, 1998, pages 137–174.

 6. Fisher, K. and Mitchell, J.C., On the relationship between classes, objects and data abstrac-
    tion. In Mathematical Methods in Program Development, Springer-Verlag NATO ASI series
    F (Computer and System Sciences), vol. 158, 1997, pages 371–408. (Proc. NATO Ad-
    vanced Study Institute on Mathematical Methods in Program Development, Marktoberdorf,
    Germany, July 30 – August 11, 1996.)

 7. Lincoln, P.D., J.C. Mitchell and A. Scedrov, Stochastic interaction and linear logic. In Ad-
    vances in Linear Logic, ed. J.-Y Girard, Y. Lafont and L. Regnier, London Mathematical
    Society Lecture Notes, Volume 222, Cambridge University Press, 1995, pages 147–166. (Ref-
    ereed)

 8. Mitchell, J.C., On the equivalence of data representations. In Artificial Intelligence and
    Mathematical Theory of Computation: Papers in Honor of John McCarthy, ed. V. Lifschitz,
    Academic Press, 1991, pages 305-330.

 9. Kanellakis, P.C., Mairson, H.G. and Mitchell, J.C., Unification and ML type reconstruction.
    In Computational Logic: Essays in Honor of Alan Robinson, ed. J.-L. Lassez and G.D.
    Plotkin, MIT Press, 1991, pages 444–478.

10. Mitchell, J.C., Type Systems for Programming Languages. In Handbook of Theoretical Com-
    puter Science, ed. J. van Leeuwen, North-Holland, 1990, pages 366–458.

11. In Logical Foundations of Functional Programming, ed. Gérard Huet, Addison-Wesley, 1990:

    (a) Mitchell, J.C., Polymorphic type inference and containment, pages 153–194,


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      (b) Mitchell, J.C., A type inference approach to reduction properties and semantics of poly-
          morphic expressions (summary), pages 195–212,
      (c) Bruce, K.B.,Meyer, A.R. and Mitchell, J.C., The semantics of second-order lambda
          calculus, pages 213–272,
      (d) Meyer, A.R., Mitchell, J.C., Moggi, E. and Statman, R., Empty types in polymorphic
          lambda calculus, pages 273–284.

Refereed Articles in Archival Journals

  1. A. Barth, C. Jackson, and J.C. Mitchell, Securing Frame Communication in Browsers, Com-
     munications of the ACM (CACM), vol. 52, no. 6, June 2009, pages 83-91. (Invited CACM
     Research Highlight)

  2. C. He, M. Sundararajan, A. Datta, A. Derek, J. C. Mitchell, A Modular Correctness Proof of
     TLS and IEEE 802.11i, ACM Transactions on Information and System Security (in review).

  3. R. Kuesters, A. Datta, J.C. Mitchell, and A. Ramanathan, On the Relationships Between
     Notions of Simulation-Based Security, J. Cryptology, 21(4):492546, 2008.

  4. M. Backes, A. Datta, A. Derek, J. C. Mitchell, M. Turuani, Compositional Analysis of
     Contract-Signing Protocols, Theor. Comput. Sci. 367(1-2): 33-56 (2006)

  5. N. Li and J.C. Mitchell, Understanding SPKI/SDSI using first-order logic. Int. J. Inf. Sec.
     5(1): 48-64 (2006)

  6. J.C. Mitchell, A. Ramanathan, A Scedrov, V. Teague, A probabilistic polynomial-time process
     calculus for the analysis of cryptographic protocols, Theoretical Computer Science 353 (2006)
     118–164.

  7. A. Datta, A. Derek, J. C. Mitchell, D. Pavlovic, A Derivation System and Compositional
     Logic for Security Protocols, Journal of Computer Security (Special Issue of Selected Papers
     from CSFW-16), Vol. 13, 2005, pages 423–482.

  8. I. Cervesato, N.D. Durgin, P.D. Lincoln, J.C. Mitchell, A. Scedrov, A Revised Comparison
     Between Strand Spaces and Multiset Rewriting for Security Protocol Analysis, Journal of
     Computer Security, volume 13, issue 2, 2005, pages 265–316.

  9. N. Li, J.C. Mitchell, and W.H. Winsborough, Beyond Proof-of-compliance: Security Analysis
     in Trust Management, J. ACM, Vol. 52, 2005, pages 474–514.

 10. N. Li and J.C. Mitchell, Understanding SPKI/SDSI Using First-Order Logic, International
     Journal of Information Security, Nov 2005. www.springerlink.com/link.asp?id=107927

 11. R. Chadha, J.C. Mitchell, A. Scedrov, V. Shmatikov. Contract signing, optimism, and ad-
     vantage. J. Log. Algebr. Program. 64(2): 189-218 (2005)



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12. A. Chander, D. Dean, and J. Mitchell, Reconstructing Trust Management, Journal of Com-
    puter Security, vol 12, number 1, 2004, pages 131–164.

13. N.A. Durgin, P.D. Lincoln, J.C. Mitchell, and A. Scedrov, Multiset rewriting and the com-
    plexity of bounded security protocols, Journal of Computer Security, vol 12, number 1, 2004,
    pages 677–722.

14. N.A. Durgin, J.C. Mitchell, D. Pavlovic, A compositional logic for proving security properties
    of protocols, Journal of Computer Security, vol 11, number 4, 2003, pages 677–721.

15. S.N. Freund and J.C. Mitchell, A Type System for the Java Bytecode Language and Verifier.
    Journal of Automated Reasoning, volume 30 (3-4):271–321, 2003.

16. N. Li, W. Winsborough, J.C. Mitchell, Distributed Credential Chain Discovery in Trust
    Management, J. Computer Security, vol 11, number 1, 2003, pages 35–86.

17. Shmatikov, V. and Mitchell, J.C., Finite-State Analysis of Two Contract Signing Protocols,
    Theoretical Computer Science 283, June 2002, pages 419–450.

18. Freund, S.N. and Mitchell, J.C., A Type System for Object Initialization in the Java Bytecode
    Language, ACM Trans. on Programming Languages and Systems, 21, November 1999, pages
    1196–1250.

19. Harper, R. and Mitchell, J.C., Parametricity and variants of Girard’s J operator, Information
    Processing Letters 70, 1999, pages 1–5.

20. Lincoln, P.D., Mitchell, J.C. and Scedrov, A., Optimization complexity of linear logic proof
    games, Theoretical Computer Science, Special Issues on Linear Logic (accepted for publica-
    tion).

21. Fisher, K. and Mitchell, J.C., On the relationship between classes, objects and data abstrac-
    tion, Theory and Practice of Object Systems, Volume 4, number 1, 1998, pages 3–25. Invited
    paper for Special Issue on Third Workshop on Foundations of Object-Oriented Languages
    (held 1996).

22. Lincoln, P.D., Mitchell, J.C. and Scedrov, A., Linear Logic Proof Games and Optimization,
    Bulletin of Symbolic Logic, 2,3 (1996) 322-338.

23. Fisher, K., and Mitchell, J.C., The Development of Type Systems for Object-Oriented Lan-
    guages, Theory and Practice of Object Systems 1,3 (1996) 189–220.

24. Mitchell, J. and Viswanathan, R., Standard ML-NJ weak polymorphism and imperative
    constructs, Information and Computation 127, 2 (1996) 102-116. Invited for special issue
    from IEEE Symp. Logic in Computer Science, 1993.

25. Fisher, K., Honsell, F. and Mitchell, J.C., A lambda calculus of objects and method special-
    ization, Nordic J. Computing (formerly BIT ) 1, 1 (1994) 3–37. Invited paper.



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121. Mitchell, J.C., Inference rules for functional and inclusion dependencies. Proc. Second ACM
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122. Meyer, A.R. and Mitchell, J.C., Axiomatic definability and completeness for recursive pro-
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     25–27, 1982, pages 337–346.

123. Mitchell, J.C., FCHART 4.0: The University of Wisconsin Solar Energy Design Program.
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Workshop and Journal Abstracts

  1. Freund, S. and Mitchell, J.C., A Type System for Object Initialization in the Java Bytecode
     Language. Overview of work in progress presented at Second Workshop on Higher-Order
     Operational Techniques in Semantics, December, 1997. Short summary appears in Electronic
     Notes in Theoretical Computer Science 19 (1998), http://www.elsevier.nl/locate/entcs/volume10.html,
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  2. Mitchell, J.C., Typed lambda calculus and logical relations (abstract), Journal of Symbolic
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  3. Mitchell, J.C., Abstract realizability for intuitionistic and relevant implication (abstract),
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Position papers

  1. Gunter, C., Mitchell, J.C. and Notkin, D., Strategic Directions in Software Engineering and
     Programming Languages, ACM Computing Surveys, Vol 28A, No 4, December 1996.

  2. Harper, R. and Mitchell, J.C., ML and Beyond, ACM SIGPLAN Notices, Vol 32, No 1,
     1997, pages 80–85. Position statement on strategic directions for research in programming
     languages, in connection with Strategic Directions in Computing Research report on Pro-
     gramming Languages.

Conference lectures not associated with publication

     J. Mitchell, V. Shmatikov, U. Stern, Finite-State Analysis of SSL 3.0 and Related Protocols,
     DIMACS Workshop on Design and Formal Verification of Security Protocols, New Brunswick,
     September 3-5, 1997. (Informal publication on web site and CD-ROM.)

     Predicative and Impredicative Polymorphism, Spring meeting of the Assoc. for Symbolic
     Logic, New York City, May, 1987.

     Abstract realizability for intuitionistic and relevance logics, Assoc. Symbolic Logic Conf. on
     Logic, Language and Computation, Stanford CA, July, 1985.

Seminars at Universities and Research Organizations


     AT&T Bell Labs
     Brown University
     Cambridge University
     Carnegie-Mellon University
     Columbia University
     Cornell University
     CUNY Graduate Center
     Edinburgh University
     IBM San Jose
     IBM Yorktown Heights
     Indian Institute of Technology, Mumbai
     Int’l Computer Science Inst. (Berkeley)
     INRIA Rocquencourt (Paris)
     Keio University (Tokyo)

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    MIT
    Purdue University
    Oxford University
    Stanford University
    SUNY Stony Brook
    Tata Research Design and Development Center
    Toshiba Corporation (Kawasaki)
    University of California, Berkeley
    University of Chicago
    University of Pennsylvania
    Universita di Torino (Italy)
    University of Wisconsin
    Xerox PARC


Refereed Tutorials

    Semantic Methods for Object-Oriented Languages, with Luca Cardelli, 1988 ACM
    Conference on Object-Oriented Programming: Systems, Languages and Architectures
    (OOPSLA), 1/2 day, 210 registrants.

PhD Students

  1. Patrick D. Lincoln: Computational Aspects of Linear Logic. August, 1992. Present position:
     Director, Computer Science Laboratory, SRI International.

  2. Brian T. Howard: Fixed Points and Extensionality in Typed Functional Languages. August,
     1992. Present position: Bridgewater College.

  3. Dinesh Katiyar: Theory and Practice of Typed Object-Oriented Programming. December,
     1994. Subsequent positions: Software Engineer, Sun Microsystems; Founder & CEO, iLever-
     age (acquired by Epiphany).

  4. Ramesh Viswanathan: Recursion Theoretic Semantics, Fully Abstract Term Models, and
     Imperative Constructs, June, 1995. Present position: Member Technical Staff, Lucent Bell
     Laboratories.

  5. My Hoang: Type Inference and Program Evaluation in the Presence of Subtyping, June,
     1995. Present position: Software Engineer, SAP International.

  6. Ole Agesen: Type inference: A path to delivery of dynamically-typed object-oriented appli-
     cations, December, 1995. (Co-advisee with David Ungar, Sun Microsystems.) Subsequent
     positions: Member Technical Staff, Sun Microsystems; VMWare, Inc.

  7. Kathleen Fisher: Type Systems for Object-Oriented Programming, August, 1996. Present
     position: Member Technical Staff, AT&T Laboratories.

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 8. Vitaly Shmatikov: Finite-State Analysis of Security Protocols, August, 2000. Subsequent
    positions: Member of Research Staff, Lucent Bell Laboratories; Computer Scientist, SRI
    International; Assistant Professor, Univ Texas (Austin).

 9. Stephen Freund: Type Systems for Object-Oriented Intermediate Languages, December,
    2000. Subsequent positions: Member of Research Staff, Compaq Systems Research Center;
    Assistant Professor, Williams College.

10. Amit Patel: Obstacl: A language with Objects, Subtyping, and Classes, December, 2001.
    Present position: Google, Inc.

11. Mark Mitchell: Entered Stanford Fall 1996. On leave.

12. Nancy Durgin: Logical Analysis and Complexity of Security Protocols, March, 2003. Present
    position: Senior Member of Technical Staff, Sandia National Laboratories, Livermore, CA.

13. Ajay Chandar: A Constructive Design Methodology for Trust Management Systems, October,
    2003. Present position: Research Engineer, Mobile Software Laboratory, DoCoMo USA Labs.

14. Vanessa Teague: Combining Cryptography and Game Theory in Distributed Algorithms,
    December 2004. Present position: Lecturer (Assistant Professor), Univ Melbourne.

15. Ajith Ramanathan: A Probabilistic Polynomial-time Process Calculus for the Analysis of
    Cryptographic Protocols, June 2005. Present position: Google, Inc.

16. Anupam Datta: Security Analysis of Network Protocols: Compositional Reasoning and
    Complexity-Theoretic Foundations, September 2005.

17. Changhua He: Analysis of Security Protocols for Wireless Networks, December 2005.

18. Ante Derek: Formal Analysis of Security Protocols: Protocol Composition Logic, December
    2006.

19. Mukund Sundararajan: Trade-offs in cost sharing, (principal advisor - Tim Roughgarden),
    June 2009.

20. Adam Barth: Design and Analysis of Privacy Policies, August 2008.

21. Collin Jackson: Improving browser security policies, September 2009.

22. Arnab Roy: Formal proofs of cryptographic security of network protocols, December 2009.

23. Elizabeth Stinson: Entered Stanford PhD Program Fall 2007 (on leave).

24. Stephan Hyeonjun Stiller: Network protocol security, PhD expected 2010.

25. Ankur Taly: Entered Stanford PhD Program Fall 2007.

26. Jason Bau: EE PhD program, PhD expected 2010-11.


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 27. Peifung Eric Lam: Entered Stanford PhD Program Fall 2008.

 28. Jonathan Mayer: Stanford CS PhD and JD programs, beginning Fall 2009.

S.M. Thesis Student

Lalita Jategaonkar: Supervisor of S.M. thesis research at AT&T Bell Labs under the MIT VI-A
      Cooperative Program. Thesis completed at MIT, 1989. Title: ML with Extended Pattern
      Matching and Subtypes. MIT supervisor: Albert R. Meyer.

Classroom Teaching

Stanford University:
     Sophomore Seminar: Computer Security and Privacy (CS 99J)
     Discrete Mathematics and Logic (CS 103x)
     Web Application Development and Security (CS 142)
     Intro. to Automata and Complexity Theory (CS 154)
     Intro. to Computer Security (CS 155)
     Logic and Automated Reasoning (CS 157)
     Discrete Structures and Algorithms (CS 161)
     Web Security (CS 241)
     Programming Languages (CS 242)
     Intro. to Programming Language Theory (CS 258)
     Security Analysis of Network Protocols (CS 259)
     TechLaw with Progressive Minds (CS 302)
     Advanced Programming Languages (CS 342)
     Topics in Programming Language Theory (CS 358).
     CS 154, 157, 161, 258 and 358 are considered “theory” courses;
     CS 242 and 342 are considered “systems” courses
     CS 142, 155, 241, and 259 are computer security courses developed at Stanford.

New York University: Type Theory and Programming Languages (G22.3033.01), with David Mac-
    Queen.

MIT: Teaching Assistant to A. Meyer and J. Stoy, Summer 1982. Lectured on the formal defi-
    nition of Ada and principles of language design for special summer course on semantics of
    programming languages.
    Teaching Assistant to B. Liskov, Fall 1981. Graduate course 6.821, Concepts in Modern
    Programming Languages.




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                                       Exhibit B

                             List of Materials Considered

1.     Complaint for Patent and Copyright Infringement, Demand for Jury Trial, Oracle
       America, Inc., v. Google, Inc., No. 10-03561 WHA, United Sates District Court,
       Northern District of California, August 12, 2010.

2.     Google Inc.’s Answer to Plaintiff’s Complaint for Patent and Copyright
       Infringement and Counterclaims, Jury Trial Demanded, Oracle America, Inc., v.
       Google, Inc., No. 10-03561 WHA, United Sates District Court, Northern District
       of California, October 4, 2010.

3.     Google Inc.’s Motion to Dismiss Count VIII of Plaintiff’s Complaint Or, In The
       Alternative, For a More Definite Statement, Oracle America, Inc., v. Google, Inc.,
       No. 10-03561 WHA, United Sates District Court, Northern District of California,
       October 4, 2010.

4.     Amended Complaint for Patent and Copyright Infringement, Demand for Jury
       Trial, Oracle America, Inc., v. Google, Inc., No. 10-03561 WHA, United Sates
       District Court, Northern District of California, October 27, 2010.

5.     Defendant Google Inc.’s Supplemental Responses to Plaintiff’s Interrogatories,
       Set One.

6.     Plaintiff Oracle America, Inc.’s Supplemental Responses to Defendant Google,
       Inc.’s Interrogatories, Set No. 1.

7.     Plaintiff’s Request for Production of Documents and Things to Defendant Google
       Inc., Set One.

8.     Oracle’s Technology Tutorial, Oracle America, Inc., v. Google, Inc., No. 10-
       03561 WHA, United Sates District Court, Northern District of California, April 6,
       2011, Oracle 04-06-2011 Tech Tutorial Slide.PPT.

9.     Google’s Technical Tutorial, Oracle America, Inc., v. Google, Inc., No. 10-03561
       WHA, United Sates District Court, Northern District of California, April 6, 2011,
       Oracle v Google – Google Tech Tutorial Slides 04-06-2011.pdf.

10.    Oracle’s Technology Tutorial, Oracle America, Inc., v. Google, Inc., No. 10-
       03561 WHA, United Sates District Court, Northern District of California, April 6,
       2011, Oracle 04-06-2011 Tech Tutorial Rebuttal Slide.PPT.

11.    Oracle’s Technology Tutorial Supplement, Oracle America, Inc., v. Google, Inc.,
       April 6, 2011, Oracle 04-06-2011 Tech Tutorial Supplement.PPT.

12.    Claim Construction Hearing, Oracle’s Argument, Oracle America, Inc., v.
       Google, Inc., April 20, 2011, Oracle Markman Hearing Slides 04-20-2011.pdf.


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13.       Transcript of Proceedings, Oracle America, Inc., v. Google, Inc., No. 10-03561
          WHA, United Sates District Court, Northern District of California, April 20,
          2011.

14.       Claim Construction Order, Oracle America, Inc., v. Google, Inc., No. 10-03561
          WHA, United Sates District Court, Northern District of California, May 9, 2011.

15.       Order Granting in Part Motion to Strike Damage Report of Plaintiff Expert Iain
          Cockburn, Oracle America, Inc., v. Google, Inc., No. 10-03561 WHA, United
          Sates District Court, Northern District of California, July 22, 2011.

16.       Order Granting In Part And Denying In Part Plaintiff’s Request To Take
          Additional Depositions, Oracle America, Inc., v. Google, Inc., No. 10-03561
          WHA, United Sates District Court, Northern District of California, July 21, 2011.

17.       U.S. Patents Nos. 5,966,702; 6,061,520; 6,125,447; 6,192,476; RE38,104 E;
          6,910,205: 7,426,720 and associated file histories.

18.       Oracle Java code, documentation, specifications, and related materials.

19.       Android code, documentation, specifications, videos, and related materials.

20.       Files from Android devices.

21.       Deposition transcripts and exhibits: Joshua Bloch, Daniel Bornstein, Dan Morrill,
          Andrew Rubin, Brian Swetland.

22.       Performance benchmarks and testing by Bob Vandette, Noel Poore, and Erez
          Landau

23.       Reports by Johnson-Laird, Inc.

24.       Analysis of Samsung Captivate (SGH-I897) & LG (Various Models) Handset
          Code by Marc Visnick (JLI).

25.       Articles/publications:

      •   E. Roberts, "The Dream of a Common Language: The Search for Simplicity and
          Stability in Computer Science Education," SIGCSE '04 Proceedings of the 35th
          SIGCSE technical symposium on Computer science education (2004), available
          at http://www-cs-faculty.stanford.edu/~eroberts//papers/SIGCSE-
          2004/DreamOfACommonLanguage.pdf

      •   M. LaMonica, "IBM, BEA join on Java strategy," CNET News (Nov. 25, 2003),
          available at http://news.cnet.com/2100-7345-5111567.html

      •   N.C. Schaller et al., Panel Report: Using Java in Computer Science Education,
          Proceedings of the 2nd Annual Conference on Integrating Technology into


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          Computer Science Education, ITiCSE 1997, Uppsala, Sweden, 1-5 June, 1997.
          ACM 1997, ISBN 0-89791-923-8, retrieved from
          http://portal.acm.org/ft_gateway.cfm?id=266154&type=pdf

      •   Nielsen Communication Trends, " Highlights from the 2008 Convergence Audit
          and Consumer Electronics Monitor," Dec. 2008, available at
          http://kr.en.nielsen.com/site/documents/CommunicationTrends_200810.pdf

      •   Nielsen Communication Trends, "Highlights from the 2009 Nielsen Convergence
          Audit," available at http://blog.nielsen.com/nielsenwire/wp-
          content/uploads/2009/12/09-Nielsen-Convergence-Audit.pdf

      •   NielsenWire, "Who is Winning the U.S. Smartphone Battle?," Mar. 3, 2011,
          available at http://blog.nielsen.com/nielsenwire/online_mobile/who-is-winning-
          the-u-s-smartphone-battle/

      •   R. Ierusalimschy, L. H. de Figueiredo, W. Celes, The evolution of Lua,
          Proceedings of ACM HOPL III (2007) 2-1-2-26, available at
          http://portal.acm.org/citation.cfm?id=1238846

      •   R. Ierusalimschy, L. H. de Figueiredo, W. Celes, The implementation of Lua 5.0,
          Journal of Universal Computer Science 11 #7 (2005) 1159-1176, available at
          http://www.jucs.org/jucs_11_7/the_implementation_of_lua/jucs_11_7_1159_117
          6_defigueiredo.pdf

      •   README from US670(Thunder)_Android_Froyo_USA_USC_Opensource.zip
          retrieved from http://www.lg.com/global/support/opensource/opensource.jsp

      •   S. Lohr and A. Vance, "I.B.M., Looking to Buy Sun, Sets Up a Software
          Strategy," The New York Times Inside Technology article (Mar. 18, 2009),
          available at
          http://www.nytimes.com/2009/03/19/technology/companies/19sun.html

      •   Silicon Graphics International, Standard Template Library Programmer's Guide,
          http://www.sgi.com/tech/stl/table_of_contents.html

      •   Stephen G. Kochan, Programming in Objective-C 2.0, Rough Cuts, 2nd Edition,
          available at http://www.informit.com/articles/article.aspx?p=1271260

      •   William R. Cook, Interfaces and Specifications for the Smalltalk-80 Collection
          Classes, OOPSLA 1992, available at
          http://portal.acm.org/citation.cfm?id=141938

26.       Internet Websites:

      •   http://android.git.kernel.org/




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   •   http://blog.nielsen.com/nielsenwire/wp-content/uploads/2010/11/smartphone-OS-
       share.png

   •   http://code.google.com/webtoolkit/

   •   http://code.google.com/webtoolkit/overview.html

   •   http://developer.android.com

   •   http://developer.android.com/guide/basics/what-is-android.html

   •   http://developer.android.com/guide/practices/compatibility.html

   •   http://developer.android.com/reference/packages.html

   •   http://developer.android.com/sdk/requirements.html

   •   http://developer.apple.com/library/ios/#documentation/Cocoa/Conceptual/ObjCR
       untimeGuide/

   •   http://developer.apple.com/library/ios/#referencelibrary/GettingStarted/Learning_
       Objective-C_A_Primer/

   •   http://developer.apple.com/library/ios/documentation/iPhone/Conceptual/iPhone1
       01/iPhone101.pdf

   •   http://docs.python.org/tutorial/index.html

   •   http://download.oracle.com/javase/1.5.0/docs/api/

   •   http://download.oracle.com/javase/1.5.0/docs/api/index.html?java/security/Protect
       ionDomain.html

   •   http://download.oracle.com/javase/1.5.0/docs/api/java/util/Arrays.html

   •   http://download.oracle.com/javase/1.5.0/docs/relnotes/license.html

   •   http://download.oracle.com/javase/tutorial/collections/interfaces/index.html

   •   http://download.oracle.com/javase/tutorial/collections/intro/index.html

   •   http://msdn.microsoft.com/en-us/magazine/cc163855.aspx

   •   http://msdn.microsoft.com/en-us/vcsharp/aa336809

   •   http://obamapacman.com/2011/07/google-engineer-java-alternatives-all-suck-
       android-needs-to-negotiate-license/



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      •   http://patft.uspto.gov/netahtml/PTO/search-bool.html/

      •   http://source.android.com/compatibility/downloads.html

      •   http://source.android.com/source/initializing.html

      •   http://source.android.com/tech/dalvik/dalvik-bytecode.html

      •   http://source.android.com/tech/dalvik/dex-format.html

      •   http://www.businessinsider.com/how-to-use-the-new-android-market-2011-2

      •   http://www.cs.utexas.edu/users/csed/iticse/

      •   http://www.google.com/support/androidmarket/bin/answer.py?hl=en&answer=11
          3407&topic=1100168

      •   http://www.jcp.org

      •   http://www.lua.org/

      •   http://www.microsoft.com/net/overview.aspx

      •   http://www.oracle.com/technetwork/java/javase/downloads/index-jdk5-jsp-
          142662.html

      •   http://www.oracle.com/technetwork/java/javase/overview/javahistory-timeline-
          198369.html

      •   http://www.python.org/

      •   http://www.tiobe.com/index.php/content/paperinfo/tpci/index.html

      •   http://www.tiobe.com/index.php/content/paperinfo/tpci/tpci_definition.htm

      •   http://www-01.ibm.com/software/ebusiness/jstart/history.html

      •   https://opensource.samsung.com/

      •   www.mozilla.org/js/

      •   http://web.archive.org/web/20080205101616/http://www.sun.com/smi/Press/sunfl
          ash/1996-01/sunflash.960123.10561.xml

27.       Oracle production:

          OAGOOGLE0100000454
          OAGOOGLE0100003560


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       OAGOOGLE0100003653
       OAGOOGLE0100003796
       OAGOOGLE0100013203
       OAGOOGLE0100219511
       OAGOOGLE0000122862


28.    Google production:

       GOOGLE-00296158
       GOOGLE-00296163
       GOOGLE-00296500
       GOOGLE-00302662
       GOOGLE-00302808
       GOOGLE-00320083
       GOOGLE-00320116
       GOOGLE-00320162
       GOOGLE-00381507
       GOOGLE-00383073
       GOOGLE-00392204
       GOOGLE-00392213
       GOOGLE-01-00019511
       GOOGLE-01-00019527
       GOOGLE-01-00019529
       GOOGLE-01-00025376
       GOOGLE-01-00025576
       GOOGLE-01-00029331
       GOOGLE-01-00053552
       GOOGLE-01-00075935
       GOOGLE-02-00111218
       GOOGLE-04-00042610
       GOOGLE-04-00055098
       GOOGLE-04-00055169
       GOOGLE-12-00000537
       GOOGLE-12-00003871
       GOOGLE-12-00006964
       GOOGLE-12-00079180
       GOOGLE-14-00042244
       GOOGLE-22-00171914
       GOOGLE-29-00002338




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                                            Exhibit Copyright-A
                             High Level Comparison of Java and Android API Specs

    JavaTM 2 Platform Standard Edition 5.0 API Specification                      Android APIs




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    JavaTM 2 Platform Standard Edition 5.0 API Specification                      Android APIs




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    JavaTM 2 Platform Standard Edition 5.0 API Specification                      Android APIs




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                                                              Exhibit Copyright-B
       JavaTM 2 Platform Standard Edition 5.0 API Specification                                        Android APIs
                             (java.lang)                                                                (java.lang)
                                                                        Interfaces
Interface Summary
                      An object to which char sequences and values      Appendable         Declares methods to append characters or character
Appendable                                                                                 sequences.
                      can be appended.

                      A CharSequence is a readable sequence of          CharSequence       This interface represents an ordered set of characters
CharSequence                                                                               and defines the methods to probe them.
                      char values.

                      A class implements the Cloneable interface to
                                                                         Cloneable         This (empty) interface must be implemented by all
                      indicate to the Object.clone() method that it                        classes that wish to support cloning.
Cloneable
                      is legal for that method to make a field-for-field
                      copy of instances of that class.
                                                                        Comparable<T>      This interface should be implemented by all classes
                      This interface imposes a total ordering on the                       that wish to define a natural order of their instances.
Comparable<T>
                      objects of each class that implements it.
                                                                        terable<T>         Instances of classes that implement this interface can
                      Implementing this interface allows an object to
Iterable<T>                                                                                be used with the enhanced for loop.
                      be the target of the "foreach" statement.

Readable              A Readable is a source of characters.             Readable           Represents a sequence of characters that can be
                                                                                           incrementally read (copied) into a CharBuffer.
                      The Runnable interface should be implemented
Runnable              by any class whose instances are intended to be Runnable             Represents a command that can be executed.
                      executed by a thread.
                      Interface for handlers invoked when a Thread
Thread.Uncaught                                                         Thread.Uncaught    Implemented by objects that want to handle cases
                      abruptly terminates due to an uncaught
ExceptionHandler                                                        ExceptionHandler   where a thread is being terminated by an uncaught
                      exception.
                                                                                           exception.

                                                                        Classes
Class Summary

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                        The Boolean class wraps a value of the            Boolean               The wrapper for the primitive type boolean.
Boolean
                        primitive type boolean in an object.
                        The Byte class wraps a value of primitive type    Byte                  The wrapper for the primitive type byte.
Byte
                        byte in an object.

                        The Character class wraps a value of the          Character             The wrapper for the primitive type char.
Character
                        primitive type char in an object.
                        Instances of this class represent particular      Character.Subset
Character.Subset
                        subsets of the Unicode character set.
                                                                          Character.Unicode Represents a block of Unicode characters, as defined
Character.Unicode A family of character subsets representing the          Block             by the Unicode 4.0.1 specification.
Block             character blocks in the Unicode specification.
                        Instances of the class Class represent classes    Class<T>              The in-memory representation of a Java class.
Class<T>
                        and interfaces in a running Java application.
                        A class loader is an object that is responsible   ClassLoader           Loads classes and resources from a repository.
ClassLoader
                        forr loading classes.
                                                                          Compiler              Placeholder class for environments which explicitly
                        The Compiler class is provided to support Java-
Compiler                                                                                        manage the action of a Just In Time (JIT) compiler.
                        to-native-code compilers and related services.

                        The Double class wraps a value of the primitive Double                  The wrapper for the primitive type double.
Double
                        type double in an object.
Enum<E extends          This is the common base class of all Java         Enum<E extends        The superclass of all enumerated types.
Enum<E>>                language enumeration types.                       Enum<E>>

                        The Float class wraps a value of primitive type Float                   The wrapper for the primitive type float.
Float
                        float in an object.

                        This class extends ThreadLocal to provide
                                                                            InheritableThread   A thread-local variable whose value is passed from
                        inheritance of values from parent thread to child Local<T>              parent to child thread.
InheritableThread
                        thread: when a child thread is created, the child
Local<T>
                        receives initial values for all inheritable thread-
                        local variables for which the parent has values.

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                         The Integer class wraps a value of the
Integer
                         primitive type int in an object.                   nteger             The wrapper for the primitive type int.
                         The Long class wraps a value of the primitive
Long
                         type long in an object.
                                                                            Long               The wrapper for the primitive type long.
                         The class Math contains methods for performing
                         basic numeric operations such as the elementary
Math
                         exponential, logarithm, square root, and        Math                  Class Math provides basic math constants and
                         trigonometric functions.                                              operations such as trigonometric functions, hyperbolic
                                                                                               functions, exponential, logarithms, etc.
                         The abstract class Number is the superclass of
Number                   classes BigDecimal, BigInteger, Byte,
                         Double, Float, Integer, Long, and Short.           Number             The abstract superclass of the classes which represent
                                                                                               numeric base types (that is Byte, Short, Integer,
Object                   Class Object is the root of the class hierarchy.                      Long, Float, and Double.

                         Package objects contain version information        Object             The root class of the Java class hierarchy.
Package                  about the implementation and specification of a
                         Java package.
                                                                            Package            Contains information about a Java package.
                         The ProcessBuilder.start() and
                         Runtime.exec methods create a native process
Process                  and return an instance of a subclass of Process
                         that can be used to control the process and     Process               Represents an external process.
                         obtain information about it.
                         This class is used to create operating system
ProcessBuilder
                         processes.                                         ProcessBuilder     Creates operating system processes.
                         Every Java application has a single instance of
                         class Runtime that allows the application to       Runtime            Allows Java applications to interface with the
Runtime
                         interface with the environment in which the                           environment in which they are running.
                         application is running.
RuntimePermission This class is for runtime permissions.
                                                                            RuntimePermission Represents the permission to execute a runtime-related
SecurityManager          The security manager is a class that allows                          function.
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                         applications to implement a security policy.      SecurityManager    Warning: security managers do not provide a secure
                                                                                              environment for executing untrusted code.
                         The Short class wraps a value of primitive type
Short                                                                    Short                The wrapper for the primitive type short.
                         short in an object.
                         An element in a stack trace, as returned by
StackTraceElement
                         Throwable.getStackTrace().                        StackTraceElement A representation of a single stack frame.
                         The class StrictMath contains methods for
                         performing basic numeric operations such as the StrictMath           Class StrictMath provides basic math constants and
StrictMath
                         elementary exponential, logarithm, square root,                      operations such as trigonometric functions, hyperbolic
                         and trigonometric functions.                                         functions, exponential, logarithms, etc.

String                   The String class represents character strings.
                                                                           String             An immutable sequence of characters/code units
                                                                                              (chars).
StringBuffer             A thread-safe, mutable sequence of characters.    StringBuffer       A modifiable sequence of characters for use in
                                                                                              creating strings, where all accesses are synchronized.
StringBuilder            A mutable sequence of characters.                 StringBuilder      A modifiable sequence of characters for use in
                                                                                              creating strings.
                         The System class contains several useful class
System
                         fields and methods.                               System             Provides access to system-related information and
                                                                                              resources including standard input and output.
Thread                   A thread is a thread of execution in a program.
                                                                           Thread             A Thread is a concurrent unit of execution.
ThreadGroup              A thread group represents a set of threads.       ThreadGroup        ThreadGroup is a means of organizing threads into a
                                                                                              hierarchical structure.
ThreadLocal<T>           This class provides thread-local variables.       ThreadLocal<T>     mplements a thread-local storage, that is, a variable for
                                                                                              which each thread has its own value.
                         The Throwable class is the superclass of all
Throwable
                         errors and exceptions in the Java language.       Throwable          The superclass of all classes which can be thrown by
                                                                                              the virtual machine.
Void                     The Void class is an uninstantiable placeholder

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                      class to hold a reference to the Class object    Void                Placeholder class for the Java keyword void.
                      representing the Java keyword void.

                                                                       Enums
Enum Summary
Thread.State          A thread state.                                  Thread.State        A representation of a thread's state.


                                                                       Exceptions
Exception Summary
Arithmetic            Thrown when an exceptional arithmetic            ArithmeticException Thrown when the an invalid arithmetic operation is
Exception             condition has occurred.                                              attempted.

ArrayIndexOut                                                          ArrayIndexOutOf     Thrown when the an array is indexed with a value less
                      Thrown to indicate that an array has been
OfBounds                                                               BoundsException     than zero, or greater than or equal to the size of the
                      accessed with an illegal index.                                      array.
Exception
                      Thrown to indicate that an attempt has been      ArrayStore          Thrown when a program attempts to store an element
ArrayStore
                      made to store the wrong type of object into an   Exception           of an incompatible type in an array.
Exception
                      array of objects.
                      Thrown to indicate that the code has attempted
ClassCast                                                                ClassCastException Thrown when a program attempts to cast a an object to
                      to cast an object to a subclass of which it is not                    a type with which it is not compatible.
Exception
                      an instance.
                      Thrown when an application tries to load in a    ClassNotFound       Thrown when a class loader is unable to find a class.
ClassNotFound                                                          Exception
                      class through its string name using: The
Exception
                      forName method in class Class.

                      Thrown to indicate that the clone method in
CloneNot                                                               CloneNotSupported Thrown when a program attempts to clone an object
                      class Object has been called to clone an
Supported                                                              Exception         which does not support the Cloneable interface.
                      object, but that the object's class does not
Exception
                      implement the Cloneable interface.
EnumConstant          Thrown when an application tries to access an    EnumConstantNot Thrown if an enum constant does not exist for a
NotPresent            enum constant by name and the enum type          PresentException particular name.
Exception             contains no constant with the specified name.
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                       The class Exception and its subclasses are a
                                                                            Exception           Exception is the superclass of all classes that
                       form of Throwable that indicates conditions
Exception                                                                                       represent recoverable exceptions.
                       that a reasonable application might want to
                       catch.
                       An IllegalAccessException is thrown when an
                       application tries to reflectively create an
                                                                           IllegalAccess        Thrown when a program attempts to access a field or
                       instance (other than an array), set or get a field, Exception            method which is not accessible from the location where
IllegalAccess
                       or invoke a method, but the currently executing                          the reference is made.
Exception
                       method does not have access to the definition
                       of the specified class, field, method or
                       constructor.

IllegalArgumentEx Thrown to indicate that a method has been                                     Thrown when a method is invoked with an argument
                                                                            IllegalArgument     which it can not reasonably deal with.
ception           passed an illegal or inappropriate argument.
                                                                            Exception

                       Thrown to indicate that a thread has attempted
IllegalMonitor         to wait on an object's monitor or to notify other IllegalMonitorState Thrown when a monitor operation is attempted when
StateException         threads waiting on an object's monitor without Exception              the monitor is not in the correct state, for example when
                       owning the specified monitor.                                         a thread attempts to exit a monitor which it does not
                                                                                                own.
IllegalState           Signals that a method has been invoked at an
Exception              illegal or inappropriate time.                       IllegalState        Thrown when an action is attempted at a time when the
                                                                            Exception           virtual machine is not in the correct state.
IllegalThread          Thrown to indicate that a thread is not in an
StateException         appropriate state for the requested operation.       IllegalThreadState Thrown when an operation is attempted which is not
                                                                            Exception          possible given the state that the executing thread is in.
                       Thrown to indicate that an index of some sort
IndexOutOf
                       (such as to an array, to a string, or to a vector)   IndexOutOfBounds Thrown when a program attempts to access a value in
BoundsException
                       is out of range.                                     Exception        an indexable collection using a value which is outside of
                                                                                             the range of valid indices.
                       Thrown when an application tries to create an
Instantiation          instance of a class using the newInstance            Instantiation       Thrown when a program attempts to access a
Exception              method in class Class, but the specified class       Exception           constructor which is not accessible from the location
                       object cannot be instantiated because it is an                           where the reference is made.

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                      interface or is an abstract class.
                      Thrown when a thread is waiting, sleeping, or
Interrupted           otherwise paused for a long time and another        Interrupted         Thrown when a waiting thread is activated before the
Exception             thread interrupts it using the interrupt            Exception           condition it was waiting for has been satisfied.
                      method in class Thread.

NegativeArray         Thrown if an application tries to create an
SizeException         array with negative size.                           NegativeArraySize Thrown when an attempt is made to create an array
                                                                          Exception         with a size of less than zero.
NoSuchField           Signals that the class doesn't have a field of a
Exception             specified name.                                     NoSuchField         Thrown when the virtual machine notices that a
                                                                          Exception           program tries to reference, on a class or object, a field
NoSuchMethod          Thrown when a particular method cannot be                               that does not exist.
                      found.                                              NoSuchMethod        Thrown when the virtual machine notices that a
Exception
                                                                          Exception           program tries to reference, on a class or object, a
                                                                                              method that does not exist.

NullPointer           Thrown when an application attempts to use          NullPointer         Thrown when a program tries to access a field or
Exception             null in a case where an object is required.         Exception           method of an object or an element of an array when
                                                                                              there is no instance or array to use, that is if the object
                                                                                              or array points to null.
                      Thrown to indicate that the application has
NumberFormat          attempted to convert a string to one of the      NumberFormat           Thrown when an invalid value is passed to a string-to-
Exception             numeric types, but that the string does not have Exception              number conversion method.
                      the appropriate format.

                      RuntimeException is the superclass of those
Runtime                                                                   RuntimeException RuntimeException is the superclass of all classes that
                      exceptions that can be thrown during the
Exception                                                                                  represent exceptional conditions which occur as a
                      normal operation of the Java Virtual Machine.                        result of executing an application in the virtual
                                                                                           machine.
Security              Thrown by the security manager to indicate a
Exception             security violation.                                 SecurityException   Thrown when a security manager check fails.
StringIndexOutOf      Thrown by String methods to indicate that an
                                                                          StringIndexOutOf    Thrown when the a string is indexed with a value less
Bounds                index is either negative or greater than the size                       than zero, or greater than or equal to the size of the
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Exception               of the string.                                   BoundsException     array.

                 Thrown when an application tries to access a            TypeNotPresent      Thrown when a program tries to access a class,
TypeNotPresentEx type using a string representing the type's             Exception            nterface, enum or annotation type through a string that
ception          name, but no definition for the type with the                               contains the type's name and the type cannot be
                 specified name can be found.                                                found.
Unsupported
                        Thrown to indicate that the requested operation Unsupported        Thrown when an unsupported operation is attempted.
Operation                                                               OperationException
                        is not supported.
Exception




Error Summary                                                            Errors
AbstractMethod Thrown when an application tries to call an
                                                                         AbstractMethod      Thrown by the virtual machine when an abstract
Error          abstract method.
                                                                         Error               method is called.
AssertionError       Thrown to indicate that an assertion has failed.    AssertionError      Thrown when an assertion has failed.

                                                                                             Thrown when the virtual machine notices that an
ClassCircularity Thrown when a circularity has been detected
                                                                         ClassCircularity    attempt is made to load a class which would directly or
Error            while initializing a class.                             Error               ndirectly inherit from one of its subclasses.

                     Thrown when the Java Virtual Machine
ClassFormat          attempts to read a class file and determines that   ClassFormatError    Thrown by a class loader when a class file has an
Error                the file is malformed or otherwise cannot be                            llegal format or if the data that it contains can not be
                     interpreted as a class file.                                            nterpreted as a class.
                     An Error is a subclass of Throwable that            Error               Error is the superclass of all classes that represent
Error                indicates serious problems that a reasonable                            unrecoverable errors.
                     application should not try to catch.
ExceptionIn          Signals that an unexpected exception has            ExceptionInInitialize Thrown when an exception occurs during class
InitializerError     occurred in a static initializer.                   rError                nitialization.

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                    Thrown if an application attempts to access or      IllegalAccessError   Thrown when the virtual machine notices that a
IllegalAccess                                                                                program tries access a field which is not accessible
                    modify a field, or to call a method that it does
Error                                                                                        from where it is referenced.
                    not have access to.


Incompatible                                                            IncompatibleClassC IncompatibleClassChangeError is the superclass of
                    Thrown when an incompatible class change has        hangeError         all classes which represent errors that occur when
ClassChange
                    occurred to some class definition.                                      nconsistent class files are loaded into the same
Error
                                                                                           running image.

                    Thrown when an application tries to use the         InstantiationError   Thrown when the virtual machine notices that a
Instantiation                                                                                program tries to create a new instance of a class which
                    Java new construct to instantiate an abstract
Error                                                                                        has no visible constructors from the location where new
                    class or an interface.
                                                                                             s invoked.

                                                                        InternalError        Thrown when the virtual machine notices that it has
                    Thrown to indicate some unexpected internal                              gotten into an undefined state.
InternalError
                    error has occurred in the Java Virtual Machine.
                    Subclasses of LinkageError indicate that a
                                                                        LinkageError         LinkageError is the superclass of all error classes that
                    class has some dependency on another class;
                                                                                             occur when loading and linking class files.
LinkageError        however, the latter class has incompatibly
                    changed after the compilation of the former
                    class.
                    Thrown if the Java Virtual Machine or a             NoClassDefFound Thrown when the virtual machine is unable to locate a
                    ClassLoader instance tries to load in the           Error           class which it has been asked to load.
NoClassDef          definition of a class (as part of a normal method
FoundError          call or as part of creating a new instance using
                    the new expression) and no definition of the
                    class could be found.
                                                                        NoSuchFieldError     Thrown when the virtual machine notices that a
                    Thrown if an application tries to access or                              program tries to reference, on a class or object, a field
NoSuchField
                    modify a specified field of an object, and that                          that does not exist.
Error
                    object no longer has that field.


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                   Thrown if an application tries to call a specified   NoSuchMethod        Thrown when the virtual machine notices that a
                   method of a class (either static or instance), and   Error               program tries to reference, on a class or object, a
NoSuchMethod                                                                                method that does not exist.
                   that class no longer has a definition of that
Error
                   method.
                   Thrown when the Java Virtual Machine cannot          OutOfMemoryError Thrown when a request for memory is made that can
OutOfMemory        allocate an object because it is out of memory,                       not be satisfied using the available platform resources.
Error              and no more memory could be made available
                   by the garbage collector.

StackOverflow      Thrown when a stack overflow occurs because          StackOverflowError Thrown when the depth of the callstack of the running
Error              an application recurses too deeply.                                     program excedes some platform or virtual machine
                                                                                           specific limit.
                   An instance of ThreadDeath is thrown in the
                                                                        ThreadDeath         ThreadDeath is thrown when a thread stops executing.
ThreadDeath        victim thread when the stop method with zero
                   arguments in class Thread is called.
                   Thrown when an unknown but serious
                   exception has occurred in the Java Virtual           UnknownError        Thrown when the virtual machine must throw an error
UnknownError
                                                                                            which does not match any known exceptional
                   Machine.
                                                                                            condition.
                   Thrown if the Java Virtual Machine cannot find
UnsatisfiedLink                                                         UnsatisfiedLinkError Thrown when an attempt is made to invoke a native for
                   an appropriate native-language definition of a
Error                                                                                        which an implementation could not be found.
                   method declared native.
                   Thrown when the Java Virtual Machine
Unsupported
                   attempts to read a class file and determines that    UnsupportedClass Thrown when an attempt is made to load a class with a
ClassVersion                                                            VersionError     format version that is not supported by the virtual
                   the major and minor version numbers in the file
Error                                                                                    machine.
                   are not supported.
                   Thrown when the "verifier" detects that a class      VerifyError         Thrown when the virtual machine notices that an
VerifyError        file, though well formed, contains some sort of                          attempt is made to load a class which does not pass
                   internal inconsistency or security problem.                              the class verification phase.
VirtualMachine     Thrown to indicate that the Java Virtual             VirtualMachineError VirtualMachineError is the superclass of all error
                                                                                            classes that occur during the operation of the virtual
Error              Machine is broken or has run out of resources
                                                                                            machine.

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                   necessary for it to continue operating.



Annotation Types Summary
                   A program element annotated @Deprecated is
                   one that programmers are discouraged from
Deprecated
                   using, typically because it is dangerous, or
                   because a better alternative exists.
                   Indicates that a method declaration is intended
Override
                   to override a method declaration in a superclass.
                   Indicates that the named compiler warnings
Suppress           should be suppressed in the annotated element
Warnings           (and in all program elements contained in the
                   annotated element).




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                                    (java io)                                                          (java.io)


Interface Summary                                                                   Interfaces
                                                                                    Closeable         Defines an interface for classes that can
                            A Closeable is a source or destination of data
Closeable                                                                                             (or need to) be closed once they are not
                            that can be closed.                                                       used any longer.
                            The DataInput interface provides for reading            DataInput         Defines an interface for classes that are
                            bytes from a binary stream and reconstructing                             able to read typed data from some
DataInput                                                                                             source.
                            from them data in any of the Java primitive
                            types.
                            The DataOutput interface provides for
                                                                                    DataOutput        Defines an interface for classes that are
                            converting data from any of the Java primitive
DataOutput                                                                                            able to write typed data to some target.
                            types to a series of bytes and writing these bytes
                            to a binary stream.
                            Only the identity of the class of an
                                                                                    Externalizable    Defines an interface for classes that
                            Externalizable instance is written in the
                                                                                                      want to be serializable, but have their
Externalizable              serialization stream and it is the responsibility of                      own binary representation.
                            the class to save and restore the contents of its
                            instances.
                                                                                    FileFilter        An interface for filtering File objects
FileFilter                  A filter for abstract pathnames.                                          based on their names or other
                                                                                                      information.

                            Instances of classes that implement this interface      FilenameFilter    An interface for filtering File objects
FilenameFilter
                            are used to filter filenames.                                             based on their names or the directory
                                                                                                      they reside in.




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                                   (java io)                                                                   (java.io)

                                                                                     Flushable                Defines an interface for classes that can
                           A Flushable is a destination of data that can be                                   (or need to) be flushed, typically before
Flushable
                           flushed.                                                                           some output processing is considered to
                                                                                                              be finished and the object gets closed.
                                                                                     ObjectInput              Defines an interface for classes that
                           ObjectInput extends the DataInput interface to                                     allow reading serialized objects.
ObjectInput
                           include the reading of objects.
                           Callback interface to allow validation of objects         ObjectInputValidation    A callback interface for post-
ObjectInputValidation                                                                                         deserialization checks on objects.
                           within a graph.
                           ObjectOutput extends the DataOutput interface             ObjectOutput             Defines an interface for classes that
ObjectOutput                                                                                                  allow reading serialized objects.
                           to include writing of objects.
                           Constants written into the Object Serialization           ObjectStreamConstants    A helper interface with constants used
ObjectStreamConstants                                                                                         by the serialization implementation.
                           Stream.
                                                                                     Serializable             An empty marker interface for classes
                                                                                                              that want to support serialization and
                           Serializability of a class is enabled by the class                                 deserialization based on the
Serializable
                           implementing the java.io.Serializable interface.                                   ObjectOutputStream and
                                                                                                              ObjectInputStream classes.


                                                                                     Classes
Class Summary
                                   A BufferedInputStream adds
                                                                                     BufferedInputStream     Wraps an existing InputStream and
                                   functionality to another input stream-
BufferedInputStream                                                                                          buffers the input.
                                   namely, the ability to buffer the input and
                                   to support the mark and reset methods.
                                                                                     BufferedOutputStream    Wraps an existing OutputStream and
                                   The class implements a buffered output                                    buffers the output.
BufferedOutputStream
                                   stream.
                                   Read text from a character-input stream,          BufferedReader          Wraps an existing Reader and buffers
BufferedReader                     buffering characters so as to provide for                                 the input.
                                   the efficient reading of characters, arrays,
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           JavaTM 2 Platform Standard Edition 5.0 API Specification                                          Android APIs
                                  (java io)                                                                    (java.io)

                                  and lines.
                                                                                     BufferedWriter          Wraps an existing Writer and buffers
                                  Write text to a character-output stream,                                   the output.
                                  buffering characters so as to provide for
BufferedWriter
                                  the efficient writing of single characters,
                                  arrays, and strings.
                                  A ByteArrayInputStream contains an                 ByteArrayInputStream    A specialized InputStream for reading
ByteArrayInputStream              internal buffer that contains bytes that                                   the contents of a byte array.
                                  may be read from the stream.
                                                                                     ByteArrayOutputStream   A specialized OutputStream for class for
                                  This class implements an output stream in                                  writing content to an (internal) byte
ByteArrayOutputStream
                                  which the data is written into a byte array.                               array.
                                  This class implements a character buffer           CharArrayReader         A specialized Reader for reading the
CharArrayReader                   that can be used as a character-input                                      contents of a char array.
                                  stream.
                                                                                     CharArrayWriter         A specialized Writer for class for writing
                                                                                                             content to an (internal) char array.
                                  This class implements a character buffer
CharArrayWriter
                                  that can be used as an Writer.                     Console                 Provides access to the console, if
                                                                                                             available.

                                                                                     DataInputStream         Wraps an existing InputStream and
                                  A data input stream lets an application
                                                                                                             reads typed data from it.
                                  read primitive Java data types from an
DataInputStream
                                  underlying input stream in a machine-
                                  independent way.
                                  A data output stream lets an application           DataOutputStream        Wraps an existing OutputStream and
DataOutputStream                  write primitive Java data types to an                                      writes typed data to it.
                                  output stream in a portable way.
                                  An abstract representation of file and             File                    An "abstract" representation of a file
File                                                                                                         system entity identified by a pathname.
                                  directory pathnames.
FileDescriptor                    Instances of the file descriptor class serve

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                                    (java io)                                                                 (java.io)

                                    as an opaque handle to the underlying              FileDescriptor       The lowest-level representation of a file,
                                    machine-specific structure representing an                              device, or socket.
                                    open file, an open socket, or another
                                    source or sink of bytes.

                                    A FileInputStream obtains input bytes
FileInputStream                                                                        FileInputStream      A specialized InputStream that reads
                                    from a file in a file system.
                                                                                                            from a file in the file system.
                                    A file output stream is an output stream
FileOutputStream                    for writing data to a File or to a                 FileOutputStream     A specialized OutputStream that writes
                                    FileDescriptor.                                                         to a file in the file system.

                                    This class represents access to a file or
FilePermission                                                                         FilePermission       A permission for accessing a file or
                                    directory.                                                              directory.

                                    Convenience class for reading character
FileReader
                                    files.                                             FileReader           A specialized Reader that reads from a
                                                                                                            file in the file system.

                                    Convenience class for writing character
FileWriter                                                                             FileWriter           A specialized Writer that writes to a file
                                    files.
                                                                                                            in the file system.


                                    A FilterInputStream contains some
                                    other input stream, which it uses as its           FilterInputStream    Wraps an existing InputStream and
FilterInputStream                   basic source of data, possibly                                          performs some transformation on the
                                    transforming the data along the way or                                  input data while it is being read.
                                    providing additional functionality.

                                    This class is the superclass of all classes
FilterOutputStream                                                                     FilterOutputStream   Wraps an existing OutputStream and
                                    that filter output streams.
                                                                                                            performs some transformation on the
                                                                                                            output data while it is being written.


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                                  (java io)                                                                      (java.io)
                                                                                  FilterReader                 Wraps an existing Reader and performs
                                  Abstract class for reading filtered                                          some transformation on the input data
FilterReader
                                  character streams.                                                           while it is being read.


                                  Abstract class for writing filtered
FilterWriter                                                                      FilterWriter
                                  character streams.
                                                                                                               Wraps an existing Writer and performs
                                  This abstract class is the superclass of all                                 some transformation on the output data
InputStream                       classes representing an input stream of                                      while it is being written.
                                  bytes.
                                                                                  nputStream                   The base class for all input streams.
                                  An InputStreamReader is a bridge from
                                  byte streams to character streams: It reads
InputStreamReader
                                  bytes and decodes them into characters
                                  using a specified charset.                      nputStreamReader             A class for turning a byte stream into a
                                                                                                               character stream.
                                  Deprecated. This class incorrectly
LineNumberInputStream             assumes that bytes adequately represent
                                  characters.
                                                                                  LineNumberInputStream        This class is deprecated. Use
                                  A buffered character-input stream that                                       LineNumberReader
LineNumberReader
                                  keeps track of line numbers.
                                                                                  LineNumberReader             Wraps an existing Reader and counts
                                                                                                               the line terminators encountered while
                                  An ObjectInputStream deserializes
                                                                                                               reading the data.
ObjectInputStream                 primitive data and objects previously
                                  written using an ObjectOutputStream.            ObjectInputStream            A specialized InputStream that is able
                                                                                                               to read (deserialize) Java objects as well
                                                                                                               as primitive data types (int, byte, char
                                  Provide access to the persistent fields read                                 etc.).
ObjectInputStream.GetField
                                  from the input stream.
                                                                                  ObjectInputStream.GetField   GetField is an inner class that provides
                                                                                                               access to the persistent fields read from
                                                                                                               the source stream.


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           JavaTM 2 Platform Standard Edition 5.0 API Specification                                             Android APIs
                                  (java io)                                                                       (java.io)
                                                                                   ObjectOutputStream            A specialized OutputStream that is able
                                  An ObjectOutputStream writes primitive                                         to write (serialize) Java objects as well
ObjectOutputStream                data types and graphs of Java objects to                                       as primitive data types (int, byte, char
                                                                                                                 etc.).
                                  an OutputStream.


                            Provide programmatic access to the                     ObjectOutputStream.PutField PutField is an inner class to provide
                                                                                                               access to the persistent fields that are
ObjectOutputStream.PutField persistent fields to be written to
                                                                                                               written to the target stream.
                            ObjectOutput.
                                                                                   ObjectStreamClass             Represents a descriptor for identifying a
ObjectStreamClass                 Serialization's descriptor for classes.                                        class during serialization and
                                                                                                                 deserialization.

                                                                                   ObjectStreamField             Describes a field for the purpose of
                                  A description of a Serializable field from
ObjectStreamField                                                                                                serialization.
                                  a Serializable class.

                                  This abstract class is the superclass of all     OutputStream                  The base class for all output streams.
OutputStream                      classes representing an output stream of
                                  bytes.
                                  An OutputStreamWriter is a bridge from
                                  character streams to byte streams:               OutputStreamWriter            A class for turning a character stream
OutputStreamWriter                                                                                               into a byte stream.
                                  Characters written to it are encoded into
                                  bytes using a specified charset.
                                  A piped input stream should be connected
                                                                                   PipedInputStream              Receives information from a
                                  to a piped output stream; the piped input
PipedInputStream                                                                                                 communications pipe.
                                  stream then provides whatever data bytes
                                  are written to the piped output stream.
                                  A piped output stream can be connected
PipedOutputStream                 to a piped input stream to create a              PipedOutputStream             Places information on a communications
                                                                                                                 pipe.
                                  communications pipe.


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                                 (java io)                                                             (java.io)


PipedReader                      Piped character-input streams.                PipedReader           Receives information on a
                                                                                                     communications pipe.

                                 Piped character-output streams.               PipedWriter           Places information on a communications
PipedWriter
                                                                                                     pipe.


                                 A PrintStream adds functionality to           PrintStream           Wraps an existing OutputStream and
                                 another output stream, namely the ability                           provides convenience methods for
PrintStream
                                 to print representations of various data                            writing common data types in a human
                                 values conveniently.                                                readable format.



                                                                               PrintWriter           Wraps either an existing OutputStream
                                 Print formatted representations of objects                          or an existing Writer and provides
PrintWriter                                                                                          convenience methods for printing
                                 to a text-output stream.
                                                                                                     common data types in a human readable
                                                                                                     format.


                                                                               PushbackInputStream   Wraps an existing InputStream and
                                                                                                     adds functionality to "push back" bytes
                                 A PushbackInputStream adds                                          that have been read, so that they can be
                                 functionality to another input stream,                              read again.
PushbackInputStream
                                 namely the ability to "push back" or
                                 "unread" one byte.




                                 A character-stream reader that allows         PushbackReader        Wraps an existing Reader and adds
PushbackReader                   characters to be pushed back into the                               functionality to "push back" characters
                                 stream.                                                             that have been read, so that they can be


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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                          Android APIs
                                   (java io)                                                                    (java.io)
                                                                                                              read again.
                                   Instances of this class support both
RandomAccessFile                   reading and writing to a random access
                                   file.

                                                                                    RandomAccessFile          Allows reading from and writing to a file
                                   Abstract class for reading character
Reader                                                                                                        in a random-access manner.
                                   streams.
                                   A SequenceInputStream represents the
SequenceInputStream                logical concatenation of other input
                                   streams.                                         Reader                    The base class for all readers.

SerializablePermission             This class is for Serializable permissions.
                                                                                    SequenceInputStream       Concatenates two or more existing
                                                                                                              InputStreams.
                                   The StreamTokenizer class takes an
                                   input stream and parses it into "tokens",
StreamTokenizer
                                   allowing the tokens to be read one at a          SerializablePermission    Is used to enable access to potentially
                                   time.                                                                      unsafe serialization operations.

                                   Deprecated. This class does not properly         StreamTokenizer           Parses a stream into a set of defined
StringBufferInputStream                                                                                       tokens, one at a time.
                                   convert characters into bytes.


                                   A character stream whose source is a
StringReader                                                                        StringBufferInputStream   This class is deprecated. Use
                                   string.
                                                                                                              StringReader


                                   A character stream that collects its output      StringReader              A specialized Reader that reads
StringWriter                       in a string buffer, which can then be used                                 characters from a String in a sequential
                                   to construct a string.                                                     manner.

                                   Abstract class for writing to character
Writer                                                                              StringWriter              A specialized Writer that writes
                                   streams.
                                                                                                              characters to a StringBuffer in a

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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                           Android APIs
                                 (java io)                                                                     (java.io)
                                                                                                             sequential manner, appending them in
                                                                                                             the process.

                                                                                   Writer                    The base class for all writers.




                                                                                   Exceptions
Exception Summary
                                   Base class for character conversion             CharConversionException     The top level class for character
CharConversionException                                                                                        conversion exceptions.
                                   exceptions.

                                                                                   EOFException                Thrown when a program encounters
                                   Signals that an end of file or end of
                                                                                                               the end of a file or stream during an
EOFException                       stream has been reached unexpectedly                                         nput operation.
                                   during input.

                                   Signals that an attempt to open the file
FileNotFoundException              denoted by a specified pathname has             FileNotFoundException       Thrown when a file specified by a
                                   failed.                                                                     program cannot be found.

                                   Signals that an I/O operation has been          nterruptedIOException       Signals that a blocking I/O operation
InterruptedIOException                                                                                         has been interrupted.
                                   interrupted.
                                   Thrown when the Serialization runtime           nvalidClassException        Signals a problem during the
InvalidClassException              detects one of the following problems                                       serialization or or deserialization of an
                                   with a Class.                                                               object.

                                   Indicates that one or more deserialized         nvalidObjectException       Signals that, during deserialization, the
InvalidObjectException
                                   objects failed validation tests.                                            validation of an object has failed.

                                   Signals that an I/O exception of some
IOException
                                   sort has occurred.
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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                            Android APIs
                                 (java io)                                                                      (java.io)
                                                                                  OException                     Signals a general, I/O-related error.
                                   Thrown when serialization or
NotActiveException
                                   deserialization is not active.
                                                                                  NotActiveException             Signals that a serialization-related
                                                                                                                 method has been invoked in the wrong
                                                                                                                 place.
                                   Thrown when an instance is required to
NotSerializableException
                                   have a Serializable interface.                 NotSerializableException       Signals that an object that is not
                                                                                                                 serializable has been passed into the
                                                                                                                 ObjectOutput.writeObject()
                                   Superclass of all exceptions specific to                                      method.
ObjectStreamException
                                   Object Stream classes.
                                                                                  ObjectStreamException          Signals some sort of problem during
                                                                                                                 either serialization or deserialization of
                                   Exception indicating the failure of an
                                                                                                                 objects.
                                   object read operation due to unread
OptionalDataException              primitive data, or the end of data
                                   belonging to a serialized object in the        OptionalDataException          Signals that the ObjectInputStream
                                   stream.                                                                       class encountered a primitive type
                                                                                                                 (int, char etc.) instead of an object
                                                                                                                  nstance in the input stream.
                                   Thrown when control information that
StreamCorruptedException           was read from an object stream violates        StreamCorruptedException       Signals that the readObject() method
                                   internal consistency checks.                                                  could not read an object due to
                                                                                                                 missing information (for example, a
                                                                                                                 cyclic reference that doesn't match a
                                                                                                                 previous instance, or a missing class
SyncFailedException                Signals that a sync operation has failed.                                     descriptor for the object to be loaded).

                                                                                  SyncFailedException            Signals that the sync() method has
                             The Character Encoding is not                                                       failed to complete.
UnsupportedEncodingException
                             supported.
                                                                                  UnsupportedEncodingExceptionThrown when a program asks for a
                                   Signals that a malformed string in                                         particular character converter that is
                                   modified UTF-8 format has been read                                        unavailable.
UTFDataFormatException
                                   in a data input stream or by any class
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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                   Android APIs
                                 (java io)                                                             (java.io)

                                   that implements the data input
                                                                            UTFDataFormatException     Signals that an incorrectly encoded
                                   interface.
                                                                                                       UTF-8 string has been encountered,
                                   Signals that one of the                                             most likely while reading some
WriteAbortedException              ObjectStreamExceptions was thrown                                   DataInputStream.
                                   during a write operation.
                                                                            WriteAbortedException      Signals that the readObject() method
                                                                                                       has detected an exception marker in
                                                                                                       the input stream.




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                                                                Exhibit Copyright-D

            JavaTM 2 Platform Standard Edition 5.0 API Specification                                         Android APIs
                                 (java.security)                                                             (java.security)
                                                                                   Interfaces
Interface Summary
                              Deprecated. A new certificate handling                Certificate            This interface is deprecated. Replaced by
Certificate
                              package is created in the Java 2 platform.                                   behavior in java.security.cert
                              A DomainCombiner provides a means to                  DomainCombiner         DomainCombiner is used to update and
                              dynamically update the ProtectionDomains                                     optimize ProtectionDomains from an
DomainCombiner
                              associated with the current                                                  AccessControlContext.
                              AccessControlContext.
                              This interface represents a guard, which is           Guard                  Guard implementors protect access to
Guard                         an object that is used to protect access to                                  other objects.
                              another object.
                              The Key interface is the top-level interface
Key                                                                                 Key                    Key is the common interface for all keys.
                              for all keys.

                              A marker interface for KeyStore entry                 KeyStore.Entry         Entry is the common marker interface for
KeyStore.Entry
                              types.                                                                       a KeyStore entry.

                                                                                    KeyStore.LoadStore     LoadStoreParameter represents a
KeyStore.LoadStore            A marker interface for KeyStore load and              Parameter              parameter that specifies how a KeyStore
Parameter                     store parameters.                                                            can be loaded and stored.


                                                                                    KeyStore.ProtectionP   ProtectionParameter is a marker
KeyStore.Protection           A marker interface for keystore protection            arameter               interface for protection parameters.
Parameter                     parameters.                                           Policy.Parameters      A marker interface for Policy parameters.


                              This interface represents the abstract notion
Principal
                              of a principal, which can be used to

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                               (java.security)                                                               (java.security)

                            represent any entity, such as an individual, a
                            corporation, and a login id.                           Principal              Principals are objects which have
                                                                                                          identities.
PrivateKey                  A private key.

                                                                                   PrivateKey             PrivateKey is the common interface for
                            A computation to be performed with                                            private keys.
PrivilegedAction<T>
                            privileges enabled.
                                                                                   PrivilegedAction<T>    PrivilegedAction represents an action
                            A computation to be performed with                                            that can be executed privileged regarding
PrivilegedException                                                                                       access control.
                            privileges enabled, that throws one or more
Action<T>
                            checked exceptions.                                    PrivilegedException    PrivilegedAction represents an action,
                                                                                   Action<T>              that can be executed privileged regarding
PublicKey                   A public key.                                                                 access control.

                                                                                   PublicKey              PublicKey is the common interface for
                                                                                                          public keys.


                                                                                  Classes
Class Summary
                                                                                   AccessControlContext     AccessControlContext encapsulates
                     An AccessControlContext is used to make                                                the ProtectionDomains on which access
AccessControlContext system resource access decisions based on the                                          control decisions are based.
                     context it encapsulates.


                                                                                   AccessController         AccessController provides static
                                                                                                            methods to perform access control
                                                                                                            checks and privileged operations.




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         JavaTM 2 Platform Standard Edition 5.0 API Specification                                     Android APIs
                              (java.security)                                                         (java.security)

                                                                                AlgorithmParameter    AlgorithmParameterGenerator is an
                         The AlgorithmParameterGenerator class is               Generator             engine class which is capable of
AlgorithmParameter
                         used to generate a set of parameters to be used                              generating parameters for the algorithm it
Generator                                                                                             was initialized with.
                         with a certain algorithm.

                                                                                AlgorithmParameter    AlgorithmParameterGeneratorSpi is
                         This class defines the Service Provider
                                                                                GeneratorSpi          the Service Provider Interface (SPI)
                         Interface (SPI) for the
AlgorithmParameter                                                                                    definition for
                         AlgorithmParameterGenerator class, which
GeneratorSpi                                                                                          AlgorithmParameterGenerator.
                         is used to generate a set of parameters to be
                         used with a certain algorithm.

                         This class is used as an opaque representation         AlgorithmParameters   AlgorithmParameters is an engine class
AlgorithmParameters                                                                                   which provides algorithm parameters.
                         of cryptographic parameters.

                         This class defines the Service Provider                AlgorithmParameters   AlgorithmParametersSpi is the Service
AlgorithmParameters      Interface (SPI) for the AlgorithmParameters            Spi                   Provider Interface (SPI) definition for
Spi                      class, which is used to manage algorithm                                     AlgorithmParameters.
                         parameters.
                                                                                AllPermission         AllPermission represents the
                         The AllPermission is a permission that implies
AllPermission                                                                                         permission to perform any operation.
                         all other permissions.

                                                                                AuthProvider          AuthProvider is an abstract superclass
                         This class defines login and logout methods for                              for Java Security Provider which provide
AuthProvider
                         a provider.                                                                  login and logout.


                         The BasicPermission class extends the                  BasicPermission       BasicPermission is the common base
                         Permission class, and can be used as the base                                class of all permissions which have a
BasicPermission                                                                                       name but no action lists.
                         class for permissions that want to follow the
                         same naming convention as BasicPermission.
                         This class encapsulates information about a            CodeSigner            CodeSigner represents a signer of code.
CodeSigner
                         code signer.

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                                (java.security)                                                       (java.security)

                           This class extends the concept of a codebase to       CodeSource           CodeSource encapsulates the location
                           encapsulate not only the location (URL) but                                from where code is loaded and the
CodeSource                 also the certificate chains that were used to                              certificates that were used to verify that
                           verify signed code originating from that                                   code.
                           location.


                           A transparent stream that updates the                 DigestInputStream    DigestInputStream is a
DigestInputStream          associated message digest using the bits going                             FilterInputStream which maintains an
                           through the stream.                                                        associated message digest.




                           A transparent stream that updates the                 DigestOutputStream   DigestOutputStream is a
DigestOutputStream         associated message digest using the bits going                             FilterOutputStream which maintains an
                           through the stream.                                                        associated message digest.




                           A GuardedObject is an object that is used to
GuardedObject                                                                    GuardedObject        GuardedObject controls access to an
                           protect access to another object.
                                                                                                      object, by checking all requests for the
                                                                                                      object with a Guard.


Identity                   Deprecated. This class is no longer used.             Identity             This class is deprecated. The functionality
                                                                                                      of this class has been replace by
                                                                                                      Principal, KeyStore and the
                                                                                                      java.security.cert package.




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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                      Android APIs
                               (java.security)                                                          (java.security)

                                                                                  IdentityScope         This class is deprecated. The functionality
                                                                                                        of this class has been replace by
IdentityScope             Deprecated. This class is no longer used.                                     Principal, KeyStore and the
                                                                                                        java.security.cert package.


                                                                                  KeyFactory            KeyFactory is an engine class that can
                                                                                                        be used to translate between public and
                          Key factories are used to convert keys (opaque
                                                                                                        private key objects and convert keys
                          cryptographic keys of type Key) into key                                      between their external representation,
KeyFactory
                          specifications (transparent representations of                                that can be easily transported and their
                          the underlying key material), and vice versa.                                 internal representation.


                                                                                  KeyFactorySpi         KeyFactorySpi is the Service Provider
                          This class defines the Service Provider
KeyFactorySpi                                                                                           Interface (SPI) definition for KeyFactory.
                          Interface (SPI) for the KeyFactory class.

                                                                                  KeyPair               KeyPair is a container for a public key
                          This class is a simple holder for a key pair (a                               and a private key.
KeyPair
                          public key and a private key).


                                                                                  KeyPairGenerator      KeyPairGenerator is an engine class
                          The KeyPairGenerator class is used to generate                                which is capable of generating a private
KeyPairGenerator                                                                                        key and its related public key utilizing the
                          pairs of public and private keys.
                                                                                                        algorithm it was initialized with.

                          This class defines the Service Provider                 KeyPairGeneratorSpi   KeyPairGeneratorSpi is the Service
                          Interface (SPI) for the KeyPairGenerator                                      Provider Interface (SPI) definition for
KeyPairGeneratorSpi
                          class, which is used to generate pairs of public                              KeyPairGenerator.
                          and private keys.
                          Standardized representation for serialized Key          KeyRep                KeyRep is a standardized representation
KeyRep
                          objects.

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                                (java.security)                                                        (java.security)

                                                                                                       for serialized Key objects.
                           This class represents a storage facility for
KeyStore
                           cryptographic keys and certificates.
                                                                                 KeyStore              KeyStore is responsible for maintaining
                                                                                                       cryptographic keys and their owners.


                           A description of a to-be-instantiated KeyStore
KeyStore.Builder                                                                 KeyStore.Builder      Builder is used to construct new
                           object.
                                                                                                       instances of KeyStore.



KeyStore.Callback          A ProtectionParameter encapsulating a
                                                                                 KeyStore.Callback     CallbackHandlerProtection is a
HandlerProtection          CallbackHandler.
                                                                                 HandlerProtection     ProtectionParameter that encapsulates
                                                                                                       a CallbackHandler.

KeyStore.Password          A password-based implementation of
Protection                 ProtectionParameter.                                  KeyStore.Password     PasswordProtection is a
                                                                                 Protection            ProtectionParameter that protects a
                                                                                                       KeyStore using a password.
KeyStore.PrivateKey        A KeyStore entry that holds a PrivateKey
Entry                      and corresponding certificate chain.
                                                                                 KeyStore.PrivateKey   PrivateKeyEntry represents a
                                                                                 Entry                 KeyStore entry that holds a private key.
KeyStore.SecretKey
                           A KeyStore entry that holds a SecretKey.
Entry
                                                                                 KeyStore.SecretKey    SecretKeyEntry represents a KeyStore
                                                                                 Entry                 entry that holds a secret key.
KeyStore.Trusted           A KeyStore entry that holds a trusted
CertificateEntry           Certificate.                                          KeyStore.Trusted      TrustedCertificateEntry represents a
                                                                                 CertificateEntry      KeyStore entry that holds a trusted
                                                                                                       certificate.



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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                    Android APIs
                               (java.security)                                                        (java.security)

                                                                               KeyStoreSpi            KeyStoreSpi is the Service Provider
                          This class defines the Service Provider
KeyStoreSpi                                                                                           Interface (SPI) definition for KeyStore.
                          Interface (SPI) for the KeyStore class.

                          This MessageDigest class provides                    MessageDigest          Uses a one-way hash function to turn an
                          applications the functionality of a message                                 arbitrary number of bytes into a fixed-
MessageDigest
                          digest algorithm, such as MD5 or SHA.                                       length byte sequence.

                          This class defines the Service Provider              MessageDigestSpi       MessageDigestSpi is the Service
                          Interface (SPI) for the MessageDigest class,                                Provider Interface (SPI) definition for
MessageDigestSpi
                          which provides the functionality of a message                               MessageDigest.
                          digest algorithm, such as MD5 or SHA.

                                                                               Permission             Permission is the common base class of
                          Abstract class for representing access to a                                 all permissions that participate in the
Permission                                                                                            access control security framework around
                          system resource.
                                                                                                      AccessController and
                                                                                                      AccessControlContext.

                                                                               PermissionCollection   PermissionCollection is the common
                          Abstract class representing a collection of                                 base class for all collections that provide
PermissionCollection                                                                                  a convenient method for determining
                          Permission objects.
                                                                                                      whether or not a given permission is
                                                                                                      implied by any of the permissions present
                                                                                                      in this collection.

                                                                               Permissions            Permissions represents a
                          This class represents a heterogeneous                                       PermissionCollection where the
Permissions
                          collection of Permissions.                                                  contained permissions can be of different
                                                                                                      types.

                                                                               Policy                 Policy is the common super type of
                                                                                                      classes which represent a system
                                                                                                      security policy.

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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                    Android APIs
                                  (java.security)                                                        (java.security)

                                                                                     PolicySpi           Represents the Service Provider Interface
                             This is an abstract class for representing the                              (SPI) for java.security.Policy class.
                             system security policy for a Java application
Policy                                                                               ProtectionDomain    ProtectionDomain represents all
                             environment (specifying which permissions are
                             available for code from various sources).                                   permissions that are granted to a specific
                                                                                                         code source.

                             This ProtectionDomain class encapsulates the
                             characteristics of a domain, which encloses a           Provider            Provider is the abstract superclass for
ProtectionDomain             set of classes whose instances are granted a set                            all security providers in the Java security
                             of permissions when being executed on behalf                                infrastructure.
                             of a given set of Principals.
                                                                                     Provider.Service    Service represents a service in the Java
                             This class represents a "provider" for the Java
                                                                                                         Security infrastructure.
Provider                     Security API, where a provider implements
                             some or all parts of Java Security.
                                                                                     SecureClassLoader   SecureClassLoader represents a
                                                                                                         ClassLoader which associates the
Provider.Service             The description of a security service.                                      classes it loads with a code source and
                                                                                                         provide mechanisms to allow the relevant
                                                                                                         permissions to be retrieved.
                             This class extends ClassLoader with additional
                             support for defining classes with an associated         SecureRandom        This class generates cryptographically
SecureClassLoader
                             code source and permissions which are                                       secure pseudo-random numbers.
                             retrieved by the system policy by default.
                                                                                     SecureRandomSpi     SecureRandomSpi is the Service Provider
                             This class provides a cryptographically strong                              Interface (SPI) definition for
SecureRandom
                             random number generator (RNG).                                              SecureRandom.


                             This class defines the Service Provider                 Security            Security is the central class in the Java
SecureRandomSpi
                             Interface (SPI) for the SecureRandom class.                                 Security API.


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                                 (java.security)                                                         (java.security)

                                                                                  SecurityPermission     SecurityPermission objects guard
                            This class centralizes all security properties
Security                                                                                                 access to the mechanisms which
                            and common security methods.
                                                                                                         implement security.

                                                                                  Signature              Signature is an engine class which is
SecurityPermission          This class is for security permissions.                                      capable of creating and verifying digital
                                                                                                         signatures, using different algorithms that
                                                                                                         have been registered with the Security
                                                                                                         class.
                            This Signature class is used to provide
                            applications the functionality of a digital           SignatureSpi           SignatureSpi is the Service Provider
Signature                                                                                                Interface (SPI) definition for Signature.
                            signature algorithm.

                            This class defines the Service Provider
                            Interface (SPI) for the Signature class, which        SignedObject           A SignedObject instance acts as a
SignatureSpi
                            is used to provide the functionality of a digital                            container for another object.
                            signature algorithm.
                            SignedObject is a class for the purpose of
                            creating authentic runtime objects whose              Signer                 This class is deprecated. Replaced by
SignedObject
                            integrity cannot be compromised without being                                behavior in java.security.cert
                            detected.                                                                    package and Principal


                                                                                  Timestamp              Timestamp represents a signed time
Signer                      Deprecated. This class is no longer used.
                                                                                                         stamp.


                            This class encapsulates information about a           UnresolvedPermission   An UnresolvedPermission represents a
Timestamp                   signed timestamp.                                                            Permission whose type should be
                                                                                                         resolved lazy and not during initialization
                                                                                                         time of the Policy.
                     The UnresolvedPermission class is used to
UnresolvedPermission hold Permissions that were "unresolved" when
                     the Policy was initialized.

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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                         Android APIs
                               (java.security)                                                             (java.security)

                                                                             Enums
Enum Summary
KeyRep.Type                   Key type.                                       KeyRep.Type             Type enumerates the supported key types.



                                                                             Exceptions
Exception Summary
                              This exception is thrown by the
                              AccessController to indicate that a             AccessControl          AccessControlException is thrown if the
                                                                              Exception              access control infrastructure denies protected
AccessControlException        requested access (to a critical system
                                                                                                     access due to missing permissions.
                              resource such as the file system or the
                              network) is denied.
                              This is the generic Message Digest              DigestException        DigestException is a general message digest
DigestException
                              exception.                                                             exception.
                         The GeneralSecurityException class is
                         a generic security exception class that              GeneralSecurityExce    GeneralSecurityException is a general
GeneralSecurityException provides type safety for all the security-           ption                  security exception and the superclass for all
                         related exception classes that extend from                                  security specific exceptions.
                         it.

InvalidAlgorithm              This is the exception for invalid or            InvalidAlgorithmPara   InvalidAlgorithmParameterException
ParameterException            inappropriate algorithm parameters.             meterException         indicates the occurrence of invalid algorithm
                                                                                                     parameters.

                              This is the exception for invalid Keys
InvalidKeyException           (invalid encoding, wrong length,
                              uninitialized, etc).                            InvalidKeyException    InvalidKeyException indicates exceptional
                                                                                                     conditions, caused by an invalid key.
InvalidParameter              This exception, designed for use by the
Exception                     JCA/JCE engine classes, is thrown when



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                               (java.security)                                                             (java.security)

                                                                                 InvalidParameter    InvalidParameterException indicates
                                                                                 Exception           exceptional conditions, caused by invalid
KeyException                  This is the basic key exception.                                       parameters.


                                                                                 KeyException        KeyException is the common superclass of all
                              This is the general key management                                     key related exceptions.
KeyManagement
                              exception for all operations dealing with
Exception
                              key management.
                                                                                 KeyManagement       KeyManagementException is a general
                                                                                 Exception           exception, thrown to indicate an exception during
KeyStoreException             This is the generic KeyStore exception.                                processing an operation concerning key
                                                                                                     management.

                              This exception is thrown when a particular
NoSuchAlgorithm               cryptographic algorithm is requested but is        KeyStoreException   KeyStoreException is a general KeyStore
Exception                     not available in the environment.                                      exception.

                        This exception is thrown when a particular
NoSuchProviderException security provider is requested but is not                NoSuchAlgorithm     NoSuchAlgorithmException indicates that a
                                                                                 Exception           requested algorithm could not be found.
                        available in the environment.
                              This exception is thrown by
                          doPrivileged(PrivilegedException                       NoSuchProvider      NoSuchProviderException indicates that a
                                                                                 Exception           requested security provider could not be found.
                          Action) and
PrivilegedActionException doPrivileged(PrivilegedException
                          Action, AccessControlContext
                          context) to indicate that the action being             PrivilegedAction    PrivilegedActionException wraps
                              performed threw a checked exception.               Exception           exceptions which are thrown from within privileged
                                                                                                     operations.
                              A runtime exception for Provider
                              exceptions (such as misconfiguration errors
ProviderException             or unrecoverable internal errors), which
                              may be subclassed by Providers to throw
                              specialized, provider-specific runtime



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         JavaTM 2 Platform Standard Edition 5.0 API Specification                                         Android APIs
                              (java.security)                                                             (java.security)

                                                                                ProviderException    ProviderException is a general exception,
                                                                                                     thrown by security Providers.
SignatureException           This is the generic Signature exception.



UnrecoverableEntry           This exception is thrown if an entry in the
Exception                    keystore cannot be recovered.
                                                                                SignatureException   SignatureException is a general Signature
                                                                                                     exception.
UnrecoverableKey             This exception is thrown if a key in the
Exception                    keystore cannot be recovered.

                                                                                UnrecoverableEntry   UnrecoverableEntryException indicates, that
                                                                                Exception            a KeyStore.Entry cannot be recovered from a
                                                                                                     KeyStore.

                                                                                UnrecoverableKey     UnrecoverableKeyException indicates, that a
                                                                                Exception            key cannot be recovered from a KeyStore.




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                                                        Exhibit Copyright-E
        Java™ 2 Platform Standard Edition 5.0 API Specification                                           Android APIs
                       (java.security.KeyPair)                                                       (java.security.KeyPair)
java.security                                                          public final class
Class KeyPair                                                          KeyPair
                                                                       extends Object
java.lang.Object                                                       implements Serializable
    java.security.KeyPair                                                 java.lang.Object
All Implemented Interfaces:                                                 ↳java.security.KeyPair
      Serializable

public final class KeyPair
extends Object                                                         Class Overview
implements Serializable
                                                                       KeyPair is a container for a public key and a private key. Since the
This class is a simple holder for a key pair (a public key and a       private key can be accessed, instances must be treated like a private
                                                                       key.
private key). It does not enforce any security, and, when
initialized, should be treated like a PrivateKey.                      See Also

See Also:                                                          •            PrivateKey
        PublicKey, PrivateKey, Serialized Form                     •            PublicKey



Constructor Summary
KeyPair(PublicKey publicKey,
PrivateKey privateKey)
                                                                       Public Constructors
      Constructs a key pair from the given public key and
private key.                                                           public KeyPair (PublicKey publicKey, PrivateKey privateKey)
                                                                       Since: API Level 1


                                                                       Constructs a new instance of KeyPair with a public key and the
                                                                       corresponding private key.

                                                                       Parameters


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                                                                publicKey     the public key.

                                                                privateKey    the private key.


Method Summary
 PrivateKey getPrivate()
                                                            Summary
                  Returns a reference to the private key
             component of this key pair.
                                                                Public Constructors
   PublicKey getPublic()
                  Returns a reference to the public key
                                                                    KeyPair(PublicKey publicKey, PrivateKey privateKey)
             component of this key pair.
                                                                    Constructs a new instance of KeyPair with a public key and
                                                                    the corresponding private key.
Methods inherited from class java.lang.Object
clone, equals, finalize, getClass, hashCode,
notify, notifyAll, toString, wait, wait, wait                   Public Methods


                                                                PrivateKey    getPrivate()

                                                                              Returns the private key.


                                                                 PublicKey    getPublic()

                                                                              Returns the public key.


                                                                [Expand]

                                                                Inherited Methods


                                                                 From class java.lang.Object




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Constructor Detail
                                                                      Public Constructors
KeyPair
                                                                      public KeyPair (PublicKey publicKey, PrivateKey privateKey)
public KeyPair(PublicKey publicKey,
               PrivateKey privateKey)                                 Since: API Level 1
       Constructs a key pair from the given public key and
       private key.                                                   Constructs a new instance of KeyPair with a public key and the
                                                                      corresponding private key.
       Note that this constructor only stores references to the
                                                                      Parameters
       public and private key components in the generated key
       pair. This is safe, because Key objects are immutable.              publicKey       the public key.

       Parameters:                                                         privateKey      the private key.
       publicKey - the public key.
       privateKey - the private key.


Method Detail
                                                                      Public Methods
getPublic
                                                                      public PrivateKey getPrivate ()
public PublicKey getPublic()
       Returns a reference to the public key component of this        Since: API Level 1

       key pair.
                                                                      Returns the private key.
       Returns:
       a reference to the public key.
                                                                      Returns

                                                                  •            the private key.
getPrivate
                                                                      public PublicKey getPublic ()
public PrivateKey getPrivate()
                                                                      Since: API Level 1
       Returns a reference to the private key component of this
       key pair.                                                      Returns the public key.
       Returns:

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       a reference to the private key.                      Returns

                                                        •         the public key.




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               JavaTM 2 Platform Standard Edition 5.0 API Specification                                        Android APIs
                                 (java.lang.Runtime)                                                        (java.lang.Runtime)
java lang                                                                       public class
Class Runtime                                                                   Runtime
java.lang.Object                                                                extends Object
    java.lang.Runtime                                                             java.lang.Object
                                                                                    ↳java.lang.Runtime
public class Runtime
extends Object

Every Java application has a single instance of class Runtime that allows the
                                                                                Class Overview
application to interface with the environment in which the application is
                                                                                Allows Java applications to interface with the environment in which
running. The current runtime can be obtained from the getRuntime method.        they are running. Applications can not create an instance of this
                                                                                class, but they can get a singleton instance by invoking
An application cannot create its own instance of this class.                    getRuntime().

Since:                                                                          See Also
       JDK1.0
                                                                                       System
See Also:
         getRuntime()




Method Summary                                                                  Summary
                                                                                 Public Methods
              void                                                                             void      addShutdownHook(Thread hook)
                      addShutdownHook(Thread hook)
                                                                                                         Registers a virtual-machine shutdown hook.
                            Registers a new virtual-machine shutdown hook.
                                                                                                 int     availableProcessors()
               int availableProcessors()                                                                 Returns the number of processors available to
                            Returns the number of processors available to the                            the virtual machine.
                      Java virtual machine.

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      JavaTM 2 Platform Standard Edition 5.0 API Specification                            Android APIs
                        (java.lang.Runtime)                                            (java.lang.Runtime)
 Process exec(String command)
                   Executes the specified string command in a separate
             process.                                                    Process   exec(String[] progArray, String[] envp)
                                                                                   Executes the specified command and its
 Process                                                                           arguments in a separate native process.
             exec(String[] cmdarray)
                   Executes the specified command and arguments in a     Process   exec(String prog, String[] envp, File directory)
             separate process.                                                     Executes the specified program in a separate
                                                                                   native process.
 Process
             exec(String[] cmdarray, String[] envp)
                   Executes the specified command and arguments in a     Process   exec(String[] progArray, String[] envp, File
             separate process with the specified environment.                      directory)
                                                                                   Executes the specified command and its
 Process exec(String[] cmdarray, String[] envp,                                    arguments in a separate native process.
         File dir)                                                       Process   exec(String prog, String[] envp)
                   Executes the specified command and arguments in a               Executes the specified program in a separate
             separate process with the specified environment and                   native process.
             working directory.
 Process
             exec(String command, String[] envp)
                   Executes the specified string command in a separate   Process   exec(String prog)
             process with the specified environment.                               Executes the specified program in a separate
                                                                                   native process.
 Process
             exec(String command, String[] envp, File dir)
                   Executes the specified string command in a separate   Process   exec(String[] progArray)
             process with the specified environment and working                    Executes the specified command and its
             directory.                                                            arguments in a separate native process.


     void exit(int status)
                  Terminates the currently running Java virtual             void   exit(int code)
             machine by initiating its shutdown sequence.                          Causes the virtual machine to stop running
                                                                                   and the program to exit.



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           JavaTM 2 Platform Standard Edition 5.0 API Specification                                     Android APIs
                             (java.lang.Runtime)                                                     (java.lang.Runtime)
          long                                                                            long    freeMemory()
                  freeMemory()
                                                                                                  Returns the amount of free memory resources
                        Returns the amount of free memory in the Java                             which are available to the running program.
                  Virtual Machine.
                                                                                          void    gc()
          void                                                                                    Indicates to the virtual machine that it would
                  gc()                                                                            be a good time to run the garbage collector.
                          Runs the garbage collector.
                                                                                  InputStream     getLocalizedInputStream(InputStream
  InputStream                                                                                     stream)
                  getLocalizedInputStream(InputStream in)
                                                                                                  This method is deprecated. Use
                        Deprecated. As of JDK 1.1, the preferred way to                           InputStreamReader.
                  translate a byte stream in the local encoding into a
                  character stream in Unicode is via the
                  InputStreamReader and BufferedReader classes.

 OutputStream getLocalizedOutputStream(OutputStream out)                         OutputStream     getLocalizedOutputStream(OutputStream
                                                                                                  stream)
                         Deprecated. As of JDK 1.1, the preferred way to                          This method is deprecated. Use
                  translate a Unicode character stream into a byte stream in                      OutputStreamWriter.
                  the local encoding is via the OutputStreamWriter,
                  BufferedWriter, and PrintWriter classes.
static Runtime getRuntime()                                                      static Runtime   getRuntime()
                        Returns the runtime object associated with the                            Returns the single Runtime instance.
                  current Java application.
                                                                                          void    halt(int code)
          void halt(int status)                                                                   Causes the virtual machine to stop running,
                                                                                                  and the program to exit.
                         Forcibly terminates the currently running Java
                  virtual machine.
          void                                                                            void    load(String pathName)
                  load(String filename)                                                           Loads and links the dynamic library that is
                          Loads the specified filename as a dynamic library.                      identified through the specified path.

          void loadLibrary(String libname)                                                void    loadLibrary(String libName)
                                                                                                  Loads and links the library with the specified
                          Loads the dynamic library with the specified library                    name.
                  name.
                                                                                          long    maxMemory()

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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                      Android APIs
                               (java.lang.Runtime)                                                      (java.lang.Runtime)
            long                                                                                  Returns the maximum amount of memory that
                   maxMemory()
                                                                                                  may be used by the virtual machine, or
                         Returns the maximum amount of memory that the
                                                                                                  Long.MAX_VALUE if there is no such limit.
                   Java virtual machine will attempt to use.
                                                                                      boolean     removeShutdownHook(Thread hook)
          boolean removeShutdownHook(Thread hook)                                                 Unregisters a previously registered virtual
                         De-registers a previously-registered virtual-machine                     machine shutdown hook.
                   shutdown hook.
                                                                                          void    runFinalization()
            void                                                                                  Provides a hint to the virtual machine that it
                   runFinalization()
                         Runs the finalization methods of any objects                             would be useful to attempt to perform any
                                                                                                  outstanding object finalization.
                   pending finalization.
                                                                                    static void   runFinalizersOnExit(boolean run)
   static void runFinalizersOnExit(boolean value)                                                 This method is deprecated. This method is
                          Deprecated. This method is inherently unsafe. It                        unsafe.
                   may result in finalizers being called on live objects while
                   other threads are concurrently manipulating those objects,
                   resulting in erratic behavior or deadlock.
            long totalMemory()                                                            long    totalMemory()
                          Returns the total amount of memory in the Java                          Returns the total amount of memory which is
                                                                                                  available to the running program.
                   virtual machine.
            void                                                                          void    traceInstructions(boolean enable)
                   traceInstructions(boolean on)                                                  Switches the output of debug information for
                         Enables/Disables tracing of instructions.                                instructions on or off.

                                                                                          void    traceMethodCalls(boolean enable)
            void                                                                                  Switche
                   traceMethodCalls(boolean on)                                                   s the output of debug information for methods
                         Enables/Disables tracing of method calls.                                on or off.



Methods inherited from class java.lang.Object                                    Inherited Methods[1]
clone, equals, finalize, getClass, hashCode, notify,
notifyAll, toString, wait, wait, wait

      1
       Collapsed view.
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      JavaTM 2 Platform Standard Edition 5.0 API Specification                                  Android APIs
                        (java.lang.Runtime)                                                  (java.lang.Runtime)

                                                                       From class java.lang.Object


                                                                      Inherited Methods[2]


                                                                       From class java.lang.Object

                                                                                          Objectclone()
                                                                                                   Creates and returns a copy of
                                                                                                   this Object.
                                                                                        boolean equals(Object o)
                                                                                                   Compares this instance with
                                                                                                   the specified object and
                                                                                                    ndicates if they are equal.
                                                                                             void finalize()
                                                                                                   Called before the object's
                                                                                                   memory is reclaimed by the
                                                                                                   VM.
                                                                                             final getClass()
                                                                        Class<? extends Object> Returns the unique instance of
                                                                                                   Class that represents this
                                                                                                   object's class.
                                                                                               int hashCode()
                                                                                                   Returns an integer hash code
                                                                                                   for this object.
                                                                                       final void notify()
                                                                                                   Causes a thread which is
                                                                                                   waiting on this object's monitor
                                                                                                   (by means of calling one of the
                                                                                                   wait() methods) to be woken
                                                                                                   up.
                                                                                       final void notifyAll()
                                                                                                   Causes all threads which are
                                                                                                   waiting on this object's monitor
                                                                                                   (by means of calling one of the

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      JavaTM 2 Platform Standard Edition 5.0 API Specification                       Android APIs
                        (java.lang.Runtime)                                       (java.lang.Runtime)

                                                                                            wait() methods) to be woken
                                                                                            up.
                                                                                     StringtoString()
                                                                                            Returns a string containing a
                                                                                            concise, human-readable
                                                                                            description of this object.
                                                                                 final void wait()
                                                                                            Causes the calling thread to
                                                                                            wait until another thread calls
                                                                                            the notify() or notifyAll()
                                                                                            method of this object.
                                                                                 final void wait(long millis, int nanos)
                                                                                            Causes the calling thread to
                                                                                            wait until another thread calls
                                                                                            the notify() or notifyAll()
                                                                                            method of this object or until
                                                                                            the specified timeout expires.
                                                                                 final void wait(long millis)
                                                                                            Causes the calling thread to
                                                                                            wait until another thread calls
                                                                                            the notify() or notifyAll()
                                                                                            method of this object or until
                                                                                            the specified timeout expires.




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                           Android APIs
                               (java.lang.Runtime)                                                           (java.lang.Runtime)

Method Detail                                                                   Public Methods
addShutdownHook                                                                 public void addShutdownHook (Thread hook)

public void addShutdownHook(Thread hook)                                        Since: API Level 1

     Registers a new virtual-machine shutdown hook.
                                                                                Registers a virtual-machine shutdown hook. A shutdown hook is a
                                                                                Thread that is ready to run, but has not yet been started. All registered
     The Java virtual machine shuts down in response to two kinds of            shutdown hooks will be executed once the virtual machine shuts down
     events:                                                                    properly. A proper shutdown happens when either the exit(int)
                                                                                method is called or the surrounding system decides to terminate the
         •    The program exits normally, when the last non-daemon thread       application, for example in response to a CTRL-C or a system-wide
              exits or when the exit (equivalently, System.exit) method is      shutdown. A termination of the virtual machine due to the halt(int)
              invoked, or                                                       method, an Error or a SIGKILL, in contrast, is not considered a proper
                                                                                shutdown. In these cases the shutdown hooks will not be run.
         •    The virtual machine is terminated in response to a user
              interrupt, such as typing ^C, or a system-wide event, such as     Shutdown hooks are run concurrently and in an unspecified order. Hooks
              user logoff or system shutdown.                                   failing due to an unhandled exception are not a problem, but the stack
                                                                                trace might be printed to the console. Once initiated, the whole shutdown
     A shutdown hook is simply an initialized but unstarted thread. When        process can only be terminated by calling halt().
     the virtual machine begins its shutdown sequence it will start all
     registered shutdown hooks in some unspecified order and let them run       If runFinalizersOnExit(boolean) has been called with a true
     concurrently. When all the hooks have finished it will then run all        argument, garbage collection and finalization will take place after all hooks
                                                                                are either finished or have failed. Then the virtual machine terminates.
     uninvoked finalizers if finalization-on-exit has been enabled. Finally,
     the virtual machine will halt. Note that daemon threads will continue to   It is recommended that shutdown hooks do not do any time-consuming
     run during the shutdown sequence, as will non-daemon threads if            activities, in order to not hold up the shutdown process longer than
     shutdown was initiated by invoking the exit method.                        necessary.

     Once the shutdown sequence has begun it can be stopped only by             Parameters
     invoking the halt method, which forcibly terminates the virtual                 hook      the shutdown hook to register.
     machine.                                                                   Throws
                                                                                     IllegalArgumentException      if the hook has already been started or
     Once the shutdown sequence has begun it is impossible to register a                                           if it has already been registered.
     new shutdown hook or de-register a previously-registered hook.
     Attempting either of these operations will cause an                             IllegalStateException         if the virtual machine is already shutting
     IllegalStateException to be thrown.
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      JavaTM 2 Platform Standard Edition 5.0 API Specification                                      Android APIs
                        (java.lang.Runtime)                                                      (java.lang.Runtime)
Shutdown hooks run at a delicate time in the life cycle of a virtual                                  down.
machine and should therefore be coded defensively. They should, in
particular, be written to be thread-safe and to avoid deadlocks insofar as   SecurityException        if a SecurityManager is registered and
possible. They should also not rely blindly upon services that may have                               the calling code doesn't have the
                                                                                                      RuntimePermission("shutdownHooks").
registered their own shutdown hooks and therefore may themselves in
the process of shutting down.

Shutdown hooks should also finish their work quickly. When a
program invokes exit the expectation is that the virtual machine will
promptly shut down and exit. When the virtual machine is terminated
due to user logoff or system shutdown the underlying operating system
may only allow a fixed amount of time in which to shut down and exit.
It is therefore inadvisable to attempt any user interaction or to perform
a long-running computation in a shutdown hook.

Uncaught exceptions are handled in shutdown hooks just as in any
other thread, by invoking the uncaughtException method of the
thread's ThreadGroup object. The default implementation of this
method prints the exception's stack trace to System.err and terminates
the thread; it does not cause the virtual machine to exit or halt.

In rare circumstances the virtual machine may abort, that is, stop
running without shutting down cleanly. This occurs when the virtual
machine is terminated externally, for example with the SIGKILL signal
on Unix or the TerminateProcess call on Microsoft Windows. The
virtual machine may also abort if a native method goes awry by, for
example, corrupting internal data structures or attempting to access
nonexistent memory. If the virtual machine aborts then no guarantee
can be made about whether or not any shutdown hooks will be run.

Parameters:
hook - An initialized but unstarted Thread object

Throws:
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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                             Android APIs
                               (java.lang.Runtime)                                                             (java.lang.Runtime)
      IllegalArgumentException - If the specified hook has already been
      registered, or if it can be determined that the hook is already running or
      has already been run
      IllegalStateException - If the virtual machine is already in the
      process of shutting down
      SecurityException - If a security manager is present and it denies
      RuntimePermission("shutdownHooks")
      Since:
      1.3
      See Also:
      removeShutdownHook(java.lang.Thread), halt(int), exit(int)


availableProcessors                                                                public int availableProcessors ()

public int availableProcessors()                                                   Since: API Level 1

      Returns the number of processors available to the Java virtual machine.
                                                                                   Returns the number of processors available to the virtual machine.
      This value may change during a particular invocation of the virtual
      machine. Applications that are sensitive to the number of available          Returns
      processors should therefore occasionally poll this property and adjust                the number of available processors, at least 1.
      their resource usage appropriately.

      Returns:
      the maximum number of processors available to the virtual machine;
      never smaller than one
      Since:
      1.4




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                               (java.lang.Runtime)                                                                (java.lang.Runtime)
exit
                                                                                    public Process exec (String[] progArray, String[] envp)
public void exit(int status)
                                                                               Since: API Level 1
       Terminates the currently running Java virtual machine by initiating its
       shutdown sequence. This method never returns normally. The argument
                                                                               Executes the specified command and its arguments in a separate native
       serves as a status code; by convention, a nonzero status code indicates process. The new process uses the environment provided in envp. Calling
       abnormal termination.                                                   this method is equivalent to calling exec(progArray, envp, null).

       The virtual machine's shutdown sequence consists of two phases. In the       Parameters
       first phase all registered shutdown hooks, if any, are started in some
                                                                                         progArray       the array containing the program to execute as well as
       unspecified order and allowed to run concurrently until they finish. In                           any arguments to the program.
       the second phase all uninvoked finalizers are run if finalization-on-
       exit has been enabled. Once this is done the virtual machine halts.               envp            the array containing the environment to start the new
                                                                                                         process in.
       If this method is invoked after the virtual machine has begun its
       shutdown sequence then if shutdown hooks are being run this method           Returns
       will block indefinitely. If shutdown hooks have already been run and                  the new Process object that represents the native process.
       on-exit finalization has been enabled then this method halts the virtual     Throws
       machine with the given status code if the status is nonzero; otherwise, it
                                                                                         IOException             if the requested program can not be executed.
       blocks indefinitely.
                                                                                         SecurityException       if the current SecurityManager disallows
       The System.exit method is the conventional and convenient means of                                        program execution.
       invoking this method.
                                                                                    See Also
       Parameters:
                                                                                             checkExec(String)
       status - Termination status. By convention, a nonzero status code
       indicates abnormal termination.
       Throws:                                                                      public Process exec (String prog, String[] envp, File directory)
       SecurityException - If a security manager is present and its                 Since: API Level 1

       checkExit method does not permit exiting with the specified status
                                                                                    Executes the specified program in a separate native process. The new
       See Also:
                                                                                    process uses the environment provided in envp and the working directory
       SecurityException, SecurityManager.checkExit(int),                           specified by directory.
       addShutdownHook(java.lang.Thread),
       removeShutdownHook(java.lang.Thread),                                        Parameters
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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                            Android APIs
                               (java.lang.Runtime)                                                            (java.lang.Runtime)
       runFinalizersOnExit(boolean), halt(int)                                     prog            the name of the program to execute.

…                                                                                  envp            the array containing the environment to start the new
                                                                                                   process in.

exec                                                                               directory       the directory in which to execute the program. If null,
                                                                                                   execute if in the same directory as the parent process.
public Process exec(String command)
             throws IOException
                                                                              Returns
       Executes the specified string command in a separate process.
                                                                                       the new Process object that represents the native process.
       This is a convenience method. An invocation of the form                Throws
       exec(command) behaves in exactly the same way as the invocation             IOException              if the requested program can not be executed.
       exec(command, null, null).
                                                                                   SecurityException        if the current SecurityManager disallows
       Parameters:                                                                                          program execution.
       command - a specified system command.
       Returns:                                                               See Also
       A new Process object for managing the subprocess                                checkExec(String)
       Throws:
       SecurityException - If a security manager exists and its checkExec     public Process exec (String[] progArray, String[] envp, File directory)
       method doesn't allow creation of the subprocess                        Since: API Level 1
       IOException - If an I/O error occurs
       NullPointerException - If command is null                              Executes the specified command and its arguments in a separate native
       IllegalArgumentException - If command is empty                         process. The new process uses the environment provided in envp and the
       See Also:                                                              working directory specified by directory.
       exec(String[], String[], File), ProcessBuilder
                                                                              Parameters
exec                                                                               progArray        the array containing the program to execute as well as
                                                                                                    any arguments to the program.
public Process exec(String command,
                    String[] envp)                                                 envp             the array containing the environment to start the new
             throws IOException                                                                     process in.
       Executes the specified string command in a separate process with the
       specified environment.

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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                               (java.lang.Runtime)                                                              (java.lang.Runtime)
                                                                                      directory       the directory in which to execute the program. If null,
       This is a convenience method. An invocation of the form                                        execute if in the same directory as the parent process.
       exec(command, envp) behaves in exactly the same way as the
       invocation exec(command, envp, null).                                     Returns
                                                                                          the new Process object that represents the native process.
       Parameters:                                                               Throws
       command - a specified system command.                                          IOException             if the requested program can not be executed.
       envp - array of strings, each element of which has environment variable
       settings in the format name=value, or null if the subprocess should            SecurityException       if the current SecurityManager disallows
       inherit the environment of the current process.                                                        program execution.
       Returns:
       A new Process object for managing the subprocess                          See Also
       Throws:                                                                            checkExec(String)
       SecurityException - If a security manager exists and its checkExec
       method doesn't allow creation of the subprocess
                                                                                 public Process exec (String prog, String[] envp)
       IOException - If an I/O error occurs
                                                                                 Since: API Level 1
       NullPointerException - If command is null, or one of the elements
       of envp is null                                                           Executes the specified program in a separate native process. The new
       IllegalArgumentException - If command is empty                            process uses the environment provided in envp. Calling this method is
       See Also:                                                                 equivalent to calling exec(prog, envp, null).
       exec(String[], String[], File), ProcessBuilder
                                                                                 Parameters
exec                                                                                  prog      the name of the program to execute.
public Process exec(String command,
                    String[] envp,                                                    envp      the array containing the environment to start the new
                    File dir)                                                                   process in.
             throws IOException
       Executes the specified string command in a separate process with the      Returns
       specified environment and working directory.                                       the new Process object that represents the native process.
                                                                                 Throws
       This is a convenience method. An invocation of the form                        IOException             if the requested program can not be executed.
       exec(command, envp, dir) behaves in exactly the same way as the
       invocation exec(cmdarray, envp, dir), where cmdarray is an array

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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                             Android APIs
                               (java.lang.Runtime)                                                             (java.lang.Runtime)
       of all the tokens in command.                                                   SecurityException      if the current SecurityManager disallows
                                                                                                              program execution.
       More precisely, the command string is broken into tokens using a
       StringTokenizer created by the call new                                    See Also
       StringTokenizer(command) with no further modification of the                        checkExec(String)
       character categories. The tokens produced by the tokenizer are then
       placed in the new string array cmdarray, in the same order.                public Process exec (String prog)
                                                                                  Since: API Level 1
       Parameters:
       command - a specified system command.                                      Executes the specified program in a separate native process. The new
       envp - array of strings, each element of which has environment variable    process inherits the environment of the caller. Calling this method is
       settings in the format name=value, or null if the subprocess should        equivalent to calling exec(prog, null, null).
       inherit the environment of the current process.
       dir - the working directory of the subprocess, or null if the subprocess   Parameters
       should inherit the working directory of the current process.                    prog      the name of the program to execute.
       Returns:
       A new Process object for managing the subprocess                           Returns
       Throws:                                                                             the new Process object that represents the native process.
       SecurityException - If a security manager exists and its checkExec         Throws
       method doesn't allow creation of the subprocess                                 IOException            if the requested program can not be executed.
       IOException - If an I/O error occurs
       NullPointerException - If command is null, or one of the elements               SecurityException      if the current SecurityManager disallows
       of envp is null                                                                                        program execution.
       IllegalArgumentException - If command is empty
       Since:                                                                     See Also
       1.3                                                                                 checkExec(String)
       See Also:
       ProcessBuilder
                                                                                  public Process exec (String[] progArray)
exec                                                                              Since: API Level 1

public Process exec(String[] cmdarray)                                            Executes the specified command and its arguments in a separate native
             throws IOException                                                   process. The new process inherits the environment of the caller. Calling
       Executes the specified command and arguments in a separate process.        this method is equivalent to calling exec(progArray, null, null).

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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                          Android APIs
                               (java.lang.Runtime)                                                          (java.lang.Runtime)
                                                                             Parameters
       This is a convenience method. An invocation of the form                    progArray       the array containing the program to execute as well as
       exec(cmdarray) behaves in exactly the same way as the invocation                           any arguments to the program.
       exec(cmdarray, null, null).
                                                                             Returns
       Parameters:                                                                    the new Process object that represents the native process.
       cmdarray - array containing the command to call and its arguments.    Throws
       Returns:                                                                   IOException              if the requested program can not be executed.
       A new Process object for managing the subprocess
       Throws:                                                                    SecurityException        if the current SecurityManager disallows
       SecurityException - If a security manager exists and its checkExec                                  program execution.
       method doesn't allow creation of the subprocess
       IOException - If an I/O error occurs                                  See Also
       NullPointerException - If cmdarray is null, or one of the elements
                                                                                      checkExec(String)
       of cmdarray is null
       IndexOutOfBoundsException - If cmdarray is an empty array (has
                                                                             public void exit (int code)
       length 0)
                                                                             Since: API Level 1
       See Also:
       ProcessBuilder
                                                                             Causes the virtual machine to stop running and the program to exit. If
                                                                             runFinalizersOnExit(boolean) has been previously invoked with a
exec                                                                         true argument, then all objects will be properly garbage-collected and
public Process exec(String[] cmdarray,                                       finalized first.
                    String[] envp)
             throws IOException                                              Parameters
       Executes the specified command and arguments in a separate process         code      the return code. By convention, non-zero return codes
       with the specified environment.                                                      indicate abnormal terminations.

       This is a convenience method. An invocation of the form               Throws
       exec(cmdarray, envp) behaves in exactly the same way as the                SecurityException        if the current SecurityManager does not
       invocation exec(cmdarray, envp, null).                                                              allow the running thread to terminate the virtual
                                                                                                           machine.
       Parameters:
       cmdarray - array containing the command to call and its arguments.    See Also

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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                 Android APIs
                               (java.lang.Runtime)                                                 (java.lang.Runtime)
       envp - array of strings, each element of which has environment variable    checkExit(int)
       settings in the format name=value, or null if the subprocess should
       inherit the environment of the current process.
       Returns:
       A new Process object for managing the subprocess
       Throws:
       SecurityException - If a security manager exists and its checkExec
       method doesn't allow creation of the subprocess
       IOException - If an I/O error occurs
       NullPointerException - If cmdarray is null, or one of the elements
       of cmdarray is null, or one of the elements of envp is null
       IndexOutOfBoundsException - If cmdarray is an empty array (has
       length 0)
       See Also:
       ProcessBuilder

exec
public Process exec(String[] cmdarray,
                    String[] envp,
                    File dir)
             throws IOException
       Executes the specified command and arguments in a separate process
       with the specified environment and working directory.

       Given an array of strings cmdarray, representing the tokens of a
       command line, and an array of strings envp, representing
       "environment" variable settings, this method creates a new process in
       which to execute the specified command.

       This method checks that cmdarray is a valid operating system
       command. Which commands are valid is system-dependent, but at the
       very least the command must be a non-empty list of non-null strings.

       If envp is null, the subprocess inherits the environment settings of the
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                         (java.lang.Runtime)                                       (java.lang.Runtime)
current process.

ProcessBuilder.start() is now the preferred way to start a process
with a modified environment.

The working directory of the new subprocess is specified by dir. If dir
is null, the subprocess inherits the current working directory of the
current process.

If a security manager exists, its checkExec method is invoked with the
first component of the array cmdarray as its argument. This may result
in a SecurityException being thrown.

Starting an operating system process is highly system-dependent.
Among the many things that can go wrong are:

   •    The operating system program file was not found.
   •    Access to the program file was denied.
   •    The working directory does not exist.

In such cases an exception will be thrown. The exact nature of the
exception is system-dependent, but it will always be a subclass of
IOException.

Parameters:
cmdarray - array containing the command to call and its arguments.
envp - array of strings, each element of which has environment variable
settings in the format name=value, or null if the subprocess should
inherit the environment of the current process.
dir - the working directory of the subprocess, or null if the subprocess
should inherit the working directory of the current process.
Returns:
A new Process object for managing the subprocess
Throws:
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                        (java.lang.Runtime)                                       (java.lang.Runtime)
SecurityException - If a security manager exists and its checkExec
method doesn't allow creation of the subprocess
IOException - If an I/O error occurs
NullPointerException - If cmdarray is null, or one of the elements
of cmdarray is null, or one of the elements of envp is null
IndexOutOfBoundsException - If cmdarray is an empty array (has
length 0)
Since:
1.3
See Also:
ProcessBuilder




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                        Android APIs
                               (java.lang.Runtime)                                                        (java.lang.Runtime)
freeMemory
                                                                              public long freeMemory ()
public long freeMemory()
                                                                              Since: API Level 1
     Returns the amount of free memory in the Java Virtual Machine.
     Calling the gc method may result in increasing the value returned by
     freeMemory.                                                              Returns the amount of free memory resources which are available to the
                                                                              running program.
     Returns:
     an approximation to the total amount of memory currently available for
                                                                              Returns
     future allocated objects, measured in bytes.
                                                                                       the approximate amount of free memory, measured in bytes.

gc
                                                                              public void gc ()
public void gc()
                                                                              Since: API Level 1
     Runs the garbage collector. Calling this method suggests that the Java
     virtual machine expend effort toward recycling unused objects in order
                                                                              Indicates to the virtual machine that it would be a good time to run the
     to make the memory they currently occupy available for quick reuse.      garbage collector. Note that this is a hint only. There is no guarantee that
     When control returns from the method call, the virtual machine has       the garbage collector will actually be run.
     made its best effort to recycle all discarded objects.

     The name gc stands for "garbage collector". The virtual machine
     performs this recycling process automatically as needed, in a separate
     thread, even if the gc method is not invoked explicitly.

     The method System.gc() is the conventional and convenient means of
     invoking this method.




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                              (java.lang.Runtime)                                                              (java.lang.Runtime)
getLocalizedInputStream
                                                                                 public InputStream getLocalizedInputStream (InputStream stream)
@Deprecated
public InputStream getLocalizedInputStream(InputStream in)                       Since: API Level 1
      Deprecated. As of JDK 1.1, the preferred way to translate a byte
      stream in the local encoding into a character stream in Unicode is via        This method is deprecated.
      the InputStreamReader and BufferedReader classes.                             Use InputStreamReader.
      Creates a localized version of an input stream. This method takes an
      InputStream and returns an InputStream equivalent to the argument          Returns the localized version of the specified input stream. The input
                                                                                 stream that is returned automatically converts all characters from the local
      in all respects except that it is localized: as characters in the local    character set to Unicode after reading them from the underlying stream.
      character set are read from the stream, they are automatically converted
      from the local character set to Unicode.                                   Parameters
                                                                                      stream      the input stream to localize.
      If the argument is already a localized stream, it may be returned as the
      result.
                                                                                 Returns
      Parameters:                                                                         the localized input stream.
      in - InputStream to localize
      Returns:
      a localized input stream
      See Also:
InputStream, BufferedReader.BufferedReader(java.io.Reader),
InputStreamReader.InputStreamReader(java.io.InputStream)




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                               Android APIs
                              (java.lang.Runtime)                                                               (java.lang.Runtime)
getLocalizedOutputStream
                                                                                  public OutputStream getLocalizedOutputStream (OutputStream
@Deprecated
                                                                                  stream)
public OutputStream getLocalizedOutputStream(OutputStream out)
      Deprecated. As of JDK 1.1, the preferred way to translate a Unicode         Since: API Level 1

      character stream into a byte stream in the local encoding is via the
      OutputStreamWriter, BufferedWriter, and PrintWriter classes.                   This method is deprecated.
      Creates a localized version of an output stream. This method takes an          Use OutputStreamWriter.
      OutputStream and returns an OutputStream equivalent to the
                                                                                  Returns the localized version of the specified output stream. The output
      argument in all respects except that it is localized: as Unicode            stream that is returned automatically converts all characters from Unicode
      characters are written to the stream, they are automatically converted to   to the local character set before writing them to the underlying stream.
      the local character set.
                                                                                  Parameters
      If the argument is already a localized stream, it may be returned as the         stream      the output stream to localize.
      result.
                                                                                  Returns
      Parameters:
      out - OutputStream to localize                                                       the localized output stream.
      Returns:
      a localized output stream
      See Also:
OutputStream, BufferedWriter.BufferedWriter(java.io.Writer),
OutputStreamWriter.OutputStreamWriter(java.io.OutputStream),
PrintWriter.PrintWriter(java.io.OutputStream)




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                           Android APIs
                               (java.lang.Runtime)                                                           (java.lang.Runtime)
getRuntime
                                                                                 public static Runtime getRuntime ()
public static Runtime getRuntime()
                                                                                 Since: API Level 1
      Returns the runtime object associated with the current Java application.
      Most of the methods of class Runtime are instance methods and must
                                                                                 Returns the single Runtime instance.
      be invoked with respect to the current runtime object.
      Returns:
                                                                                 Returns
      the Runtime object associated with the current Java application.
                                                                                          the Runtime object for the current application.




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                             Android APIs
                               (java.lang.Runtime)                                                             (java.lang.Runtime)
halt
                                                                                public void halt (int code)
public void halt(int status)
                                                                                Since: API Level 1
       Forcibly terminates the currently running Java virtual machine. This
       method never returns normally.
                                                                                Causes the virtual machine to stop running, and the program to exit.
                                                                                Neither shutdown hooks nor finalizers are run before.
       This method should be used with extreme caution. Unlike the exit
       method, this method does not cause shutdown hooks to be started and      Parameters
       does not run uninvoked finalizers if finalization-on-exit has been
                                                                                     code      the return code. By convention, non-zero return codes
       enabled. If the shutdown sequence has already been initiated then this                  indicate abnormal terminations.
       method does not wait for any running shutdown hooks or finalizers to
       finish their work.                                                       Throws
                                                                                     SecurityException        if the current SecurityManager does not
       Parameters:                                                                                            allow the running thread to terminate the virtual
       status - Termination status. By convention, a nonzero status code                                      machine.
       indicates abnormal termination. If the exit (equivalently,
       System.exit) method has already been invoked then this status code       See Also
       will override the status code passed to that method.                              checkExit(int)
       Throws:
                                                                                         addShutdownHook(Thread)
       SecurityException - If a security manager is present and its
                                                                                         removeShutdownHook(Thread)
       checkExit method does not permit an exit with the specified status
       Since:                                                                            runFinalizersOnExit(boolean)
       1.3
       See Also:
       exit(int), addShutdownHook(java.lang.Thread),
       removeShutdownHook(java.lang.Thread)




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                            Android APIs
                               (java.lang.Runtime)                                                            (java.lang.Runtime)
load
                                                                                public void load (String pathName)
public void load(String filename)
                                                                                Since: API Level 1
       Loads the specified filename as a dynamic library. The filename
       argument must be a complete path name. From java_g it will
                                                                                Loads and links the dynamic library that is identified through the specified
       automagically insert "_g" before the ".so" (for example                  path. This method is similar to loadLibrary(String), but it accepts a
       Runtime.getRuntime().load("/home/avh/lib/libX11.so");).                  full path specification whereas loadLibrary just accepts the name of the
                                                                                library to load.
       First, if there is a security manager, its checkLink method is called
       with the filename as its argument. This may result in a security         Parameters
       exception.                                                                    pathName        the absolute (platform dependent) path to the library to
                                                                                                     load.
       This is similar to the method loadLibrary(String), but it accepts a
       general file name as an argument rather than just a library name,        Throws
       allowing any file of native code to be loaded.                                UnsatisfiedLinkError      if the library can not be loaded.

       The method System.load(String) is the conventional and convenient             SecurityException         if the current SecurityManager does not
       means of invoking this method.                                                                          allow to load the library.

      Parameters:                                                               See Also
      filename - the file to load.                                                       checkLink(String)
      Throws:
      SecurityException - if a security manager exists and its checkLink
      method doesn't allow loading of the specified dynamic library
      UnsatisfiedLinkError - if the file does not exist.
      NullPointerException - if filename is null
      See Also:
getRuntime(), SecurityException,
SecurityManager.checkLink(java.lang.String)




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              JavaTM 2 Platform Standard Edition 5.0 API Specification                                               Android APIs
                                (java.lang.Runtime)                                                               (java.lang.Runtime)
loadLibrary
                                                                                 public void loadLibrary (String libName)
public void loadLibrary(String libname)
                                                                                 Since: API Level 1
      Loads the dynamic library with the specified library name. A file
      containing native code is loaded from the local file system from a place
                                                                                 Loads and links the library with the specified name. The mapping of the
      where library files are conventionally obtained. The details of this       specified library name to the full path for loading the library is
      process are implementation-dependent. The mapping from a library           implementation-dependent.
      name to a specific filename is done in a system-specific manner.
                                                                                 Parameters
      First, if there is a security manager, its checkLink method is called           libName         the name of the library to load.
      with the libname as its argument. This may result in a security
      exception.                                                                 Throws
                                                                                      UnsatisfiedLinkError        if the library can not be loaded.
      The method System.loadLibrary(String) is the conventional and
      convenient means of invoking this method. If native methods are to be           SecurityException           if the current SecurityManager does not
      used in the implementation of a class, a standard strategy is to put the                                    allow to load the library.
      native code in a library file (call it LibFile) and then to put a static
      initializer:                                                               See Also
                                                                                          checkLink(String)
       static { System.loadLibrary("LibFile"); }

      within the class declaration. When the class is loaded and initialized,
      the necessary native code implementation for the native methods will
      then be loaded as well.

      If this method is called more than once with the same library name, the
      second and subsequent calls are ignored.

      Parameters:
      libname - the name of the library.
      Throws:
      SecurityException - if a security manager exists and its checkLink
      method doesn't allow loading of the specified dynamic library
      UnsatisfiedLinkError - if the library does not exist.

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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                       Android APIs
                              (java.lang.Runtime)                                                       (java.lang.Runtime)
      NullPointerException - if libname is null
      See Also:
SecurityException, SecurityManager.checkLink(java.lang.String)

maxMemory
                                                                            public long maxMemory ()
public long maxMemory()
                                                                            Since: API Level 1
      Returns the maximum amount of memory that the Java virtual machine
      will attempt to use. If there is no inherent limit then the value
                                                                            Returns the maximum amount of memory that may be used by the virtual
      Long.MAX VALUE will be returned.                                      machine, or Long.MAX_VALUE if there is no such limit.
      Returns:
      the maximum amount of memory that the virtual machine will attempt    Returns
      to use, measured in bytes
      Since:                                                                         the maximum amount of memory that the virtual machine will try to
      1.4                                                                            allocate, measured in bytes.




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                        Android APIs
                              (java.lang.Runtime)                                                        (java.lang.Runtime)
removeShutdownHook
                                                                            public boolean removeShutdownHook (Thread hook)
public boolean removeShutdownHook(Thread hook)
                                                                            Since: API Level 1
     De-registers a previously-registered virtual-machine shutdown hook.
     Parameters:
                                                                            Unregisters a previously registered virtual machine shutdown hook.
     hook - the hook to remove
     Returns:
                                                                            Parameters
     true if the specified hook had previously been registered and was
                                                                                 hook      the shutdown hook to remove.
     successfully de-registered, false otherwise.
     Throws:
                                                                            Returns
     IllegalStateException - If the virtual machine is already in the
     process of shutting down                                                        true if the hook has been removed successfully; false
     SecurityException - If a security manager is present and it denies              otherwise.
     RuntimePermission("shutdownHooks")                                     Throws
     Since:                                                                      IllegalStateException    if the virtual machine is already shutting
     1.3                                                                                                  down.
     See Also:
     addShutdownHook(java.lang.Thread), exit(int)                                SecurityException        if a SecurityManager is registered and the
                                                                                                          calling code doesn't have the
                                                                                                          RuntimePermission("shutdownHooks").




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                          Android APIs
                               (java.lang.Runtime)                                                          (java.lang.Runtime)
runFinalization
                                                                                public void runFinalization ()
public void runFinalization()
                                                                                Since: API Level 1
      Runs the finalization methods of any objects pending finalization.
      Calling this method suggests that the Java virtual machine expend
                                                                                Provides a hint to the virtual machine that it would be useful to attempt to
      effort toward running the finalize methods of objects that have been      perform any outstanding object finalization.
      found to be discarded but whose finalize methods have not yet been
      run. When control returns from the method call, the virtual machine has
      made a best effort to complete all outstanding finalizations.

      The virtual machine performs the finalization process automatically as
      needed, in a separate thread, if the runFinalization method is not
      invoked explicitly.

      The method System.runFinalization() is the conventional and
      convenient means of invoking this method.

      See Also:
Object.finalize()




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                               Android APIs
                              (java.lang.Runtime)                                                               (java.lang.Runtime)
runFinalizersOnExit
                                                                                  public static void runFinalizersOnExit (boolean run)
@Deprecated
public static void runFinalizersOnExit(boolean value)                             Since: API Level 1
      Deprecated. This method is inherently unsafe. It may result in
      finalizers being called on live objects while other threads are                This method is deprecated.
      concurrently manipulating those objects, resulting in erratic behavior         This method is unsafe.
      or deadlock.
      Enable or disable finalization on exit; doing so specifies that the         Sets the flag that indicates whether all objects are finalized when the
      finalizers of all objects that have finalizers that have not yet been       virtual machine is about to exit. Note that all finalization which occurs
                                                                                  when the system is exiting is performed after all running threads have
      automatically invoked are to be run before the Java runtime exits. By       been terminated.
      default, finalization on exit is disabled.
                                                                                  Parameters
      If there is a security manager, its checkExit method is first called with
                                                                                       run     true to enable finalization on exit, false to disable it.
      0 as its argument to ensure the exit is allowed. This could result in a
      SecurityException.

      Parameters:
      value - true to enable finalization on exit, false to disable
      Throws:
      SecurityException - if a security manager exists and its checkExit
      method doesn't allow the exit.
      Since:
      JDK1.1
      See Also:
      exit(int), gc(), SecurityManager.checkExit(int)




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                               (java.lang.Runtime)                                                              (java.lang.Runtime)
totalMemory
                                                                                  public long totalMemory ()
public long totalMemory()
                                                                                  Since: API Level 1
      Returns the total amount of memory in the Java virtual machine. The
      value returned by this method may vary over time, depending on the
                                                                                  Returns the total amount of memory which is available to the running
      host environment.                                                           program.

      Note that the amount of memory required to hold an object of any given Returns
      type may be implementation-dependent.
                                                                                           the total amount of memory, measured in bytes.
      Returns:
      the total amount of memory currently available for current and future
      objects, measured in bytes.


traceInstructions
                                                                                  public void traceInstructions (boolean enable)
public void traceInstructions(boolean on)
                                                                                  Since: API Level 1
      Enables/Disables tracing of instructions. If the boolean argument is
      true, this method suggests that the Java virtual machine emit
                                                                                  Switches the output of debug information for instructions on or off. On
      debugging information for each instruction in the virtual machine as it     Android, this method does nothing.
      is executed. The format of this information, and the file or other output
      stream to which it is emitted, depends on the host environment. The         Parameters
      virtual machine may ignore this request if it does not support this
                                                                                       enable      true to switch tracing on, false to switch it off.
      feature. The destination of the trace output is system dependent.

      If the boolean argument is false, this method causes the virtual
      machine to stop performing the detailed instruction trace it is
      performing.

      Parameters:
      on - true to enable instruction tracing; false to disable this feature.




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                             Android APIs
                              (java.lang.Runtime)                                                             (java.lang.Runtime)
traceMethodCalls
                                                                                public void traceMethodCalls (boolean enable)
public void traceMethodCalls(boolean on)
                                                                                Since: API Level 1
      Enables/Disables tracing of method calls. If the boolean argument is
      true, this method suggests that the Java virtual machine emit
                                                                                Switches the output of debug information for methods on or off.
      debugging information for each method in the virtual machine as it is
      called. The format of this information, and the file or other output
                                                                                Parameters
      stream to which it is emitted, depends on the host environment. The
                                                                                     enable      true to switch tracing on, false to switch it off.
      virtual machine may ignore this request if it does not support this
      feature.

      Calling this method with argument false suggests that the virtual
      machine cease emitting per-call debugging information.

      Parameters:
      on - true to enable instruction tracing; false to disable this feature.




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                                                  Exhibit Copyright-G
 Java™ 2 Platform Standard Edition 5.0 API Specification                                Android Source Code3
            (java.security.ProtectionDomain)                     dalvik/libcore/security/src/main/java/java/security/ProtectionDomain.java
                                                                public ProtectionDomain(CodeSource cs,
Constructor Summary                                             PermissionCollection permissions) {
ProtectionDomain(CodeSource codesource,                                 this.codeSource = cs;
PermissionCollection permissions)                                       if (permissions != null) {
     Creates a new ProtectionDomain with the given                          permissions.setReadOnly();
                                                                        }
CodeSource and Permissions.
                                                                        this.permissions = permissions;
                                                                        //this.classLoader = null;
                                                                        //this.principals = null;
                                                                        //dynamicPerms = false;
                                                                    }
ProtectionDomain(CodeSource codesource,                         public ProtectionDomain(CodeSource cs,
PermissionCollection permissions,                               PermissionCollection permissions,
ClassLoader classloader, Principal[] principals)                            ClassLoader cl, Principal[]
     Creates a new ProtectionDomain qualified by the given      principals) {
CodeSource, Permissions, ClassLoader and array of Principals.           this.codeSource = cs;
                                                                        if (permissions != null) {
                                                                            permissions.setReadOnly();
                                                                        }
                                                                        this.permissions = permissions;
                                                                        this.classLoader = cl;
                                                                        if (principals != null) {
                                                                            this.principals = new
                                                                Principal[principals.length];
                                                                            System.arraycopy(principals, 0,
                                                                this.principals, 0,
                                                                                    this.principals.length);
                                                                        }
                                                                        dynamicPerms = true;
                                                                    }
                                                                public final ClassLoader getClassLoader() {
Method Summary                                                          return classLoader;
 ClassLoader getClassLoader()                                       }
                     Returns the ClassLoader of this
                domain.
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 CodeSource getCodeSource()                                         public final CodeSource getCodeSource() {
                      Returns the CodeSource of this domain.            return codeSource;
                                                                    }
 PermissionCollection getPermissions()                              public final PermissionCollection
                                 Returns the static             getPermissions() {
                                                                        return permissions;
                            permissions granted to this
                                                                    }
                            domain.
 Principal[] getPrincipals()                                        public final Principal[] getPrincipals() {
                      Returns an array of principals for this           if( principals == null ) {
                                                                             return new Principal[0];
                 domain.
                                                                        }
                                                                        Principal[] tmp = new
                                                                Principal[principals.length];
                                                                        System.arraycopy(principals, 0, tmp, 0,
                                                                tmp.length);
                                                                        return tmp;
                                                                    }
 boolean implies(Permission permission)                             public boolean implies(Permission permission)
                   Check and see if this ProtectionDomain       {
                                                                        // First, test with the Policy, as the
             implies the permissions expressed in the
                                                                default Policy.implies()
             Permission object.                                         // checks for both dynamic and static
                                                                collections of the
                                                                        // ProtectionDomain passed...
                                                                        if (dynamicPerms
                                                                                 &&
                                                                Policy.getAccessiblePolicy().implies(this,
                                                                permission)) {
                                                                             return true;
                                                                        }
 String toString()                                                 public String toString() {
                 Convert a ProtectionDomain to a String.                StringBuilder buf = new
                                                                StringBuilder(200);
                                                                        buf.append("ProtectionDomain\n"); //$NON-
                                                                NLS-1$
                                                                        buf.append("CodeSource=").append( //$NON-
                                                                NLS-1$
                                                                                 codeSource == null ? "<null>" :
                                                                codeSource.toString()).append( //$NON-NLS-1$

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                                                               "\n"); //$NON-NLS-1$
                                                       buf.append("ClassLoader=").append( //$NON-
                                              NLS-1$
                                                               classLoader == null ? "<null>" :
                                              classLoader.toString()) //$NON-NLS-1$
                                                               .append("\n"); //$NON-NLS-1$
                                                      if (principals == null ||
                                              principals.length == 0) {
                                                          buf.append("<no principals>\n");
                                              //$NON-NLS-1$
                                                      } else {
                                                          buf.append("Principals: <\n"); //$NON-
                                              NLS-1$
                                                          for (int i = 0; i < principals.length;
                                              i++) {
                                                               buf.append("\t").append( //$NON-
                                              NLS-1$
                                                                       principals[i] == null ?
                                              "<null>" : principals[i] //$NON-NLS-1$

                                              .toString()).append("\n"); //$NON-NLS-1$
                                                          }
                                                          buf.append(">"); //$NON-NLS-1$
                                                      }

                                                       //permissions here
                                                       buf.append("Permissions:\n"); //$NON-NLS-
                                              1$
                                                      if (permissions == null) {
                                                          buf.append("\t\t<no static
                                              permissions>\n"); //$NON-NLS-1$
                                                      } else {
                                                          buf.append("\t\tstatic:
                                              ").append(permissions.toString()).append( //$NON-
                                              NLS-1$
                                                                  "\n"); //$NON-NLS-1$
                                                      }

                                                       if (dynamicPerms) {
                                                           if (Policy.isSet()) {

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                                                              PermissionCollection perms;
                                                              perms =
                                              Policy.getAccessiblePolicy().getPermissions(this);
                                                              if (perms == null) {
                                                                   buf.append("\t\t<no dynamic
                                              permissions>\n"); //$NON-NLS-1$
                                                              } else {
                                                                   buf.append("\t\tdynamic:
                                              ").append(perms.toString()) //$NON-NLS-1$
                                                                           .append("\n"); //$NON-
                                              NLS-1$
                                                              }
                                                          } else {
                                                              buf.append("\t\t<no dynamic
                                              permissions>\n"); //$NON-NLS-1$
                                                          }
                                                      }
                                                      return buf.toString();
                                                  }




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                                                   Exhibit Copyright-H
                                         ProtectionDomain.java from Android 2.2 (“Froyo”)
/*
 *    Licensed to the Apache Software Foundation (ASF) under one or more
 *    contributor license agreements. See the NOTICE file distributed with
 *    this work for additional information regarding copyright ownership.
 *    The ASF licenses this file to You under the Apache License, Version 2.0
 *    (the "License"); you may not use this file except in compliance with
 *    the License. You may obtain a copy of the License at
 *
 *      http://www.apache.org/licenses/LICENSE-2.0
 *
 *    Unless required by applicable law or agreed to in writing, software
 *    distributed under the License is distributed on an "AS IS" BASIS,
 *    WITHOUT WARRANTIES OR CONDITIONS OF ANY KIND, either express or implied.
 *    See the License for the specific language governing permissions and
 *    limitations under the License.
 */

package java.security;

/**
 * {@code ProtectionDomain} represents all permissions that are granted to a
 * specific code source. The {@link ClassLoader} associates each class with the
 * corresponding {@code ProtectionDomain}, depending on the location and the
 * certificates (encapsulates in {@link CodeSource}) it loads the code from.
 * <p>
 * A class belongs to exactly one protection domain and the protection domain
 * can not be changed during the lifetime of the class.
 */
public class ProtectionDomain {

      // CodeSource for this ProtectionDomain
      private CodeSource codeSource;

      // Static permissions for this ProtectionDomain
      private PermissionCollection permissions;

      // ClassLoader
      private ClassLoader classLoader;

      // Set of principals associated with this ProtectionDomain
      private Principal[] principals;

      // false if this ProtectionDomain was constructed with static
      // permissions, true otherwise.
      private boolean dynamicPerms;
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    /**
     * Constructs a new instance of {@code ProtectionDomain} with the specified
     * code source and the specified static permissions.
     * <p>
     * If {@code permissions} is not {@code null}, the {@code permissions}
     * collection is made immutable by calling
     * {@link PermissionCollection#setReadOnly()} and it is considered as
     * granted statically to this {@code ProtectionDomain}.
     * <p>
     * The policy will not be consulted by access checks against this {@code
     * ProtectionDomain}.
     * <p>
     * If {@code permissions} is {@code null}, the method {@link
     * ProtectionDomain#implies(Permission)} always returns {@code false}.
     *
     * @param cs
     *            the code source associated with this domain, maybe {@code
     *            null}.
     * @param permissions
     *            the {@code PermissionCollection} containing all permissions to
     *            be statically granted to this {@code ProtectionDomain}, maybe
     *            {@code null}.
     */
    public ProtectionDomain(CodeSource cs, PermissionCollection permissions) {
        this.codeSource = cs;
        if (permissions != null) {
            permissions.setReadOnly();
        }
        this.permissions = permissions;
        //this.classLoader = null;
        //this.principals = null;
        //dynamicPerms = false;
    }

    /**
     * Constructs a new instance of {@code ProtectionDomain} with the specified
     * code source, the permissions, the class loader and the principals.
     * <p>
     * If {@code permissions} is {@code null}, and access checks are performed
     * against this protection domain, the permissions defined by the policy are
     * consulted. If {@code permissions} is not {@code null}, the {@code
     * permissions} collection is made immutable by calling
     * {@link PermissionCollection#setReadOnly()}. If access checks are
     * performed, the policy and the provided permission collection are checked.
     * <p>
     * External modifications of the provided {@code principals} array has no
     * impact on this {@code ProtectionDomain}.
     *

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     * @param cs
     *            the code source associated with this domain, maybe {@code
     *            null}.
     * @param permissions
     *            the permissions associated with this domain, maybe {@code
     *            null}.
     * @param cl
     *            the class loader associated with this domain, maybe {@code
     *            null}.
     * @param principals
     *            the principals associated with this domain, maybe {@code
     *            null}.
     */
    public ProtectionDomain(CodeSource cs, PermissionCollection permissions,
            ClassLoader cl, Principal[] principals) {
        this.codeSource = cs;
        if (permissions != null) {
            permissions.setReadOnly();
        }
        this.permissions = permissions;
        this.classLoader = cl;
        if (principals != null) {
            this.principals = new Principal[principals.length];
            System.arraycopy(principals, 0, this.principals, 0,
                    this.principals.length);
        }
        dynamicPerms = true;
    }

    /**
     * Returns the {@code ClassLoader} associated with this {@code
     * ProtectionDomain}.
     *
     * @return the {@code ClassLoader} associated with this {@code
     *         ProtectionDomain}, maybe {@code null}.
     */
    public final ClassLoader getClassLoader() {
        return classLoader;
    }

    /**
     * Returns the {@code CodeSource} of this {@code ProtectionDomain}.
     *
     * @return the {@code CodeSource} of this {@code ProtectionDomain}, maybe
     *         {@code null}.
     */
    public final CodeSource getCodeSource() {
        return codeSource;
    }

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    /**
     * Returns the static permissions that are granted to this {@code
     * ProtectionDomain}.
     *
     * @return the static permissions that are granted to this {@code
     *         ProtectionDomain}, maybe {@code null}.
     */
    public final PermissionCollection getPermissions() {
        return permissions;
    }

    /**
     * Returns the principals associated with this {@code ProtectionDomain}.
     * Modifications of the returned {@code Principal} array has no impact on
     * this {@code ProtectionDomain}.
     *
     * @return the principals associated with this {@code ProtectionDomain}.
     */
    public final Principal[] getPrincipals() {
        if( principals == null ) {
            return new Principal[0];
        }
        Principal[] tmp = new Principal[principals.length];
        System.arraycopy(principals, 0, tmp, 0, tmp.length);
        return tmp;
    }

    /**
     * Indicates whether the specified permission is implied by this {@code
     * ProtectionDomain}.
     * <p>
     * If this {@code ProtectionDomain} was constructed with
     * {@link #ProtectionDomain(CodeSource, PermissionCollection)}, the
     * specified permission is only checked against the permission collection
     * provided in the constructor. If {@code null} was provided, {@code false}
     * is returned.
     * <p>
     * If this {@code ProtectionDomain} was constructed with
     * {@link #ProtectionDomain(CodeSource, PermissionCollection, ClassLoader, Principal[])}
     * , the specified permission is checked against the policy and the
     * permission collection provided in the constructor.
     *
     * @param permission
     *            the permission to check against the domain.
     * @return {@code true} if the specified {@code permission} is implied by
     *         this {@code ProtectionDomain}, {@code false} otherwise.
     */
    public boolean implies(Permission permission) {

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         //   First, test with the Policy, as the default Policy.implies()
         //   checks for both dynamic and static collections of the
         //   ProtectionDomain passed...
         if   (dynamicPerms
                   && Policy.getAccessiblePolicy().implies(this, permission)) {
               return true;
         }

         // ... and we get here if
         // either the permissions are static
         // or Policy.implies() did not check for static permissions
         // or the permission is not implied
         return permissions == null ? false : permissions.implies(permission);
    }

    /**
     * Returns a string containing a concise, human-readable description of the
     * this {@code ProtectionDomain}.
     *
     * @return a printable representation for this {@code ProtectionDomain}.
     */
    @Override
    public String toString() {
        StringBuilder buf = new StringBuilder(200);
        buf.append("ProtectionDomain\n"); //$NON-NLS-1$
        buf.append("CodeSource=").append( //$NON-NLS-1$
                codeSource == null ? "<null>" : codeSource.toString()).append( //$NON-NLS-1$
                "\n"); //$NON-NLS-1$
        buf.append("ClassLoader=").append( //$NON-NLS-1$
                classLoader == null ? "<null>" : classLoader.toString()) //$NON-NLS-1$
                .append("\n"); //$NON-NLS-1$
        if (principals == null || principals.length == 0) {
            buf.append("<no principals>\n"); //$NON-NLS-1$
        } else {
            buf.append("Principals: <\n"); //$NON-NLS-1$
            for (int i = 0; i < principals.length; i++) {
                buf.append("\t").append( //$NON-NLS-1$
                        principals[i] == null ? "<null>" : principals[i] //$NON-NLS-1$
                                .toString()).append("\n"); //$NON-NLS-1$
            }
            buf.append(">"); //$NON-NLS-1$
        }

         //permissions here
         buf.append("Permissions:\n"); //$NON-NLS-1$
         if (permissions == null) {
             buf.append("\t\t<no static permissions>\n"); //$NON-NLS-1$
         } else {
             buf.append("\t\tstatic: ").append(permissions.toString()).append( //$NON-NLS-1$

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                    "\n"); //$NON-NLS-1$
         }

         if (dynamicPerms) {
             if (Policy.isSet()) {
                 PermissionCollection perms;
                 perms = Policy.getAccessiblePolicy().getPermissions(this);
                 if (perms == null) {
                     buf.append("\t\t<no dynamic permissions>\n"); //$NON-NLS-1$
                 } else {
                     buf.append("\t\tdynamic: ").append(perms.toString()) //$NON-NLS-1$
                             .append("\n"); //$NON-NLS-1$
                 }
             } else {
                 buf.append("\t\t<no dynamic permissions>\n"); //$NON-NLS-1$
             }
         }
         return buf.toString();
    }
}




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                                            Exhibit Copyright-I
                                    readme.txt from SGH-I897_OpenSource.tar.gz

How to build


1. Get android open soxurce.
    : version info - Android eclair 2.1 (android-2.1_r2)
     ( Download site : http://source.android.com )

2. Overwrite modules that you want to build.

3. Add the following lines at the end of build/target/board/generic/BoardConfig.mk

BOARD_HAVE_BLUETOOTH := true
BT_USE_BTL_IF := true
BT_ALT_STACK := true
BRCM_BTL_INCLUDE_A2DP := true
BRCM_BT_USE_BTL_IF := true

4. make update-api

5. make




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                                                                   Exhibit Copyright-J
PolicyNodeImpl.jad (decompiled version of Oracle PolicyNodeImpl.class)                                PolicyNodeImpl.java (Android version)
                  [spacing adjusted for comparison]                                                     [spacing adjusted for comparison]
//   Decompiled by Jad v1.5.8g. Copyright 2001 Pavel Kouznetsov.                /*
//   Jad home page: http://www.kpdus.com/jad.html                                *    Licensed to the Apache Software Foundation (ASF) under one or more
//   Decompiler options: fieldsfirst nonlb                                       *    contributor license agreements. See the NOTICE file distributed with
//   Source File Name:   PolicyNodeImpl.java                                     *    this work for additional information regarding copyright ownership.
                                                                                 *    The ASF licenses this file to You under the Apache License, Version 2.0
                                                                                 *    (the "License"); you may not use this file except in compliance with
                                                                                 *    the License. You may obtain a copy of the License at
                                                                                 *
                                                                                 *       http://www.apache.org/licenses/LICENSE-2.0
                                                                                 *
                                                                                 *    Unless required by applicable law or agreed to in writing, software
                                                                                 *    distributed under the License is distributed on an "AS IS" BASIS,
                                                                                 *    WITHOUT WARRANTIES OR CONDITIONS OF ANY KIND, either express or implied.
                                                                                 *    See the License for the specific language governing permissions and
                                                                                 *    limitations under the License.
                                                                                 */

package sun.security.provider.certpath;                                         package org.apache.harmony.security.tests.support.cert;

import   java.security.cert.PolicyNode;                                         import java.security.cert.PolicyNode;
import   java.util.Collections;                                                 import java.util.*;
import   java.util.HashSet;
import   java.util.Iterator;
import   java.util.Set;

final class PolicyNodeImpl                                                      public class PolicyNodeImpl implements PolicyNode {
    implements PolicyNode {
                                                                                      private   static final String ANY_POLICY = "2.5.29.32.0";
      private   static final String ANY_POLICY = "2.5.29.32.0";                       private   PolicyNodeImpl mParent;
      private   PolicyNodeImpl mParent;                                               private   HashSet mChildren;
      private   HashSet mChildren;                                                    private   String mValidPolicy;
      private   String mValidPolicy;                                                  private   HashSet mQualifierSet;
      private   HashSet mQualifierSet;                                                private   boolean mCriticalityIndicator;
      private   boolean mCriticalityIndicator;                                        private   HashSet mExpectedPolicySet;
      private   HashSet mExpectedPolicySet;                                           private   boolean mOriginalExpectedPolicySet;
      private   boolean mOriginalExpectedPolicySet;                                   private   int mDepth;
      private   int mDepth;                                                           private   boolean isImmutable;
      private   boolean isImmutable;

    PolicyNodeImpl(PolicyNodeImpl policynodeimpl, String s, Set set, boolean    public PolicyNodeImpl(PolicyNodeImpl policynodeimpl, String s, Set set,
flag, Set set1, boolean flag1) {                                                                   boolean flag, Set set1, boolean flag1) {
        isImmutable = false;                                                            isImmutable = false;
        mParent = policynodeimpl;                                                       mParent = policynodeimpl;
        mChildren = new HashSet();                                                      mChildren = new HashSet();
        if(s != null)                                                                   if(s != null) {
             mValidPolicy = s;                                                              mValidPolicy = s;
        else                                                                            } else {
             mValidPolicy = "";                                                             mValidPolicy = "";
                                                                                        }
          if(set != null)                                                               if(set != null) {
               mQualifierSet = new HashSet(set);                                            mQualifierSet = new HashSet(set);
          else                                                                          } else {
               mQualifierSet = new HashSet();                                               mQualifierSet = new HashSet();
                                                                                        }
      mCriticalityIndicator = flag;                                                     mCriticalityIndicator = flag;
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PolicyNodeImpl.jad (decompiled version of Oracle PolicyNodeImpl.class)                        PolicyNodeImpl.java (Android version)
                  [spacing adjusted for comparison]                                             [spacing adjusted for comparison]
       if(set1 != null)                                                             if(set1 != null) {
            mExpectedPolicySet = new HashSet(set1);                                     mExpectedPolicySet = new HashSet(set1);
       else                                                                         } else {
            mExpectedPolicySet = new HashSet();                                         mExpectedPolicySet = new HashSet();
       mOriginalExpectedPolicySet = !flag1;                                         }
       if(mParent != null) {                                                        mOriginalExpectedPolicySet = !flag1;
            mDepth = mParent.getDepth() + 1;                                        if(mParent != null) {
            mParent.addChild(this);                                                     mDepth = mParent.getDepth() + 1;
       } else {                                                                         mParent.addChild(this);
            mDepth = 0;                                                             } else {
       }                                                                                mDepth = 0;
   }                                                                                }
                                                                                }

    PolicyNodeImpl(PolicyNodeImpl policynodeimpl, PolicyNodeImpl                PolicyNodeImpl(PolicyNodeImpl policynodeimpl,
policynodeimpl1) {                                                                             PolicyNodeImpl policynodeimpl1) {
        this(policynodeimpl, policynodeimpl1.mValidPolicy, ((Set)                   this(policynodeimpl, policynodeimpl1.mValidPolicy, ((Set)
(policynodeimpl1.mQualifierSet)), policynodeimpl1.mCriticalityIndicator,    (policynodeimpl1.mQualifierSet)), policynodeimpl1.mCriticalityIndicator,
((Set) (policynodeimpl1.mExpectedPolicySet)), false);                       ((Set) (policynodeimpl1.mExpectedPolicySet)), false);
    }                                                                           }

   public PolicyNode getParent() {                                              public PolicyNode getParent() {
       return mParent;                                                              return mParent;
   }                                                                            }

   public Iterator getChildren() {                                              public Iterator getChildren() {
       return Collections.unmodifiableSet(mChildren).iterator();                    return Collections.unmodifiableSet(mChildren).iterator();
   }                                                                            }

   public int getDepth() {                                                      public int getDepth() {
       return mDepth;                                                               return mDepth;
   }                                                                            }

   public String getValidPolicy() {                                             public String getValidPolicy() {
       return mValidPolicy;                                                         return mValidPolicy;
   }                                                                            }

   public Set getPolicyQualifiers() {                                           public Set getPolicyQualifiers() {
       return Collections.unmodifiableSet(mQualifierSet);                           return Collections.unmodifiableSet(mQualifierSet);
   }                                                                            }

   public Set getExpectedPolicies() {                                           public Set getExpectedPolicies() {
       return Collections.unmodifiableSet(mExpectedPolicySet);                      return Collections.unmodifiableSet(mExpectedPolicySet);
   }                                                                            }

   public boolean isCritical() {                                                public boolean isCritical() {
       return mCriticalityIndicator;                                                return mCriticalityIndicator;
   }                                                                            }

    public String toString() {                                                  public String toString() {
        StringBuffer stringbuffer = new StringBuffer(asString());                   StringBuffer stringbuffer = new StringBuffer(asString());
        for(Iterator iterator = getChildren(); iterator.hasNext();                  for(Iterator iterator = getChildren(); iterator.hasNext();
stringbuffer.append((PolicyNodeImpl)iterator.next()));                      stringbuffer.append((PolicyNodeImpl)iterator.next()));
        return stringbuffer.toString();                                             return stringbuffer.toString();
    }                                                                           }

   boolean isImmutable() {                                                      boolean isImmutable() {
       return isImmutable;                                                          return isImmutable;
   }                                                                            }
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PolicyNodeImpl.jad (decompiled version of Oracle PolicyNodeImpl.class)                            PolicyNodeImpl.java (Android version)
                  [spacing adjusted for comparison]                                                 [spacing adjusted for comparison]
    void setImmutable() {                                                           void setImmutable() {
        if(isImmutable)                                                                 if(isImmutable) return;
            return;
        PolicyNodeImpl policynodeimpl;                                                  PolicyNodeImpl policynodeimpl;
        for(Iterator iterator = mChildren.iterator(); iterator.hasNext();               for(Iterator iterator = mChildren.iterator(); iterator.hasNext();
policynodeimpl.setImmutable())                                                  policynodeimpl.setImmutable())
            policynodeimpl = (PolicyNodeImpl)iterator.next();                               policynodeimpl = (PolicyNodeImpl)iterator.next();

       isImmutable = true;                                                              isImmutable = true;
   }                                                                                }

   private void addChild(PolicyNodeImpl policynodeimpl) {                           private void addChild(PolicyNodeImpl policynodeimpl) {
       if(isImmutable) {                                                                if(isImmutable) {
           throw new IllegalStateException("PolicyNode is immutable");                      throw new IllegalStateException("PolicyNode is immutable");
       } else {                                                                         } else {
           mChildren.add(policynodeimpl);                                                   mChildren.add(policynodeimpl);
           return;                                                                          return;
       }                                                                                }
   }                                                                                }

   void addExpectedPolicy(String s) {                                               void addExpectedPolicy(String s) {
       if(isImmutable)                                                                  if(isImmutable)
           throw new IllegalStateException("PolicyNode is immutable");                      throw new IllegalStateException("PolicyNode is immutable");
       if(mOriginalExpectedPolicySet) {                                                 if(mOriginalExpectedPolicySet) {
           mExpectedPolicySet.clear();                                                      mExpectedPolicySet.clear();
           mOriginalExpectedPolicySet = false;                                              mOriginalExpectedPolicySet = false;
       }                                                                                }
       mExpectedPolicySet.add(s);                                                       mExpectedPolicySet.add(s);
   }                                                                                }

   void prune(int i) {                                                              void prune(int i) {
       if(isImmutable)                                                                  if(isImmutable)
            throw new IllegalStateException("PolicyNode is immutable");                      throw new IllegalStateException("PolicyNode is immutable");
       if(mChildren.size() == 0)                                                        if(mChildren.size() == 0)
            return;                                                                          return;
       Iterator iterator = mChildren.iterator();                                        Iterator iterator = mChildren.iterator();
       do {                                                                             do {
            if(!iterator.hasNext())                                                          if(!iterator.hasNext()) break;
                break;                                                                       PolicyNodeImpl policynodeimpl = (PolicyNodeImpl)iterator.next();
            PolicyNodeImpl policynodeimpl = (PolicyNodeImpl)iterator.next();                 policynodeimpl.prune(i);
            policynodeimpl.prune(i);                                                         if(policynodeimpl.mChildren.size() == 0 && i > mDepth + 1)
            if(policynodeimpl.mChildren.size() == 0 && i > mDepth + 1)                           iterator.remove();
                iterator.remove();                                                      } while(true);
       } while(true);                                                               }
   }

   void deleteChild(PolicyNode policynode) {                                        void deleteChild(PolicyNode policynode) {
       if(isImmutable) {                                                                if(isImmutable) {
           throw new IllegalStateException("PolicyNode is immutable");                      throw new IllegalStateException("PolicyNode is immutable");
       } else {                                                                         } else {
           mChildren.remove(policynode);                                                    mChildren.remove(policynode);
           return;                                                                          return;
       }                                                                                }
   }                                                                                }

   PolicyNodeImpl copyTree() {                                                      PolicyNodeImpl copyTree() {
       return copyTree(null);                                                           return copyTree(null);
   }                                                                                }
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PolicyNodeImpl.jad (decompiled version of Oracle PolicyNodeImpl.class)                           PolicyNodeImpl.java (Android version)
                  [spacing adjusted for comparison]                                                [spacing adjusted for comparison]
    private PolicyNodeImpl copyTree(PolicyNodeImpl policynodeimpl) {               private PolicyNodeImpl copyTree(PolicyNodeImpl policynodeimpl) {
        PolicyNodeImpl policynodeimpl1 = new PolicyNodeImpl(policynodeimpl,            PolicyNodeImpl policynodeimpl1 = new PolicyNodeImpl(policynodeimpl,
this);                                                                         this);
        PolicyNodeImpl policynodeimpl2;                                                PolicyNodeImpl policynodeimpl2;
        for(Iterator iterator = mChildren.iterator(); iterator.hasNext();              for(Iterator iterator = mChildren.iterator(); iterator.hasNext();
policynodeimpl2.copyTree(policynodeimpl1))                                     policynodeimpl2.copyTree(policynodeimpl1))
            policynodeimpl2 = (PolicyNodeImpl)iterator.next();                             policynodeimpl2 = (PolicyNodeImpl)iterator.next();

        return policynodeimpl1;                                                        return policynodeimpl1;
    }                                                                              }

    Set getPolicyNodes(int i) {                                                    Set getPolicyNodes(int i) {
        HashSet hashset = new HashSet();                                               HashSet hashset = new HashSet();
        getPolicyNodes(i, ((Set) (hashset)));                                          getPolicyNodes(i, ((Set) (hashset)));
        return hashset;                                                                return hashset;
    }                                                                              }

    private void getPolicyNodes(int i, Set set) {                                  private void getPolicyNodes(int i, Set set) {
        if(mDepth == i) {                                                              if(mDepth == i) {
            set.add(this);                                                                 set.add(this);
        } else {                                                                       } else {
            PolicyNodeImpl policynodeimpl;                                                 PolicyNodeImpl policynodeimpl;
            for(Iterator iterator = mChildren.iterator();                                  for(Iterator iterator = mChildren.iterator();
iterator.hasNext(); policynodeimpl.getPolicyNodes(i, set))                     iterator.hasNext(); policynodeimpl.getPolicyNodes(i, set))
                 policynodeimpl = (PolicyNodeImpl)iterator.next();                              policynodeimpl = (PolicyNodeImpl)iterator.next();

        }                                                                              }
    }                                                                              }

    Set getPolicyNodesExpected(int i, String s, boolean flag) {                    Set getPolicyNodesExpected(int i, String s, boolean flag) {
        if(s.equals("2.5.29.32.0"))                                                    if(s.equals("2.5.29.32.0"))
             return getPolicyNodes(i);                                                      return getPolicyNodes(i);
        else                                                                           else
             return getPolicyNodesExpectedHelper(i, s, flag);                               return getPolicyNodesExpectedHelper(i, s, flag);
    }                                                                              }

    private Set getPolicyNodesExpectedHelper(int i, String s, boolean flag)        private Set getPolicyNodesExpectedHelper(int i, String s, boolean flag)
{                                                                              {
        HashSet hashset = new HashSet();                                               HashSet hashset = new HashSet();
        if(mDepth < i) {                                                               if(mDepth < i) {
            PolicyNodeImpl policynodeimpl;                                                 PolicyNodeImpl policynodeimpl;
            for(Iterator iterator = mChildren.iterator();                                  for(Iterator iterator = mChildren.iterator();
iterator.hasNext();                                                            iterator.hasNext();
hashset.addAll(policynodeimpl.getPolicyNodesExpectedHelper(i, s, flag)))       hashset.addAll(policynodeimpl.getPolicyNodesExpectedHelper(i, s, flag)))
                policynodeimpl = (PolicyNodeImpl)iterator.next();                              policynodeimpl = (PolicyNodeImpl)iterator.next();

        } else                                                                         } else if(flag) {
        if(flag) {
            if(mExpectedPolicySet.contains("2.5.29.32.0"))                                 if(mExpectedPolicySet.contains("2.5.29.32.0"))
                hashset.add(this);                                                             hashset.add(this);
        } else                                                                         } else if(mExpectedPolicySet.contains(s)) {
        if(mExpectedPolicySet.contains(s))                                                 hashset.add(this);
            hashset.add(this);                                                         }
        return hashset;                                                                return hashset;
    }                                                                              }

    Set getPolicyNodesValid(int i, String s) {                                     Set getPolicyNodesValid(int i, String s) {
        HashSet hashset = new HashSet();                                               HashSet hashset = new HashSet();
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PolicyNodeImpl.jad (decompiled version of Oracle PolicyNodeImpl.class)                        PolicyNodeImpl.java (Android version)
                  [spacing adjusted for comparison]                                             [spacing adjusted for comparison]
        if(mDepth < i) {                                                            if(mDepth < i) {
            PolicyNodeImpl policynodeimpl;                                              PolicyNodeImpl policynodeimpl;
            for(Iterator iterator = mChildren.iterator();                               for(Iterator iterator = mChildren.iterator();
iterator.hasNext(); hashset.addAll(policynodeimpl.getPolicyNodesValid(i,    iterator.hasNext(); hashset.addAll(policynodeimpl.getPolicyNodesValid(i,
s)))                                                                        s)))
                policynodeimpl = (PolicyNodeImpl)iterator.next();                           policynodeimpl = (PolicyNodeImpl)iterator.next();

        } else                                                                      } else if(mValidPolicy.equals(s)) {
        if(mValidPolicy.equals(s))                                                      hashset.add(this);
            hashset.add(this);                                                      }
        return hashset;                                                             return hashset;
    }                                                                           }

    private static String policyToString(String s) {                            private static String policyToString(String s) {
        if(s.equals("2.5.29.32.0"))                                                 if(s.equals("2.5.29.32.0")) {
             return "anyPolicy";                                                        return "anyPolicy";
        else                                                                        } else {
             return s;                                                                  return s;
    }                                                                               }
                                                                                }
    String asString() {
        if(mParent == null)                                                     String asString() {
            return "anyPolicy ROOT\n";                                              if(mParent == null)
        StringBuffer stringbuffer = new StringBuffer();                                 return "anyPolicy ROOT\n";
        int i = 0;                                                                  StringBuffer stringbuffer = new StringBuffer();
        for(int j = getDepth(); i < j; i++)                                         int i = 0;
            stringbuffer.append(" ");                                               for(int j = getDepth(); i < j; i++)
                                                                                        stringbuffer.append(" ");
        stringbuffer.append(policyToString(getValidPolicy()));
        stringbuffer.append(" CRIT: ");                                             stringbuffer.append(policyToString(getValidPolicy()));
        stringbuffer.append(isCritical());                                          stringbuffer.append(" CRIT: ");
        stringbuffer.append(" EP: ");                                               stringbuffer.append(isCritical());
        for(Iterator iterator = getExpectedPolicies().iterator();                   stringbuffer.append(" EP: ");
iterator.hasNext(); stringbuffer.append(" ")) {                                     for(Iterator iterator = getExpectedPolicies().iterator();
            String s = (String)iterator.next();                             iterator.hasNext(); stringbuffer.append(" ")) {
            stringbuffer.append(policyToString(s));                                     String s = (String)iterator.next();
        }                                                                               stringbuffer.append(policyToString(s));
                                                                                    }
        stringbuffer.append(" (");
        stringbuffer.append(getDepth());                                            stringbuffer.append(" (");
        stringbuffer.append(")\n");                                                 stringbuffer.append(getDepth());
        return stringbuffer.toString();                                             stringbuffer.append(")\n");
    }                                                                               return stringbuffer.toString();
}                                                                               }
                                                                            }




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                                                                   Exhibit Copyright-K
     AclEntryImpl.jad (decompiled version of Oracle AclEntryImpl.class)                             AclEntryImpl.java (Android version)
                     [spacing adjusted for comparison]                                               [spacing adjusted for comparison]
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                                                                              */

package sun.security.acl;                                                    package org.apache.harmony.security.tests.support.acl;

import   java.security.Principal;                                            import   java.security.Principal;
import   java.security.acl.AclEntry;                                         import   java.security.acl.*;
import   java.security.acl.Group;                                            import   java.util.Enumeration;
import   java.security.acl.Permission;                                       import   java.util.Vector;
import   java.util.Enumeration;
import   java.util.Vector;                                                   /**
                                                                              * Additional class for verification AclEntry interface
public class AclEntryImpl                                                     */
    implements AclEntry {                                                    public class AclEntryImpl implements AclEntry {

      private Principal user;                                                      private Principal user;
      private Vector permissionSet;                                                private Vector permissionSet;
      private boolean negative;                                                    private boolean negative;

      public AclEntryImpl(Principal principal) {                                   public AclEntryImpl(Principal principal) {
          user = null;                                                                 user = null;
          permissionSet = new Vector(10, 10);                                          permissionSet = new Vector(10, 10);
          negative = false;                                                            negative = false;
          user = principal;                                                            user = principal;
      }                                                                            }

      public AclEntryImpl() {                                                      public AclEntryImpl() {
          user = null;                                                                 user = null;
          permissionSet = new Vector(10, 10);                                          permissionSet = new Vector(10, 10);
          negative = false;                                                            negative = false;
      }                                                                            }

      public boolean   setPrincipal(Principal principal) {                         public boolean   setPrincipal(Principal principal) {
          if(user !=   null) {                                                         if(user !=   null) {
              return   false;                                                              return   false;
          } else {                                                                     } else {
              user =   principal;                                                          user =   principal;
              return   true;                                                               return   true;
          }                                                                            }
      }                                                                            }

      public void setNegativePermissions() {                                       public void setNegativePermissions() {

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   AclEntryImpl.jad (decompiled version of Oracle AclEntryImpl.class)                             AclEntryImpl.java (Android version)
                   [spacing adjusted for comparison]                                               [spacing adjusted for comparison]
        negative = true;                                                               negative = true;
    }                                                                              }

    public boolean isNegative() {                                                  public boolean isNegative() {
        return negative;                                                               return negative;
    }                                                                              }

    public boolean addPermission(Permission permission) {                          public boolean addPermission(Permission permission) {
        if(permissionSet.contains(permission)) {                                       if(permissionSet.contains(permission)) {
            return false;                                                                  return false;
        } else {                                                                       } else {
            permissionSet.addElement(permission);                                          permissionSet.addElement(permission);
            return true;                                                                   return true;
        }                                                                              }
    }                                                                              }

    public boolean removePermission(Permission permission) {                       public boolean removePermission(Permission permission) {
        return permissionSet.removeElement(permission);                                return permissionSet.removeElement(permission);
    }                                                                              }

    public boolean checkPermission(Permission permission) {                        public boolean checkPermission(Permission permission) {
        return permissionSet.contains(permission);                                     return permissionSet.contains(permission);
    }                                                                              }

    public Enumeration permissions() {                                             public Enumeration permissions() {
        return permissionSet.elements();                                               return permissionSet.elements();
    }                                                                              }

    public String toString() {                                                     public String toString() {
        StringBuffer stringbuffer = new StringBuffer();                                StringBuffer stringbuffer = new StringBuffer();
        if(negative)                                                                   if(negative)
             stringbuffer.append("-");                                                      stringbuffer.append("-");
        else                                                                           else
             stringbuffer.append("+");                                                      stringbuffer.append("+");
        if(user instanceof Group)                                                      if(user instanceof Group)
             stringbuffer.append("Group.");                                                 stringbuffer.append("Group.");
        else                                                                           else
             stringbuffer.append("User.");                                                  stringbuffer.append("User.");
        stringbuffer.append((new                                                       stringbuffer.append((new
StringBuilder()).append(user).append("=").toString());                         StringBuilder()).append(user).append("=").toString());
        Enumeration enumeration = permissions();                                       Enumeration enumeration = permissions();
        do {                                                                           do {
             if(!enumeration.hasMoreElements())                                             if(!enumeration.hasMoreElements())
                 break;                                                                         break;
             Permission permission = (Permission)enumeration.nextElement();                 Permission permission = (Permission)enumeration.nextElement();
             stringbuffer.append(permission);                                               stringbuffer.append(permission);
             if(enumeration.hasMoreElements())                                              if(enumeration.hasMoreElements())
                 stringbuffer.append(",");                                                      stringbuffer.append(",");
        } while(true);                                                                 } while(true);
        return new String(stringbuffer);                                               return new String(stringbuffer);
    }                                                                              }

    public synchronized Object clone() {                                           public synchronized Object clone() {
        AclEntryImpl aclentryimpl = new AclEntryImpl(user);                            AclEntryImpl aclentryimpl = new AclEntryImpl(user);
        aclentryimpl.permissionSet = (Vector)permissionSet.clone();                    aclentryimpl.permissionSet = (Vector)permissionSet.clone();
        aclentryimpl.negative = negative;                                              aclentryimpl.negative = negative;
        return aclentryimpl;                                                           return aclentryimpl;
    }                                                                              }

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    AclEntryImpl.jad (decompiled version of Oracle AclEntryImpl.class)                       AclEntryImpl.java (Android version)
                    [spacing adjusted for comparison]                                         [spacing adjusted for comparison]
    public Principal getPrincipal() {                                         public Principal getPrincipal() {
        return user;                                                              return user;
    }                                                                         }
}                                                                         }




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                                                                   Exhibit Copyright-L
           AclImpl.jad (decompiled version of Oracle AclImpl.class)                                    AclImpl.java (Android version)
                      [spacing adjusted for comparison]                                               [spacing adjusted for comparison]
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                                                                              */

package sun.security.acl;                                                    package org.apache.harmony.security.tests.support.acl;

import   java.security.Principal;                                            import java.security.Principal;
import   java.security.acl.Acl;                                              import java.security.acl.*;
import   java.security.acl.AclEntry;                                         import java.util.*;
import   java.security.acl.Group;
import   java.security.acl.NotOwnerException;                                /**
import   java.security.acl.Permission;                                        * Additional class for verification Acl interface
import   java.util.Enumeration;                                               */
import   java.util.Hashtable;
import   java.util.Vector;

// Referenced classes of package sun.security.acl:
//            OwnerImpl, AclEnumerator

public class AclImpl extends OwnerImpl                                       public class AclImpl extends OwnerImpl implements Acl {
    implements Acl {

      private   Hashtable allowedUsersTable;                                       private   Hashtable allowedUsersTable;
      private   Hashtable allowedGroupsTable;                                      private   Hashtable allowedGroupsTable;
      private   Hashtable deniedUsersTable;                                        private   Hashtable deniedUsersTable;
      private   Hashtable deniedGroupsTable;                                       private   Hashtable deniedGroupsTable;
      private   String aclName;                                                    private   String aclName;
      private   Vector zeroSet;                                                    private   Vector zeroSet;

      public AclImpl(Principal principal, String s) {                              public AclImpl(Principal principal, String s) {
          super(principal);                                                            super(principal);
          allowedUsersTable = new Hashtable(23);                                       allowedUsersTable = new Hashtable(23);
          allowedGroupsTable = new Hashtable(23);                                      allowedGroupsTable = new Hashtable(23);
          deniedUsersTable = new Hashtable(23);                                        deniedUsersTable = new Hashtable(23);
          deniedGroupsTable = new Hashtable(23);                                       deniedGroupsTable = new Hashtable(23);
          aclName = null;                                                              aclName = null;
          zeroSet = new Vector(1, 1);                                                  zeroSet = new Vector(1, 1);
          try {                                                                        try {
              setName(principal, s);                                                       setName(principal, s);
          }                                                                            } catch(Exception exception) { }
          catch(Exception exception) { }                                           }
      }


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         AclImpl.jad (decompiled version of Oracle AclImpl.class)                                     AclImpl.java (Android version)
                    [spacing adjusted for comparison]                                                [spacing adjusted for comparison]
    public void setName(Principal principal, String s) throws                       public void setName(Principal principal, String s)
NotOwnerException {                                                                              throws NotOwnerException {
        if(!isOwner(principal)) {                                                       if(!isOwner(principal)) {
            throw new NotOwnerException();                                                  throw new NotOwnerException();
        } else {                                                                        } else {
            aclName = s;                                                                    aclName = s;
            return;                                                                         return;
        }                                                                               }
    }                                                                               }

   public String getName() {                                                        public String getName() {
       return aclName;                                                                  return aclName;
   }                                                                                }

    public synchronized boolean addEntry(Principal principal, AclEntry              public synchronized boolean addEntry(Principal principal, AclEntry
aclentry) throws NotOwnerException {                                            aclentry)
        if(!isOwner(principal))                                                                                 throws NotOwnerException {
            throw new NotOwnerException();                                              if(!isOwner(principal)) throw new NotOwnerException();
        Hashtable hashtable = findTable(aclentry);                                      Hashtable hashtable = findTable(aclentry);
        Principal principal1 = aclentry.getPrincipal();                                 Principal principal1 = aclentry.getPrincipal();
        if(hashtable.get(principal1) != null) {                                         if(hashtable.get(principal1) != null) {
            return false;                                                                   return false;
        } else {                                                                        } else {
            hashtable.put(principal1, aclentry);                                            hashtable.put(principal1, aclentry);
            return true;                                                                    return true;
        }                                                                               }
    }                                                                               }

    public synchronized boolean removeEntry(Principal principal, AclEntry           public synchronized boolean removeEntry(Principal principal, AclEntry
aclentry) throws NotOwnerException {                                            aclentry)
        if(!isOwner(principal)) {                                                                               throws NotOwnerException {
            throw new NotOwnerException();                                              if(!isOwner(principal)) {
        } else {                                                                            throw new NotOwnerException();
            Hashtable hashtable = findTable(aclentry);                                  } else {
            Principal principal1 = aclentry.getPrincipal();                                 Hashtable hashtable = findTable(aclentry);
            Object obj = hashtable.remove(principal1);                                      Principal principal1 = aclentry.getPrincipal();
            return obj != null;                                                             Object obj = hashtable.remove(principal1);
        }                                                                                   return obj != null;
    }                                                                                   }
                                                                                    }

    public synchronized Enumeration getPermissions(Principal principal) {           public synchronized Enumeration getPermissions(Principal principal) {
        Enumeration enumeration2 = subtract(getGroupPositive(principal),                Enumeration enumeration2 = subtract(getGroupPositive(principal),
getGroupNegative(principal));                                                   getGroupNegative(principal));
        Enumeration enumeration3 = subtract(getGroupNegative(principal),                Enumeration enumeration3 = subtract(getGroupNegative(principal),
getGroupPositive(principal));                                                   getGroupPositive(principal));
        Enumeration enumeration = subtract(getIndividualPositive(principal),            Enumeration enumeration = subtract(getIndividualPositive(principal),
getIndividualNegative(principal));                                              getIndividualNegative(principal));
        Enumeration enumeration1 =                                                      Enumeration enumeration1 =
subtract(getIndividualNegative(principal),                                      subtract(getIndividualNegative(principal),
getIndividualPositive(principal));                                              getIndividualPositive(principal));
        Enumeration enumeration4 = subtract(enumeration2, enumeration1);                Enumeration enumeration4 = subtract(enumeration2, enumeration1);
        Enumeration enumeration5 = union(enumeration, enumeration4);                    Enumeration enumeration5 = union(enumeration, enumeration4);
        enumeration = subtract(getIndividualPositive(principal),                        enumeration = subtract(getIndividualPositive(principal),
getIndividualNegative(principal));                                              getIndividualNegative(principal));
        enumeration1 = subtract(getIndividualNegative(principal),                       enumeration1 = subtract(getIndividualNegative(principal),
getIndividualPositive(principal));                                              getIndividualPositive(principal));
        enumeration4 = subtract(enumeration3, enumeration);                             enumeration4 = subtract(enumeration3, enumeration);
        Enumeration enumeration6 = union(enumeration1, enumeration4);                   Enumeration enumeration6 = union(enumeration1, enumeration4);
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         AclImpl.jad (decompiled version of Oracle AclImpl.class)                                    AclImpl.java (Android version)
                    [spacing adjusted for comparison]                                               [spacing adjusted for comparison]
       return subtract(enumeration5, enumeration6);                                    return subtract(enumeration5, enumeration6);
   }                                                                               }

    public boolean checkPermission(Principal principal, Permission                 public boolean checkPermission(Principal principal, Permission
permission) {                                                                  permission) {
        for(Enumeration enumeration = getPermissions(principal);                       for(Enumeration enumeration = getPermissions(principal);
enumeration.hasMoreElements();) {                                              enumeration.hasMoreElements();) {
            Permission permission1 = (Permission)enumeration.nextElement();                Permission permission1 = (Permission)enumeration.nextElement();
            if(permission1.equals(permission))                                             if(permission1.equals(permission))
                return true;                                                                   return true;
        }                                                                              }
                                                                                       return false;
       return false;                                                               }
   }
                                                                                   public synchronized Enumeration entries() {
    public synchronized Enumeration entries() {                                        return new AclEnumerator(this, allowedUsersTable,
        return new AclEnumerator(this, allowedUsersTable,                      allowedGroupsTable, deniedUsersTable, deniedGroupsTable);
allowedGroupsTable, deniedUsersTable, deniedGroupsTable);                          }
    }
                                                                                   public String toString() {
    public String toString() {                                                         StringBuffer stringbuffer = new StringBuffer();
        StringBuffer stringbuffer = new StringBuffer();                                for(Enumeration enumeration = entries();
        for(Enumeration enumeration = entries();                               enumeration.hasMoreElements(); stringbuffer.append("\n")) {
enumeration.hasMoreElements(); stringbuffer.append("\n")) {                                AclEntry aclentry = (AclEntry)enumeration.nextElement();
            AclEntry aclentry = (AclEntry)enumeration.nextElement();                       stringbuffer.append(aclentry.toString().trim());
            stringbuffer.append(aclentry.toString().trim());                           }
        }                                                                              return stringbuffer.toString();
                                                                                   }
       return stringbuffer.toString();
   }

   private Hashtable findTable(AclEntry aclentry) {                                private Hashtable findTable(AclEntry aclentry) {
       Hashtable hashtable = null;                                                     Hashtable hashtable = null;
       Principal principal = aclentry.getPrincipal();                                  Principal principal = aclentry.getPrincipal();
       if(principal instanceof Group) {                                                if(principal instanceof Group) {
            if(aclentry.isNegative())                                                       if(aclentry.isNegative())
                 hashtable = deniedGroupsTable;                                                  hashtable = deniedGroupsTable;
            else                                                                            else
                 hashtable = allowedGroupsTable;                                                 hashtable = allowedGroupsTable;
       } else                                                                          } else
       if(aclentry.isNegative())                                                       if(aclentry.isNegative())
            hashtable = deniedUsersTable;                                                   hashtable = deniedUsersTable;
       else                                                                            else
            hashtable = allowedUsersTable;                                                  hashtable = allowedUsersTable;
       return hashtable;                                                               return hashtable;
   }                                                                               }

    private static Enumeration union(Enumeration enumeration, Enumeration          private static Enumeration union(Enumeration enumeration, Enumeration
enumeration1) {                                                                enumeration1) {
        Vector vector = new Vector(20, 20);                                            Vector vector = new Vector(20, 20);
        for(; enumeration.hasMoreElements();                                           for(; enumeration.hasMoreElements();
vector.addElement(enumeration.nextElement()));                                 vector.addElement(enumeration.nextElement()));
        do {                                                                           do {
             if(!enumeration1.hasMoreElements())                                            if(!enumeration1.hasMoreElements())
                 break;                                                                         break;
             Object obj = enumeration1.nextElement();                                       Object obj = enumeration1.nextElement();
             if(!vector.contains(obj))                                                      if(!vector.contains(obj))
                 vector.addElement(obj);                                                        vector.addElement(obj);
        } while(true);                                                                 } while(true);
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         AclImpl.jad (decompiled version of Oracle AclImpl.class)                                     AclImpl.java (Android version)
                    [spacing adjusted for comparison]                                                [spacing adjusted for comparison]
       return vector.elements();                                                        return vector.elements();
   }                                                                                }

    private Enumeration subtract(Enumeration enumeration, Enumeration               private Enumeration subtract(Enumeration enumeration, Enumeration
enumeration1) {                                                                 enumeration1) {
        Vector vector = new Vector(20, 20);                                             Vector vector = new Vector(20, 20);
        for(; enumeration.hasMoreElements();                                            for(; enumeration.hasMoreElements();
vector.addElement(enumeration.nextElement()));                                  vector.addElement(enumeration.nextElement()));
        do {                                                                            do {
             if(!enumeration1.hasMoreElements())                                             if(!enumeration1.hasMoreElements())
                 break;                                                                          break;
             Object obj = enumeration1.nextElement();                                        Object obj = enumeration1.nextElement();
             if(vector.contains(obj))                                                        if(vector.contains(obj))
                 vector.removeElement(obj);                                                      vector.removeElement(obj);
        } while(true);                                                                  } while(true);
        return vector.elements();                                                       return vector.elements();
    }                                                                               }

   private Enumeration getGroupPositive(Principal principal) {                      private Enumeration getGroupPositive(Principal principal) {
       Enumeration enumeration = zeroSet.elements();                                    Enumeration enumeration = zeroSet.elements();
       Enumeration enumeration1 = allowedGroupsTable.keys();                            Enumeration enumeration1 = allowedGroupsTable.keys();
       do {                                                                             do {
            if(!enumeration1.hasMoreElements())                                              if(!enumeration1.hasMoreElements())
                break;                                                                           break;
            Group group = (Group)enumeration1.nextElement();                                 Group group = (Group)enumeration1.nextElement();
            if(group.isMember(principal)) {                                                  if(group.isMember(principal)) {
                AclEntry aclentry = (AclEntry)allowedGroupsTable.get(group);                     AclEntry aclentry = (AclEntry)allowedGroupsTable.get(group);
                enumeration = union(aclentry.permissions(), enumeration);                        enumeration = union(aclentry.permissions(), enumeration);
            }                                                                                }
       } while(true);                                                                   } while(true);
       return enumeration;                                                              return enumeration;
   }                                                                                }

   private Enumeration getGroupNegative(Principal principal) {                      private Enumeration getGroupNegative(Principal principal) {
       Enumeration enumeration = zeroSet.elements();                                    Enumeration enumeration = zeroSet.elements();
       Enumeration enumeration1 = deniedGroupsTable.keys();                             Enumeration enumeration1 = deniedGroupsTable.keys();
       do {                                                                             do {
            if(!enumeration1.hasMoreElements())                                              if(!enumeration1.hasMoreElements())
                break;                                                                           break;
            Group group = (Group)enumeration1.nextElement();                                 Group group = (Group)enumeration1.nextElement();
            if(group.isMember(principal)) {                                                  if(group.isMember(principal)) {
                AclEntry aclentry = (AclEntry)deniedGroupsTable.get(group);                      AclEntry aclentry = (AclEntry)deniedGroupsTable.get(group);
                enumeration = union(aclentry.permissions(), enumeration);                        enumeration = union(aclentry.permissions(), enumeration);
            }                                                                                }
       } while(true);                                                                   } while(true);
       return enumeration;                                                              return enumeration;
   }                                                                                }

   private Enumeration getIndividualPositive(Principal principal) {                 private Enumeration getIndividualPositive(Principal principal) {
       Enumeration enumeration = zeroSet.elements();                                    Enumeration enumeration = zeroSet.elements();
       AclEntry aclentry = (AclEntry)allowedUsersTable.get(principal);                  AclEntry aclentry = (AclEntry)allowedUsersTable.get(principal);
       if(aclentry != null)                                                             if(aclentry != null)
           enumeration = aclentry.permissions();                                            enumeration = aclentry.permissions();
       return enumeration;                                                              return enumeration;
   }                                                                                }

   private Enumeration getIndividualNegative(Principal principal) {                 private Enumeration getIndividualNegative(Principal principal) {
       Enumeration enumeration = zeroSet.elements();                                    Enumeration enumeration = zeroSet.elements();
       AclEntry aclentry = (AclEntry)deniedUsersTable.get(principal);                   AclEntry aclentry = (AclEntry)deniedUsersTable.get(principal);
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         AclImpl.jad (decompiled version of Oracle AclImpl.class)                          AclImpl.java (Android version)
                    [spacing adjusted for comparison]                                     [spacing adjusted for comparison]
        if(aclentry != null)                                                 if(aclentry != null)
            enumeration = aclentry.permissions();                                enumeration = aclentry.permissions();
        return enumeration;                                                  return enumeration;
    }                                                                    }
}                                                                    }




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                                                                   Exhibit Copyright-M
         GroupImpl.jad (decompiled version of Oralce GroupImpl.class)                              GroupImpl.java (Android version)
                      [spacing adjusted for comparison]                                            [spacing adjusted for comparison]
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                                                                              */

package sun.security.acl;                                                    package org.apache.harmony.security.tests.support.acl;

import   java.security.Principal;                                            import   java.security.Principal;
import   java.security.acl.Group;                                            import   java.security.acl.Group;
import   java.util.Enumeration;                                              import   java.util.Enumeration;
import   java.util.Vector;                                                   import   java.util.Vector;

                                                                             /**
                                                                              * Additional class for verification Group interface
public class GroupImpl                                                        */
    implements Group {                                                       public class GroupImpl implements Group {

      private Vector groupMembers;                                                 private Vector groupMembers;
      private String group;                                                        private String group;

      public GroupImpl(String s) {                                                 public GroupImpl(String s) {
          groupMembers = new Vector(50, 100);                                          groupMembers = new Vector(50, 100);
          group = s;                                                                   group = s;
      }                                                                            }

      public boolean addMember(Principal principal) {                              public boolean addMember(Principal principal) {
          if(groupMembers.contains(principal))                                         if(groupMembers.contains(principal))
              return false;                                                                return false;
          if(group.equals(principal.toString())) {                                     if(group.equals(principal.toString())) {
              throw new IllegalArgumentException();                                        throw new IllegalArgumentException();
          } else {                                                                     } else {
              groupMembers.addElement(principal);                                          groupMembers.addElement(principal);
              return true;                                                                 return true;
          }                                                                            }
      }                                                                            }

      public boolean removeMember(Principal principal) {                           public boolean removeMember(Principal principal) {
          return groupMembers.removeElement(principal);                                return groupMembers.removeElement(principal);
      }                                                                            }

      public Enumeration members() {                                               public Enumeration members() {
          return groupMembers.elements();                                              return groupMembers.elements();
      }                                                                            }


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      GroupImpl.jad (decompiled version of Oralce GroupImpl.class)                              GroupImpl.java (Android version)
                   [spacing adjusted for comparison]                                            [spacing adjusted for comparison]
   public boolean equals(Object obj) {                                          public boolean equals(Object obj) {
       if(this == obj)                                                              if(this == obj)
           return true;                                                                 return true;
       if(!(obj instanceof Group)) {                                                if(!(obj instanceof Group)) {
           return false;                                                                return false;
       } else {                                                                     } else {
           Group group1 = (Group)obj;                                                   Group group1 = (Group)obj;
           return group.equals(group1.toString());                                      return group.equals(group1.toString());
       }                                                                            }
   }                                                                            }

   public boolean equals(Group group1) {                                        public boolean equals(Group group1) {
       return equals(group1);                                                       return equals(group1);
   }                                                                            }

   public String toString() {                                                   public String toString() {
       return group;                                                                return group;
   }                                                                            }

   public int hashCode() {                                                      public int hashCode() {
       return group.hashCode();                                                     return group.hashCode();
   }                                                                            }

   public boolean isMember(Principal principal) {                               public boolean isMember(Principal principal) {
       if(groupMembers.contains(principal)) {                                       if(groupMembers.contains(principal)) {
           return true;                                                                 return true;
       } else {                                                                     } else {
           Vector vector = new Vector(10);                                              Vector vector = new Vector(10);
           return isMemberRecurse(principal, vector);                                   return isMemberRecurse(principal, vector);
       }                                                                            }
   }                                                                            }

   public String getName() {                                                    public String getName() {
       return group;                                                                return group;
   }                                                                            }

    boolean isMemberRecurse(Principal principal, Vector vector) {               boolean isMemberRecurse(Principal principal, Vector vector) {
        for(Enumeration enumeration = members();                                    for(Enumeration enumeration = members();
enumeration.hasMoreElements();) {                                           enumeration.hasMoreElements();) {
            boolean flag = false;                                                       boolean flag = false;
            Principal principal1 = (Principal)enumeration.nextElement();                Principal principal1 = (Principal)enumeration.nextElement();
            if(principal1.equals(principal))                                            if(principal1.equals(principal))
                return true;                                                                return true;
            if(principal1 instanceof GroupImpl) {                                       if(principal1 instanceof GroupImpl) {
                GroupImpl groupimpl = (GroupImpl)principal1;                                GroupImpl groupimpl = (GroupImpl)principal1;
                vector.addElement(this);                                                    vector.addElement(this);
                if(!vector.contains(groupimpl))                                             if(!vector.contains(groupimpl))
                    flag = groupimpl.isMemberRecurse(principal, vector);                        flag = groupimpl.isMemberRecurse(principal, vector);
            } else                                                                      } else if(principal1 instanceof Group) {
            if(principal1 instanceof Group) {                                               Group group1 = (Group)principal1;
                Group group1 = (Group)principal1;                                           if(!vector.contains(group1)) flag =
                if(!vector.contains(group1))                                group1.isMember(principal);
                    flag = group1.isMember(principal);                                  }
            }
            if(flag)                                                                    if(flag) return flag;
                return flag;                                                        }
        }                                                                           return false;
                                                                                }
       return false;                                                        }
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        GroupImpl.jad (decompiled version of Oralce GroupImpl.class)                GroupImpl.java (Android version)
                     [spacing adjusted for comparison]                              [spacing adjusted for comparison]
    }
}




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                                                                   Exhibit Copyright-N
          OwnerImpl.jad (decompiled version of Oracle OwnerImpl.class)                              OwnerImpl.java (Android version)
                       [spacing adjusted for comparison]                                            [spacing adjusted for comparison]
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                                                                              *    limitations under the License.
                                                                              */

package sun.security.acl;                                                    package org.apache.harmony.security.tests.support.acl;

import     java.security.Principal;                                          import java.security.Principal;
import     java.security.acl.Group;                                          import java.security.acl.*;
import     java.security.acl.LastOwnerException;                             import java.util.Enumeration;
import     java.security.acl.NotOwnerException;
import     java.security.acl.Owner;
import     java.util.Enumeration;

// Referenced classes of package sun.security.acl:                           /**
//            GroupImpl                                                       * Additional class for verification Owner interface
                                                                              */
public class OwnerImpl                                                       public class OwnerImpl implements Owner {
    implements Owner {

      private Group ownerGroup;                                                    private Group ownerGroup;

      public OwnerImpl(Principal principal) {                                      public OwnerImpl(Principal principal) {
          ownerGroup = new GroupImpl("AclOwners");                                     ownerGroup = new GroupImpl("AclOwners");
          ownerGroup.addMember(principal);                                             ownerGroup.addMember(principal);
      }                                                                            }

    public synchronized boolean addOwner(Principal principal, Principal          public synchronized boolean addOwner(Principal principal, Principal
principal1) throws NotOwnerException {                                       principal1)
                                                                                                             throws NotOwnerException {

            if(!isOwner(principal)) {                                                  if(!isOwner(principal))
                throw new NotOwnerException();                                         {
            } else {                                                                       throw new NotOwnerException();
                ownerGroup.addMember(principal1);                                      } else {
                return false;                                                              if (ownerGroup.isMember(principal1)) return false;
            }                                                                              if (!ownerGroup.isMember(principal1)) {
      }                                                                                         ownerGroup.addMember(principal1);
                                                                                                return true;
                                                                                           }
                                                                                       }
                                                                                       return false;
                                                                                   }


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        OwnerImpl.jad (decompiled version of Oracle OwnerImpl.class)                               OwnerImpl.java (Android version)
                     [spacing adjusted for comparison]                                             [spacing adjusted for comparison]
    public synchronized boolean deleteOwner(Principal principal, Principal         public synchronized boolean deleteOwner(Principal principal, Principal
principal1) throws NotOwnerException, LastOwnerException {                     principal1)
        if(!isOwner(principal))                                                                                throws NotOwnerException, LastOwnerException
            throw new NotOwnerException();                                     {

                                                                                       if(!isOwner(principal)) throw new NotOwnerException();
          Enumeration enumeration = ownerGroup.members();                              Enumeration enumeration = ownerGroup.members();
          Object obj = enumeration.nextElement();                                      Object obj = enumeration.nextElement();
          if(enumeration.hasMoreElements())                                            if(enumeration.hasMoreElements()) {
               return ownerGroup.removeMember(principal1);                                 return ownerGroup.removeMember(principal1);
          else                                                                         } else {
               throw new LastOwnerException();                                             throw new LastOwnerException();
    }                                                                                  }
                                                                                   }

    public synchronized boolean isOwner(Principal principal) {                     public synchronized boolean isOwner(Principal principal)
        return ownerGroup.isMember(principal);                                     {
    }                                                                                  return ownerGroup.isMember(principal);
}                                                                                  }
                                                                               }




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                                                                   Exhibit Copyright-O
    PermissionImpl.jad (decompiled version of Oracle PermissionImpl.class)                         PermissionImpl.java (Android version)
                      [spacing adjusted for comparison]                                              [spacing adjusted for comparison]
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                                                                                */

package sun.security.acl;                                                      package org.apache.harmony.security.tests.support.acl;

import java.security.acl.Permission;                                           import java.security.acl.Permission;

                                                                               /**
                                                                                * Additional class for verification Permission interface
                                                                                */
public class PermissionImpl                                                    public class PermissionImpl implements Permission {
    implements Permission {

      private String permission;                                                     private String permission;

      public PermissionImpl(String s) {                                              public PermissionImpl(String s) {
          permission = s;                                                                permission = s;
      }                                                                              }

      public boolean equals(Object obj) {                                            public boolean equals(Object obj) {
          if(obj instanceof Permission) {                                                if(obj instanceof Permission) {
              Permission permission1 = (Permission)obj;                                      Permission permission1 = (Permission)obj;
              return permission.equals(permission1.toString());                              return permission.equals(permission1.toString());
          } else {                                                                       } else {
              return false;                                                                  return false;
          }                                                                              }
      }                                                                              }

      public String toString() {                                                     public String toString() {
          return permission;                                                             return permission;
      }                                                                              }

      public int hashCode() {                                                  /*      public int hashCode() {
          return toString().hashCode();                                                  return toString().hashCode();
      }                                                                              }*/
}                                                                              }




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                                                                   Exhibit Copyright-P
     PrincipalImpl.jad (decompiled version of Oracle PrincipalImpl.class)                          PrincipalImpl.java (Android version)
                      [spacing adjusted for comparison]                                             [spacing adjusted for comparison]
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                                                                               *    limitations under the License.
                                                                               */

package sun.security.acl;                                                     package org.apache.harmony.security.tests.support.acl;

import java.security.Principal;                                               import java.security.Principal;

                                                                              /**
                                                                               * Additional class for verification Principal interface
public class PrincipalImpl                                                     */
    implements Principal {                                                    public class PrincipalImpl implements Principal {

      private String user;                                                          private String user;

      public PrincipalImpl(String s) {                                              public PrincipalImpl(String s) {
          user = s;                                                                     user = s;
      }                                                                             }

      public boolean equals(Object obj) {                                           public boolean equals(Object obj) {
          if(obj instanceof PrincipalImpl) {                                            if(obj instanceof PrincipalImpl) {
              PrincipalImpl principalimpl = (PrincipalImpl)obj;                             PrincipalImpl principalimpl = (PrincipalImpl)obj;
              return user.equals(principalimpl.toString());                                 return user.equals(principalimpl.toString());
          } else {                                                                      } else {
              return false;                                                                 return false;
          }                                                                             }
      }                                                                             }

      public String toString() {                                                    public String toString() {
          return user;                                                                  return user;
      }                                                                             }

      public int hashCode() {                                                       public int hashCode() {
          return user.hashCode();                                                       return user.hashCode();
      }                                                                             }

      public String getName() {                                                     public String getName() {
          return user;                                                                  return user;
      }                                                                             }
}                                                                             }




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                                                                   Exhibit Copyright-Q
 AclEnumerator.jad (decompiled version of Oracle AclEnumerator.class)                              AclEnumerator.java (Android version)
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                                                                              *    limitations under the License.
                                                                              */

package sun.security.acl;                                                    package org.apache.harmony.security.tests.support.acl;

import java.security.acl.Acl;                                                import java.security.acl.Acl;
import java.util.*;                                                          import java.util.*;

final class AclEnumerator                                                    final class AclEnumerator implements Enumeration {
    implements Enumeration {

       Acl acl;                                                                    Acl acl;
       Enumeration   u1;                                                           Enumeration   u1;
       Enumeration   u2;                                                           Enumeration   u2;
       Enumeration   g1;                                                           Enumeration   g1;
       Enumeration   g2;                                                           Enumeration   g2;

    AclEnumerator(Acl acl1, Hashtable hashtable, Hashtable hashtable1,           AclEnumerator(Acl acl1, Hashtable hashtable, Hashtable hashtable1,
Hashtable hashtable2, Hashtable hashtable3) {                                Hashtable hashtable2, Hashtable hashtable3) {
        acl = acl1;                                                                  acl = acl1;
        u1 = hashtable.elements();                                                   u1 = hashtable.elements();
        u2 = hashtable2.elements();                                                  u2 = hashtable2.elements();
        g1 = hashtable1.elements();                                                  g1 = hashtable1.elements();
        g2 = hashtable3.elements();                                                  g2 = hashtable3.elements();
    }                                                                            }

    public boolean hasMoreElements() {                                           public boolean hasMoreElements() {
        return u1.hasMoreElements() || u2.hasMoreElements() ||                       return u1.hasMoreElements() || u2.hasMoreElements() ||
g1.hasMoreElements() || g2.hasMoreElements();                                g1.hasMoreElements() || g2.hasMoreElements();
    }                                                                            }

       public Object nextElement() {                                               public Object nextElement() {
           Acl acl1 = acl;                                                             Acl acl1 = acl;
           JVM INSTR monitorenter ;                                                    if(u2.hasMoreElements()) return   u2.nextElement();
           if(u1.hasMoreElements())                                                    if(g1.hasMoreElements()) return   g1.nextElement();
               return u1.nextElement();                                                if(u1.hasMoreElements()) return   u1.nextElement();
           if(!u2.hasMoreElements()) goto _L2; else goto _L1                           if(g2.hasMoreElements()) return   g2.nextElement();
_L1:                                                                                   return acl1;
          u2.nextElement();                                                        }
          acl1;                                                              }
          JVM INSTR monitorexit ;
          return;

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    AclEnumerator.jad (decompiled version of Oracle AclEnumerator.class)              AclEnumerator.java (Android version)
                     [spacing adjusted for comparison]                                  [spacing adjusted for comparison]
_L2:
           if(!g1.hasMoreElements()) goto _L4; else goto _L3
_L3:
           g1.nextElement();
           acl1;
           JVM INSTR monitorexit ;
           return;
_L4:
           if(!g2.hasMoreElements()) goto _L6; else goto _L5
_L5:
           g2.nextElement();
           acl1;
           JVM INSTR monitorexit ;
           return;
_L6:
           acl1;
           JVM INSTR monitorexit ;
             goto _L7
           Exception exception;
           exception;
           throw exception;
_L7:
           throw new NoSuchElementException("Acl Enumerator");
       }
}




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                                                                  Exhibit Copyright-R
                             CodeSource.java (Java version)                                         CodeSourceTest.java (Android version)
                            [spacing adjusted for comparison]                                         [spacing adjusted for comparison]
Lines 242-59                                                                      Lines 598-601
*      <li>     If this object's port (getLocation().getPort()) is not            /**
*               equal to -1 (that is, if a port is specified), it must equal      * If this object's port (getLocation().getPort()) is not equal to -1 (that
*               <i>codesource</i>'s port.                                         * is, if a port is specified), it must equal codesource's port.
*                                                                                 */
*      <li>     If this object's file (getLocation().getFile()) doesn't equal
*               <i>codesource</i>'s file, then the following checks are made:     Lines 629-32
*               If this object's file ends with "/-",                             /**
*               then <i>codesource</i>'s file must start with this object's       * If this object's file (getLocation().getFile()) doesn't equal
*               file (exclusive the trailing "-").                                * codesource's file, then the following checks are made: ...
*               If this object's file ends with a "/*",                           */
*               then <i>codesource</i>'s file must start with this object's
*               file and must not have any further "/" separators.
*               If this object's file doesn't end with a "/",                     Lines 645-48
*               then <i>codesource</i>'s file must match this object's            /**
*               file with a '/' appended.                                         * ... If this object's file ends with "/-", then codesource's file must
*                                                                                 * start with this object's file (exclusive the trailing "-").
*      <li>     If this object's reference (getLocation().getRef()) is            */
*               not null, it must equal <i>codesource</i>'s reference.
                                                                                  Lines 667-81
                                                                                  /**
                                                                                  * ... If this object's file ends with a "/*", then codesource's file must
                                                                                  * start with this object's file and must not have any further "/"
                                                                                  * separators.
                                                                                  */

                                                                                  Lines 693-96
                                                                                  /**
                                                                                  * ... If this object's file doesn't end with a "/", then codesource's file
                                                                                  * must match this object's file with a '/' appended.
                                                                                  */

                                                                                  Lines 711-14
                                                                                  /**
                                                                                  * If this object's reference (getLocation().getRef()) is not null, it must
                                                                                  * equal codesource's reference.
                                                                                  */




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                                                                 Exhibit Copyright-S
       Excperts from CollectionCertStoreParameters.java (Java version)              Exceprts from CollectionCertStoreParameters.java (Android version)

Lines 43-68                                                                   Lines 110-116
/**                                                                           /**
     * Creates an instance of <code>CollectionCertStoreParameters</code>            * Test #2 for <code>CollectionCertStoreParameters(Collection)</code>
     * which will allow certificates and CRLs to be retrieved from the              * constructor<br>
     * specified <code>Collection</code>. If the specified                          * Assertion: If the specified <code>Collection</code> contains an object
     * <code>Collection</code> contains an object that is not a                     * that is not a <code>Certificate</code> or <code>CRL</code>, that object
     * <code>Certificate</code> or <code>CRL</code>, that object will be            * will be ignored by the Collection <code>CertStore</code>.
     * ignored by the Collection <code>CertStore</code>.                            */
     * <p>
     * The <code>Collection</code> is <b>not</b> copied. Instead, a
     * reference is used. This allows the caller to subsequently add or       Lines 132-140
     * remove <code>Certificates</code> or <code>CRL</code>s from the           /**
     * <code>Collection</code>, thus changing the set of                           * Test #3 for <code>CollectionCertStoreParameters(Collection)</code>
     * <code>Certificates</code> or <code>CRL</code>s available to the             * constructor<br>
     * Collection <code>CertStore</code>. The Collection                           * Assertion: The Collection is not copied. Instead, a reference is used.
<code>CertStore</code>                                                             * This allows the caller to subsequently add or remove Certificates or
     * will not modify the contents of the <code>Collection</code>.                * CRLs from the Collection, thus changing the set of Certificates or CRLs
     * <p>                                                                         * available to the Collection CertStore. The Collection CertStore will
     * If the <code>Collection</code> will be modified by one thread               * not modify the contents of the Collection
while                                                                              */
     * another thread is calling a method of a Collection
<code>CertStore</code>
     * that has been initialized with this <code>Collection</code>, the
     * <code>Collection</code> must have fail-fast iterators.
     *
     * @param collection a <code>Collection</code> of
     *        <code>Certificate</code>s and <code>CRL</code>s
     * @exception NullPointerException if <code>collection</code> is
     * <code>null</code>
     */
Lines 75-79                                                                   Lines 50-54
       /**                                                                        /**
        * Creates an instance of <code>CollectionCertStoreParameters</code>        * Test #1 for <code>CollectionCertStoreParameters()</code>
with                                                                          constructor<br>
       * the default parameter values (an empty and immutable                      * Assertion: Creates an instance of CollectionCertStoreParameters
       * <code>Collection</code>).                                                 * with the default parameter values (an empty and immutable Collection)
       */                                                                          */




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